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                                               BK CM/ECF LIVE - on 11/19/21
                                                                US Bankruptcy   in TXSD
                                                                              Court-Texas      Page 1 of 500
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                                                                                 APPEAL, CLOSED, APPEAL_NAT


                                                    U.S. Bankruptcy Court
                                              Southern District of Texas (Houston)
                                               Adversary Proceeding #: 20-03309

  Assigned to: Bankruptcy Judge David R Jones                               Date Filed: 07/17/20
  Lead BK Case: 20-30336                                                    Date Terminated: 10/12/21
  Lead BK Title: McDermott International, Inc.                              Date Removed From State: 07/17/20
  Lead BK Chapter: 11
  Demand:
   Nature[s] of Suit: 01 Determination of removed claim or cause
                      02 Other (e.g. other actions that would have been brought in state court if unrelated to
                         bankruptcy)


 Plaintiff
 -----------------------
 Michael Van Deelen                                                   represented by Michael Van Deelen
 16215 Friar Circle                                                                  PRO SE
 Spring, Tx 77379



 V.

 Defendant
 -----------------------
 David Dickson                                                        represented by Jamie Alan Aycock
                                                                                     Kirkland & Ellis LLP
                                                                                     609 Main
                                                                                     Houston, TX 77002
                                                                                     713-835-3600
                                                                                     Email: jamie.aycock@kirkland.com
                                                                                     LEAD ATTORNEY

                                                                                     Matthew D Cavenaugh
                                                                                     Jackson Walker LLP
                                                                                     1401 McKinney Street
                                                                                     Ste 1900
                                                                                     Houston, TX 77010
                                                                                     713-752-4200
                                                                                     Email: mcavenaugh@jw.com
                                                                                     LEAD ATTORNEY

                                                                                     Anna Rotman
                                                                                     Kirkland and Ellis LLP
                                                                                     609 Main St
                                                                                     Suite 4500
                                                                                     Houston, TX 77002
                                                                                     713-836-3748
https://txsb-ecf.sso.dcn/cgi-bin/DktRpt.pl?126699158897859-L_1_0-1                                                 1/11
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                                               BK CM/ECF LIVE - on 11/19/21
                                                                US Bankruptcy   in TXSD
                                                                              Court-Texas      Page 2 of 500
                                                                                          Southern
                                                                                                           000002
                                                                                      Email: anna.rotman@kirkland.com
                                                                                      LEAD ATTORNEY


 Defendant
 -----------------------
 Scott Lamb                                                          represented by Jamie Alan Aycock
                                                                                    (See above for address)
                                                                                    LEAD ATTORNEY

                                                                                   Matthew D Cavenaugh
                                                                                   (See above for address)
                                                                                   LEAD ATTORNEY

                                                                                   Anna Rotman
                                                                                   (See above for address)
                                                                                   LEAD ATTORNEY


 Defendant
 -----------------------
 Stuart Spence                                                       represented by Jamie Alan Aycock
                                                                                    (See above for address)
                                                                                    LEAD ATTORNEY

                                                                                   Matthew D Cavenaugh
                                                                                   (See above for address)
                                                                                   LEAD ATTORNEY

                                                                                   Anna Rotman
                                                                                   (See above for address)
                                                                                   LEAD ATTORNEY


 Defendant
 -----------------------
 10 John/Jane Does                                                   represented by 10 John/Jane Does
                                                                                    PRO SE




 Defendant
 -----------------------
 Joshua Sussberg                                                     represented by David J. Beck
                                                                                    Beck Redden LLP
                                                                                    One Houston Center
                                                                                    1221 McKinney Street, Suite 4500
                                                                                    Houston, TX 77010
                                                                                    713-951-3700
                                                                                    Email: dbeck@beckredden.com

     Filing Date                           #                                     Docket Text
https://txsb-ecf.sso.dcn/cgi-bin/DktRpt.pl?126699158897859-L_1_0-1                                                 2/11
11/18/21, 11:15 AMCase    4:21-cv-03369 Document  10 Filed
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                                                               US Bankruptcy   in TXSD
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                                                                                         Southern
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                                        1                        Adversary case 20-03309. Nature of Suit: (01 (Determination of
                                        (55 pgs; 2 docs)         removed claim or cause)),(02 (Other (e.g. other actions that would have
                                                                 been brought in state court if unrelated to bankruptcy))) Notice of
                                                                 Removal Michael Van Deelen. Fee Amount $350 (Attachments: # 1
   07/17/2020                                                    Adversary Cover Sheet) (Cavenaugh, Matthew) (Entered: 07/17/2020)

                                                                 Receipt of Notice of Removal(20-03309) [cmp,ntcrmvl] ( 350.00)
                                                                 Filing Fee. Receipt number 22284839. Fee amount $ 350.00. (U.S.
   07/17/2020                                                    Treasury) (Entered: 07/17/2020)

                                        2                        Notice and Order regarding exchanging of exhibits and witness lists in
   07/18/2020                           (1 pg)                   all contested matters and adversary proceedings. (Entered: 07/18/2020)

                                        3                        BNC Certificate of Mailing. (Related document(s):2 Order Regarding
                                        (2 pgs)                  the Exchange of Exhibits and Witness lists in all contested matters and
                                                                 adversary proceedings) No. of Notices: 4. Notice Date 07/22/2020.
   07/22/2020                                                    (Admin.) (Entered: 07/22/2020)

                                        4                        Motion for Remand. Objections/Request for Hearing Due in 21 days.,
                                        (26 pgs)                 Motion to Recuse Judge Filed by Michael Van Deelen (than) (Entered:
   07/23/2020                                                    07/24/2020)

                                        5                        Motion to Dismiss Plaintiff's Original Petition Filed by David Dickson,
                                        (31 pgs; 2 docs)         Scott Lamb, Stuart Spence (Attachments: # 1 Proposed Order)
   07/25/2020                                                    (Cavenaugh, Matthew) (Entered: 07/25/2020)

                                        6                        Plaintiff's Motion to Continuance or Alternatively Motion for Extension
                                        (10 pgs; 3 docs)         of Time to Respond to the Defendants' Motion to Dismiss Plaintiff's
                                                                 Original Petition; Plaintiff's Motion to Recuse Bankruptcy Judge David
                                                                 Jones (related document(s):5 Generic Motion). Filed by Plaintiff
                                                                 Michael Van Deelen (Attachments: # 1 Proposed Order for continuance
                                                                 # 2 Proposed Order to Recuse) (rcas) Modified on 7/28/2020 (rcas).
   07/27/2020                                                    (Entered: 07/28/2020)

                                        7                        Addendum to Motion to Remand; Motion to Recuse Filed by Plaintiff
                                        (8 pgs; 3 docs)          Michael Van Deelen (Attachments: # 1 Proposed Order to Remand # 2
                                                                 Proposed Order to Recuse) (rcas) Modified on 7/28/2020 (rcas).
   07/27/2020                                                    (Entered: 07/28/2020)

                                        8                        Motion to Recuse Judge, Motion To Stay. Filed by Michael Van Deelen
                                        (9 pgs; 3 docs)          (Attachments: # 1 Proposed Order # 2 Proposed Order) (sgue) (Entered:
   07/31/2020                                                    07/31/2020)

                                        9                        Request for Hearing (Filed By Michael Van Deelen ).(Related
                                        (3 pgs)                  document(s):4 Motion for Remand, Motion to Recuse Judge, 5 Generic
                                                                 Motion, 6 Motion to Continue/Reschedule Hearing, 8 Motion to Recuse
   08/03/2020                                                    Judge, Motion To Stay) (sgue) (Entered: 08/05/2020)

                                        10                       Response (related document(s):5 Generic Motion). Filed by Michael
                                        (37 pgs; 3 docs)         Van Deelen (Attachments: # 1 Exhibit # 2 Proposed Order) (sgue)
   08/12/2020                                                    (Entered: 08/12/2020)

   08/13/2020                           11                       Response in Opposition to Plaintiff's Motion to Remand His State Law
                                        (34 pgs)                 Cause of Action and Motion to Recuse (related document(s):4 Motion
                                                                 for Remand, Motion to Recuse Judge, 8 Motion to Recuse Judge,

https://txsb-ecf.sso.dcn/cgi-bin/DktRpt.pl?126699158897859-L_1_0-1                                                                         3/11
11/18/21, 11:15 AMCase    4:21-cv-03369 Document  10 Filed
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                                                               US Bankruptcy   in TXSD
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                                                                 Motion To Stay). Filed by David Dickson, Scott Lamb, Stuart Spence
                                                                 (Cavenaugh, Matthew) (Entered: 08/13/2020)

                                        12                       Reply to Defts' Response (#11) to Pltf's Motion to Remand (#4) and
                                        (35 pgs)                 (related document(s):8 Motion to Recuse Judge, Motion To Stay). Filed
   08/17/2020                                                    by Michael Van Deelen (sgue) (Entered: 08/18/2020)

                                        13                       Notice of Appearance and Request for Notice Filed by Jamie Alan
                                        (3 pgs)                  Aycock Filed by on behalf of David Dickson, Scott Lamb, Stuart
   09/21/2020                                                    Spence (Aycock, Jamie) (Entered: 09/21/2020)

                                        14                       Notice of Appearance and Request for Notice Filed by Anna Rotman
                                        (3 pgs)                  Filed by on behalf of David Dickson, Scott Lamb, Stuart Spence
   09/21/2020                                                    (Rotman, Anna) (Entered: 09/21/2020)

                                        15                       Order Setting Scheduling Conference (Related document(s):1 Notice of
                                        (1 pg)                   Removal) Scheduling Conference set for 10/26/2020 at 03:00 PM by
   09/22/2020                                                    telephone and video conference. (aalo) (Entered: 09/22/2020)

                                        16                       BNC Certificate of Mailing. (Related document(s):15 Adversary Order
                                        (2 pgs)                  Setting Conference) No. of Notices: 1. Notice Date 09/24/2020.
   09/24/2020                                                    (Admin.) (Entered: 09/24/2020)

                                        17                       Clerk's Entry of Default against Stuart Spence (Related document(s):1
                                        (5 pgs; 2 docs)          Notice of Removal). (Attachments: # 1 Clerk's Entry of Default) (than)
   09/24/2020                                                    (Entered: 09/25/2020)

                                        18                       Affidavit in Support Re: (related document(s):17 Clerk's Entry of
                                        (8 pgs)                  Default). (Filed By Michael Van Deelen ).(Related document(s):17
   09/24/2020                                                    Clerk's Entry of Default) (than) (Entered: 09/25/2020)

                                        19                       Clerk's Entry of Default against Scott Lamb (Related document(s):1
                                        (7 pgs; 2 docs)          Notice of Removal). (Attachments: # 1 Clerk's Entry of Default) (than)
   09/24/2020                                                    (Entered: 09/25/2020)

                                        20                       Affidavit in Support Re:(related document(s):19 Clerk's Entry of
                                        (6 pgs)                  Default). (Filed By Michael Van Deelen ).(Related document(s):19
   09/24/2020                                                    Clerk's Entry of Default) (than). (Entered: 09/25/2020)

                                        21                       Motion for Default Judgment. Filed by Michael Van Deelen
                                        (13 pgs; 3 docs)         (Attachments: # 1 Affidavit in Support of his Request for Clerk's Entry
                                                                 of Default Against Defendant David Dickson # 2 Clerk's Entry of
                                                                 Default Against Defendant David Dickson) (JesusGuajardo) (Entered:
   09/24/2020                                                    09/28/2020)

                                        22                       Corrected Motion for Default Judgment. Filed by Michael Van Deelen
                                        (14 pgs; 3 docs)         (Attachments: # 1 Plaintiff's Corrected Affidavit in Support of his
                                                                 Request for Clerk's Entry of Default Against Defendant David Dickson
                                                                 # 2 Proposed Order Clerk's Entry of Default Against Defendant David
   09/25/2020                                                    Dickson) (JesusGuajardo) (Entered: 09/28/2020)

                                        23                       Response Defendants' Response to Plaintiff's Motion for Default
                                        (4 pgs)                  Judgment and Requests for Entry of Default (related document(s):21
                                                                 Motion for Default Judgment, 22 Motion for Default Judgment). Filed
                                                                 by David Dickson, Scott Lamb, Stuart Spence (Cavenaugh, Matthew)
   10/07/2020                                                    (Entered: 10/07/2020)

https://txsb-ecf.sso.dcn/cgi-bin/DktRpt.pl?126699158897859-L_1_0-1                                                                         4/11
11/18/21, 11:15 AMCase    4:21-cv-03369 Document  10 Filed
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                                                               US Bankruptcy   in TXSD
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   10/08/2020                           24                       Motion to Continue Hearing On (related document(s):15 Adversary
                                        (6 pgs; 2 docs)          Order Setting Conference). Filed by Michael Van Deelen (Attachments:
                                                                 # 1 Proposed Order) (JacquelineMata) (Entered: 10/15/2020)

                                        26                       Reply to Deft's Response 23 to (related document(s):21 Motion for
                                        (5 pgs)                  Default Judgment, 22 Motion for Default Judgment). Filed by Michael
   10/08/2020                                                    Van Deelen (hler) (Entered: 10/15/2020)

                                        25                       Motion to Appear pro hac vice John Christian. Filed by David Dickson,
   10/15/2020                           (1 pg)                   Scott Lamb, Stuart Spence (Aycock, Jamie) (Entered: 10/15/2020)

                                        27                       Order Granting Plaintiff's Motion for Continuance of Scheduling
                                        (1 pg)                   Conference (Related Doc # 24) Signed on 10/19/2020. Scheduling
                                                                 Conference set for 1/25/2021 at 09:30 AM at Houston, Courtroom
   10/19/2020                                                    400 (DRJ). (emiller) (Entered: 10/19/2020)

                                        28                       Order Granting Motion To Appear pro hac vice - John Christian
                                        (1 pg)                   (Related Doc # 25) Signed on 10/20/2020. (emiller) (Entered:
   10/20/2020                                                    10/20/2020)

                                        29                       BNC Certificate of Mailing. (Related document(s):28 Order on Motion
                                        (3 pgs)                  to Appear pro hac vice) No. of Notices: 1. Notice Date 10/22/2020.
   10/22/2020                                                    (Admin.) (Entered: 10/23/2020)

                                        30                       BNC Certificate of Mailing. (Related document(s):27 Order on Motion
                                        (3 pgs)                  to Continue/Reschedule Hearing) No. of Notices: 1. Notice Date
   10/22/2020                                                    10/22/2020. (Admin.) (Entered: 10/23/2020)

                                        31                       Second Motion to Continue Scheduling Conference (related
                                        (6 pgs; 2 docs)          document(s):1 Notice of Removal). Filed by Michael Van Deelen
                                                                 (than). Additional attachment(s) added on 1/11/2021 (than). (Entered:
   01/08/2021                                                    01/11/2021)

                                        32                       PLAINTIFF'S Witness and Exhibit List (Filed By Michael Van Deelen
   01/14/2021                           (4 pgs)                  ). (jdav) (Entered: 01/14/2021)

                                        33                       Rule 26 Initial Disclosures (Filed By David Dickson, Scott Lamb,
   01/19/2021                           (8 pgs)                  Stuart Spence, Michael Van Deelen ). (than) (Entered: 01/20/2021)

                                                                 Certificate of Email Notice. Contacted Michael Van Deelen. The Court
                                                                 has rescheduled the Motion to Recuse as well as the Scheduling
                                                                 Conference. Movant to notice all interested parties and file a certificate
                                                                 of service with the court (Related document(s):1 Notice of Removal, 8
                                                                 Motion to Recuse Judge, Motion To Stay) Hearing scheduled for
                                                                 3/10/2021 at 09:00 AM by telephone and video conference. (aalo)
   01/24/2021                                                    (Entered: 01/24/2021)

                                        34                       Notice of Hearing (Related document(s):1 Notice of Removal, 7
                                        (3 pgs)                  Generic Motion, 8 Motion to Recuse Judge, Motion To Stay). (aalo)
   01/25/2021                                                    (Entered: 01/25/2021)

                                        35                       BNC Certificate of Mailing. (Related document(s):34 Notice of Hearing
                                        (5 pgs)                  (Adversary)) No. of Notices: 1. Notice Date 01/27/2021. (Admin.)
   01/27/2021                                                    (Entered: 01/28/2021)


https://txsb-ecf.sso.dcn/cgi-bin/DktRpt.pl?126699158897859-L_1_0-1                                                                            5/11
11/18/21, 11:15 AMCase    4:21-cv-03369 Document  10 Filed
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                                                               US Bankruptcy   in TXSD
                                                                             Court-Texas      Page 6 of 500
                                                                                         Southern
   02/04/2021                           doc                                                                             000006
                                                                 Amended Notice of Hearing scheduled for 3/10/2021 at 09:00  AM at
                                        (3 pgs)                  telephone and video conference. (mmap) (Entered: 02/08/2021)

                                        36                       Emergency Motion to Seal Filed by David Dickson, Scott Lamb, Stuart
                                        (7 pgs; 2 docs)          Spence (Attachments: # 1 Proposed Order) (Cavenaugh, Matthew)
   03/08/2021                                                    (Entered: 03/08/2021)

                                        37                       Receipt of Sealed Document retained in Clerk's office. Forwarded Copy
   03/08/2021                                                    to Chambers for review. (gkel) (Entered: 03/08/2021)

                                        38                       Certificate of Service (Filed By David Dickson, Scott Lamb, Stuart
                                        (2 pgs)                  Spence ).(Related document(s):36 Emergency Motion (Adversary))
   03/08/2021                                                    (Cavenaugh, Matthew) (Entered: 03/08/2021)

                                        39                       PLAINTIFF'S ADDENDUM TO PLAINTIFF'S MOTION
                                                                 PURSUANT TO 28 U.S.C. SECTI(;)S 455(a) AND 455(b)(l) TO
                                                                 DISQUALIFY BANKRUPTCY COURT JUDGE DAVID JONES
                                                                 FROM PRESIDING OVER THE ABOVE-CAPTIONED
                                                                 ADVERSARY PROCEEDING; MOTION FOR STAY OF
                                                                 PROCEEDING; PROPOSED ORDERS (DOCUMENT 8) Michael Van
                                                                 Deelen (Related document(s):8 Motion to Recuse Judge, Motion To
   03/08/2021                                                    Stay) (gkel) (Entered: 03/09/2021)

                                        40                       Order Reassigning Motion to Recuse, Signed on 3/9/2021 (LinhthuDo)
   03/09/2021                           (1 pg)                   (Related document(s):8 Motion to Recuse) (Entered: 03/09/2021)

                                        41                       Courtroom Minutes. Time Hearing Held: 9:00 am - 9:39 am. Hearing
                                                                 heard before Bankruptcy Judge Marvin Isgur. Telephonic Appearances:
                                                                 Plaintiff Michael Van Deelen present, sworn in and testimony given.
                                                                 Anna Rotman for the Defendants. The motion to recuse 8 is denied on
                                                                 the record, order to be entered by the Court as stated on the record.
                                                                 (Related document(s):8 Motion to Recuse Judge, Motion To Stay,
   03/10/2021                                                    Certificate of Notice) (TylerLaws) (Entered: 03/10/2021)

                                        42                       Order Denying Motion to Recuse (Related Doc # 8) Signed on
   03/10/2021                           (1 pg)                   3/10/2021. (TylerLaws) (Entered: 03/10/2021)

                                        43                       Courtroom Minutes. Time Hearing Held: 9:50 AM. Appearances: Jamie
                                                                 Aycock, Michael Van Deelen. (Related document(s):1 Notice of
                                                                 Removal) Plaintiff to amend his complaint by 4/12/2021, Response due
                                                                 by 5/3/2021, Reply due by 5/24/2021. Hearing scheduled for 6/7/2021
                                                                 at 09:00 AM by telephone and video conference. Note: All pending
                                                                 matters are continued to 6/7/2021 at 9:00 AM. (aalo) (Entered:
   03/10/2021                                                    03/10/2021)

                                        44                       Response to Defendant's Emergency Motion to Seal (related
                                        (5 pgs; 2 docs)          document(s):36 Emergency Motion (Adversary)). Filed by Michael Van
                                                                 Deelen (Attachments: # 1 Proposed Order) (JosephWells) (Entered:
   03/10/2021                                                    03/10/2021)

                                        45                       Request for Hearing (Filed By Michael Van Deelen ).(Related
                                        (2 pgs)                  document(s):36 Emergency Motion (Adversary)) (JosephWells)
   03/10/2021                                                    (Entered: 03/10/2021)

   03/10/2021                           46
                                        (1 pg)                       PDF with attached Audio File. Court Date & Time [ 3/10/2021
                                                                 9:50:34 AM ]. File Size [ 13064 KB ]. Run Time [ 00:27:13 ]. (admin).
https://txsb-ecf.sso.dcn/cgi-bin/DktRpt.pl?126699158897859-L_1_0-1                                                                       6/11
11/18/21, 11:15 AMCase    4:21-cv-03369 Document  10 Filed
                                              BK CM/ECF LIVE - on 11/19/21
                                                               US Bankruptcy   in TXSD
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                                                                 (Entered: 03/10/2021)                                     000007



                                        47
                                        (1 pg)                       PDF with attached Audio File. Court Date & Time [ 3/10/2021
                                                                 8:59:54 AM ]. File Size [ 18689 KB ]. Run Time [ 00:38:56 ]. (Motion
                                                                 to Recuse 8 , heard before Bankruptcy Judge Marvin Isgur 900 am - 938
   03/10/2021                                                    am 3-10-21). (admin). (Entered: 03/10/2021)

                                        48                       BNC Certificate of Mailing. (Related document(s):40 Generic Order
                                        (3 pgs)                  (Adversary)) No. of Notices: 1. Notice Date 03/11/2021. (Admin.)
   03/11/2021                                                    (Entered: 03/12/2021)

                                        49                       BNC Certificate of Mailing. (Related document(s):42 Order on Motion
                                        (3 pgs)                  to Recuse Judge) No. of Notices: 1. Notice Date 03/12/2021. (Admin.)
   03/12/2021                                                    (Entered: 03/12/2021)

                                        50                       Amended Complaint (Related document(s):1 Notice of Removal)
   04/08/2021                           (47 pgs)                 (mmap) (Entered: 04/08/2021)

                                        51                       Motion Defendants' Motion to Dismiss Plaintiff's First Amended
                                        (24 pgs)                 Petition Filed by Defendants David Dickson, Scott Lamb, Stuart Spence
   05/03/2021                                                    (Cavenaugh, Matthew) (Entered: 05/03/2021)

                                        52                       Response to Motion to Dismiss Pltf's First Amended Complaint (related
                                        (41 pgs; 2 docs)         document(s):51 Generic Motion). Filed by Michael Van Deelen
   05/20/2021                                                    (Attachments: # 1 Exhibit 1) (sgue) (Entered: 05/20/2021)

                                                                 Certificate of Email Notice. Due to the Courts schedule the starting time
                                                                 for the hearing on June 7, 2021 has been moved back. The hearing will
                                                                 now begin at 11:00 AM. Plaintiff and Counsel for the defendant have
                                                                 confirmed no conflicts with the time change. (Related document(s):1
                                                                 Notice of Removal) Hearing scheduled for 6/7/2021 at 11:00 AM by
   05/24/2021                                                    telephone and video conference. (aalo) (Entered: 05/24/2021)

                                        53                       Reply in Support of Defendants' Motion to Dismiss Plaintiff's First
                                        (15 pgs)                 Amended Complaint (related document(s):51 Generic Motion). Filed by
                                                                 David Dickson, Scott Lamb, Stuart Spence (Cavenaugh, Matthew)
   06/03/2021                                                    (Entered: 06/03/2021)

                                        54                       Emergency Motion , Motion to Amend (related document(s):50
                                        (49 pgs; 2 docs)         Amended Complaint). Filed by Michael Van Deelen (Attachments: # 1
   06/04/2021                                                    Continuation) (than) (Entered: 06/04/2021)

                                        55                       Courtroom Minutes. Time Hearing Held: 11:00 AM. Appearances:
                                                                 Jamie Aycock; Michael Van Deelen; Matthew Cavenaugh. (Related
                                                                 document(s):1 Notice of Removal, Certificate of Notice) Today's
                                                                 hearing is continued to 8/9/2021 at 11:00 AM by telephone and video
                                                                 conference. Mr. Van Deelen to file an amended complaint by
                                                                 06/21/2021; Mr. Aycock to file an amended pleading by 07/12/2021;
   06/07/2021                                                    response due by 07/26/2021. (VrianaPortillo) (Entered: 06/07/2021)

                                        56
                                        (1 pg)                       PDF with attached Audio File. Court Date & Time [ 6/7/2021
                                                                 11:00:05 AM ]. File Size [ 5896 KB ]. Run Time [ 00:12:17 ]. (In ref to
   06/07/2021                                                    doc no. 1. Hearing held June 7, 2021.). (admin). (Entered: 06/07/2021)

   06/18/2021                           57                       Third Amended Complaint (Related document(s):1 Notice of Removal)
https://txsb-ecf.sso.dcn/cgi-bin/DktRpt.pl?126699158897859-L_1_0-1                                                                         7/11
11/18/21, 11:15 AMCase    4:21-cv-03369 Document  10 Filed
                                              BK CM/ECF LIVE - on 11/19/21
                                                               US Bankruptcy   in TXSD
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                                        (53 pgs)                 (ckrus) (Entered: 06/29/2021)                           000008



                                        58                       Notice of Appearance and Request for Notice Filed by David J. Beck
                                        (3 pgs)                  Filed by on behalf of Joshua Sussberg (Beck, David) (Entered:
   07/12/2021                                                    07/12/2021)

                                        59                       Motion to Dismiss/Withdraw Document (related document(s):57
                                        (37 pgs; 4 docs)         Amended Complaint). Filed by Joshua Sussberg (Attachments: # 1
                                                                 Exhibit A - Declaration of Joshua A. Sussberg # 2 B - Declaration of
                                                                 Christopher T. Greco # 3 C - Declaration of Damian S. Schaible) (Beck,
   07/12/2021                                                    David) (Entered: 07/12/2021)

                                        60                       Motion of Defendants David Dickson, Stuart Pence, and Scott Lamb to
                                        (15 pgs; 2 docs)         Dismiss Plaintiff's Third Amended Petition Filed by David Dickson,
                                                                 Scott Lamb, Stuart Spence (Attachments: # 1 Proposed Order)
   07/12/2021                                                    (Cavenaugh, Matthew) (Entered: 07/12/2021)

                                        61                       Answer to Complaint (Related document(s):57 Amended Complaint)
   07/21/2021                           (39 pgs)                 Filed by Joshua Sussberg (Beck, David) (Entered: 07/21/2021)

                                        62                       Response (related document(s):60 Generic Motion). Filed by Michael
                                        (23 pgs; 2 docs)         Van Deelen (Attachments: # 1 Proposed Order) (than) (Entered:
   07/26/2021                                                    07/26/2021)

                                        63                       Response (related document(s):59 Motion to Dismiss/Withdraw
                                        (44 pgs; 2 docs)         Document). Filed by Michael Van Deelen (Attachments: # 1 Proposed
   07/26/2021                                                    Order) (than) (Entered: 07/26/2021)

                                        64                       Notice of Hearing. (Related document(s):59 Motion to
                                        (2 pgs)                  Dismiss/Withdraw Document) Filed by Michael Van Deelen (than)
   07/26/2021                                                    (Entered: 07/26/2021)

                                        65                       Plaintiff's Witness and Exhibit Lists by Michael Van Deelen
   07/30/2021                           (4 pgs)                  (ClaudiaGutierrez) (Entered: 07/30/2021)

                                        66                       Notice of Subpoena. Filed by Michael Van Deelen (ClaudiaGutierrez)
   07/30/2021                           (5 pgs)                  (Entered: 07/30/2021)

                                        67                       CD Exhibit by Michael Van Deelen (Related document(s):65 Plaintiff's
                                        (1 pg)                   Witness and Exhibit Lists, 66 Notice of Subpoena) (ClaudiaGutierrez)
   07/30/2021                                                    (Entered: 07/30/2021)

                                        68                       Motion to Take Judicial Notice Filed by Defendant Joshua Sussberg
                                        (141 pgs; 19 docs)       (Attachments: # 1 Exhibit A1 # 2 Exhibit A2 # 3 Exhibit A3 # 4 Exhibit
                                                                 A4 # 5 Exhibit A5 # 6 Exhibit A6 # 7 Exhibit A7 # 8 Exhibit A8 # 9
                                                                 Exhibit A9 # 10 Exhibit B # 11 Exhibit C # 12 Exhibit D # 13 Exhibit E
                                                                 # 14 Exhibit F # 15 Exhibit G # 16 Exhibit H # 17 Exhibit I # 18
   08/06/2021                                                    Proposed Order) (Beck, David) (Entered: 08/06/2021)

                                        69                       Reply in Support of Motion to Dismiss Plaintiff's Third Amended
                                        (38 pgs; 5 docs)         Petition and for Sanctions (related document(s):59 Motion to
                                                                 Dismiss/Withdraw Document). Filed by Joshua Sussberg (Attachments:
                                                                 # 1 Exhibit 1 # 2 Exhibit 2 # 3 Exhibit 3 # 4 Proposed Order) (Beck,
   08/06/2021                                                    David) (Entered: 08/06/2021)

   08/06/2021                           70                       Reply in Support of Motion of Defendants David Dickson, Stuart Pence,
https://txsb-ecf.sso.dcn/cgi-bin/DktRpt.pl?126699158897859-L_1_0-1                                                                      8/11
11/18/21, 11:15 AMCase    4:21-cv-03369 Document  10 Filed
                                              BK CM/ECF LIVE - on 11/19/21
                                                               US Bankruptcy   in TXSD
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                                                                                         Southern

                                        (11 pgs)                                                                         000009
                                                                 and Scott Lamb to Dismiss Plaintiff's Third Amended Petition (related
                                                                 document(s):60 Generic Motion). Filed by David Dickson, Scott Lamb,
                                                                 Stuart Spence (Cavenaugh, Matthew) (Entered: 08/06/2021)

                                                                 Courtroom Minutes. Time Hearing Held: 11:00 AM. Appearances:
                                                                 Beck Redden; Veronica Polnick; Michael Van Deelen; Jamie Aycock
                                                                 (Related document(s):1 Notice of Removal, 55 Courtroom Minutes, 59
                                                                 Motion to Dismiss/Withdraw Document) The Court heard from all
                                                                 interested parties. The Court will take this matter under advisement.
   08/09/2021                                                    (VrianaPortillo) (Entered: 08/09/2021)

                                        71
                                        (1 pg)                       PDF with attached Audio File. Court Date & Time [ 8/9/2021
                                                                 11:00:08 AM ]. File Size [ 14351 KB ]. Run Time [ 00:29:54 ]. (admin).
   08/09/2021                                                    (Entered: 08/09/2021)

                                        72                       Supplemental Motion For Sanctions for Other Reason.
                                        (7 pgs)                  Objections/Request for Hearing Due in 21 days. Filed by Defendant
   08/13/2021                                                    Joshua Sussberg (Beck, David) (Entered: 08/13/2021)

                                        73                       Response (related document(s):72 Motion for Sanctions). Filed by
   08/16/2021                           (21 pgs)                 Michael Van Deelen (MelissaMorgan) (Entered: 08/16/2021)

                                        74                       Motion to Strike. Objections/Request for Hearing Due in 21 days
                                        (23 pgs; 2 docs)         (related document(s):72 Motion for Sanctions). Filed by Michael Van
                                                                 Deelen (Attachments: # 1 Proposed Order) (MelissaMorgan) This entry
                                                                 was made for case management purposes. Modified on 8/16/2021
   08/16/2021                                                    (MelissaMorgan). (Entered: 08/16/2021)

                                        75                       Motion to Dismiss Party - defendant Joshua Sussberg.
                                        (5 pgs; 2 docs)          Objections/Request for Hearing Due in 21 days. Filed by Michael Van
                                                                 Deelen (Attachments: # 1 Proposed Order) (MelissaMorgan) (Entered:
   08/16/2021                                                    08/16/2021)

                                        76                       Request for Hearing (Filed By Michael Van Deelen ).(Related
                                        (2 pgs)                  document(s):68 Generic Motion, 72 Motion for Sanctions, 74 Motion to
                                                                 Strike, 75 Motion to Dismiss Party) (MelissaMorgan) (Entered:
   08/16/2021                                                    08/16/2021)

                                        77                       Reply in Support of Supplemental Motion for Sanctions, Response to
                                        (10 pgs; 3 docs)         Motion to Dismiss, and Response to Motion to Strike (related
                                                                 document(s):72 Motion for Sanctions, 74 Motion to Strike, 75 Motion
                                                                 to Dismiss Party). Filed by Joshua Sussberg (Attachments: # 1 Proposed
                                                                 Order Proposed Order Denying Plaintiff's Motions # 2 Proposed Order
                                                                 Proposed Order Granting Defendant's Motion to Dismiss and for
   08/23/2021                                                    Sanctions) (Beck, David) (Entered: 08/23/2021)

                                        78                       Order Granting Defendants' Emergency Motion to Seal (Related Doc #
   09/08/2021                           (2 pgs)                  36) Signed on 9/8/2021. (VrianaPortillo) (Entered: 09/08/2021)

                                        79                       BNC Certificate of Mailing. (Related document(s):78 Order on
                                        (4 pgs)                  Emergency Motion (Adversary)) No. of Notices: 1. Notice Date
   09/10/2021                                                    09/10/2021. (Admin.) (Entered: 09/10/2021)

   10/08/2021                           80                       Notice of Appeal filed. (related document(s):36 Emergency Motion
                                        (2 pgs)                  (Adversary)). Receipt Number O,Fee Amount $298. Not paid.


https://txsb-ecf.sso.dcn/cgi-bin/DktRpt.pl?126699158897859-L_1_0-1                                                                       9/11
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                                                                                                                      000010
                                                                 Appellant Designation due by 10/22/2021. (SamanthaWarda) . (Entered:
                                                                 10/08/2021)

                                        81
   10/12/2021                           (13 pgs)                 Order Signed on 10/12/2021 (aalo) (Entered: 10/12/2021)

                                        82                       Certificate of No Transcript Order (Filed By Michael Van Deelen ).
   10/12/2021                           (2 pgs)                  (BrendaLacy) (Entered: 10/12/2021)

                                                                 Receipt Number 190667, Fee Amount $298.00 . (Related
   10/12/2021                                                    document(s):80 Notice of Appeal). (BrendaLacy) (Entered: 11/09/2021)

                                        83                       Election to Appeal to District Court . (SamanthaWarda) (Entered:
   10/14/2021                                                    10/14/2021)

                                        84                       Clerk's Notice of Filing of an Appeal. On 10/08/2021, Michael Van
                                        (1 pg)                   Deelen filed a notice of appeal. The appeal has been assigned to U.S.
                                                                 District Judge Andrew S Hanen, Civil Action 4:21-cv-03369. Parties
                                                                 notified (Related document(s):80 Notice of Appeal) (SamanthaWarda)
   10/14/2021                                                    (Entered: 10/14/2021)

                                        85                       BNC Certificate of Mailing. (Related document(s):81 Order Dismissing
                                        (32 pgs)                 Adversary Case) No. of Notices: 1. Notice Date 10/14/2021. (Admin.)
   10/14/2021                                                    (Entered: 10/14/2021)

                                        87                       Amended Notice of Appeal and Amended Certificate of No Transcript
                                        (3 pgs)                  Order, filed. (related document(s):42 Order on Motion to Recuse Judge,
                                                                 Order on Motion To Stay, 78 Order on Emergency Motion (Adversary),
                                                                 81 Order Dismissing Adversary Case). Receipt Number 0,Fee Amount
                                                                 $298. Appellant Designation due by 10/28/2021. (jdav) (Entered:
   10/14/2021                                                    10/19/2021)

                                        86                       BNC Certificate of Mailing. (Related document(s):84 Clerk's Notice of
                                        (3 pgs)                  Filing of an Appeal) No. of Notices: 1. Notice Date 10/16/2021.
   10/16/2021                                                    (Admin.) (Entered: 10/16/2021)

                                        88                       Appellant Designation of Contents For Inclusion in Record On Appeal
                                        (23 pgs)                 (related document(s):80 Notice of Appeal, 87 Notice of Appeal). (jdav)
   10/20/2021                                                    (Entered: 10/20/2021)

                                        89                       Second Amended Notice of Appeal and Second Amended Certificate of
                                        (20 pgs)                 No Transcript Order, filed. (related document(s):42 Order on Motion to
                                                                 Recuse Judge, Order on Motion To Stay, 78 Order on Emergency
                                                                 Motion (Adversary), 81 Order Dismissing Adversary Case). Receipt
                                                                 Number o,Fee Amount $298. Appellant Designation due by 11/3/2021.
   10/20/2021                                                    (jdav) (Entered: 10/20/2021)

   10/21/2021                           90                       Election to Appeal to District Court . (hler) (Entered: 10/21/2021)

   10/21/2021                           91                       Election to Appeal to District Court . (hler) (Entered: 10/21/2021)

                                        92                       Motion To Stay Pending Appeal and Request for Hearing. Filed by
                                        (7 pgs; 2 docs)          Michael Van Deelen (Attachments: # 1 Proposed Order) (than)
   10/27/2021                                                    (Entered: 10/28/2021)

   11/03/2021                           93                       Appellee Designation of Contents for Inclusion in Record of Appeal
https://txsb-ecf.sso.dcn/cgi-bin/DktRpt.pl?126699158897859-L_1_0-1                                                                     10/11
                 Case
11/18/21, 11:15 AM       4:21-cv-03369 Document
                                             BK 10   Filed
                                                CM/ECF LIVE -on
                                                              US 11/19/21    in TXSDSouthern
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                                        (5 pgs)                                                                          000011
                                                                 (related document(s):80 Notice of Appeal, 87 Notice of Appeal).
                                                                 (Cavenaugh, Matthew) (Entered: 11/03/2021)

                                        94                       Response in Opposition to Plaintiff's Motion for Stay Pending Appeal
                                        (8 pgs; 2 docs)          and Request for Hearing (related document(s):92 Motion To Stay
                                                                 Pending Appeal). Filed by Joshua Sussberg (Attachments: # 1 Proposed
   11/12/2021                                                    Order) (Beck, David) (Entered: 11/12/2021)




https://txsb-ecf.sso.dcn/cgi-bin/DktRpt.pl?126699158897859-L_1_0-1                                                                 11/11
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                              UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION
                                                                §
In re:                                                          §    Chapter 11
                                                                §
MCDERMOTT INTERNATIONAL, INC., et al., 1                        §    Case No. 20-30336 (DRJ)
                                                                §
                                   Reorganized Debtors.         §    (Jointly Administered)
                                                                §
                                                                §
MICHAEL VAN DEELEN                                              §
                                                                §
                 Plaintiff,                                     §    Adv. Proc. No. 20-___
                                                                §
v.                                                              §
                                                                §
DAVID DICKSON,                                                  §
and STUART SPENCE,                                              §
and SCOTT LAMB,                                                 §
and 10 JOHN/JANE DOES                                           §
                                                                §
                 Defendants.                                    §
                                                                §

                                         NOTICE OF REMOVAL

 TO THE U.S. BANKRUPTCY CLERK:

         Please take notice that pursuant to 28 U.S.C. § 1452(a), Federal Rule of Bankruptcy

Procedure 9027 and Local Rule 9027-1, Defendants David Dickson (“Dickson”), Stuart Spence

(“Spence”), and Scott Lamb (“Lamb”) (collectively “Defendants”) hereby remove the above-

captioned civil action, and all claims and causes of action therein, from the 284th Judicial

District Court of Montgomery County, Texas, to the United States Bankruptcy Court for the

Southern District of Texas (the “Court”).


         1
           A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the
Debtors’ claims and noticing agent at https://cases.primeclerk.com/McDermott. The location of Debtor McDermott
International, Inc.’s principal place of business and the Debtors’ service address in these chapter 11 cases is 757
North Eldridge Parkway, Houston, Texas 77079.
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I.        JURISDICTION AND BASIS FOR REMOVAL

          1.    Three months after the Court issued its Confirmation Order confirming

McDermott International, Inc.’s plan of reorganization, on June 23, 2020 (D.I. 651) Michael Van

Deelen (“Van Deelen”), filed suit against Defendants in Texas state court alleging conversion,

common and statutory fraud, negligent misrepresentation, breach of fiduciary duty, and

conspiracy (the “State Court Lawsuit”). 2

        2.      Removal of the State Court Lawsuit is proper under 28 U.S.C. § 1452(a) because

the claims being removed are pending in “a civil action other than a proceeding before the

United States Tax Court or a civil action by a governmental unit to enforce such governmental

unit’s police or regulatory power,” and this Court has subject matter jurisdiction under 28 U.S.C.

§ 1334.

        3.      Federal subject matter jurisdiction exists under 28 U.S.C. § 1334 because the

State Court Lawsuit is “related to” the Debtors’ bankruptcy proceeding. The entry of a final

judgment against Defendants would directly and substantially affect the Debtors, their

operations, and/or the implementation or execution of the Plan. Moreover, adjudication of the

claims requires interpretation and enforcement of this Court’s Confirmation Order, which

releases and exculpates Defendants from certain claims that have been brought.

        4.      Likewise, federal subject matter jurisdiction also exists under 28 U.S.C. § 1334

because the State Court Lawsuit “arises in” the Debtors’ bankruptcy proceedings and




          2
          The State Court Lawsuit is Cause No. 20-06-07348 in the 284th Judicial Court of the State of Texas,
Montgomery County, styled Michael Van Deelen v. David Dickson, and Stuart Spence, and Scott Lamb, and 10
John/Jane Does.



                                                     2
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adjudication of the claims would require interpretation and enforcement of this Court’s

Confirmation Order, including the release and exculpation provisions. 3

        5.       Venue is proper in the Southern District of Texas under 28 U.S.C. § 1452(a)

because the Texas state court where the State Court Lawsuit is pending is located in this district.

II.     THE PARTIES

        6.       Pursuant to Local Rule 9027-1(a), the following is a list of the names and

addresses of all parties to the State Court Lawsuit, and the name, address, and telephone number

of counsel of record for each party.

        7.       Plaintiff Michael Van Deelen is a pro se party in the State Court Lawsuit, and his

current contact information is:

Michael Van Deelen
16215 Friar Circle
Spring, TX 77379
832-562-0723
michaelvandeelen@gmail.com

        8.       Defendants David Dickson, Stuart Spence, and Scott Lamb are represented by:

Matthew D. Cavenaugh, mcavenaugh@jw.com
Jennifer F. Wertz, jwertz@jw.com
Kristhy M. Peguero, kpeguero@jw.com
Veronica A. Polnick, vpolnick@jw.com

Jackson Walker L.L.P.
1401 McKinney Street, Suite 1900
Houston, TX 77010

Anna G. Rotman, anna.rotman@kirkland.com
Jamie Alan Aycock, jamie.aycock@kirkland.com
John Christian, john.christian@kirkland.com



        3
          See, e.g., In re ABC Dentistry, P.A., No. H-19-0682, 2019 WL 6894775, *4-7 (S.D. Tex. Dec. 17, 2019)
(“[Bankruptcy] jurisdiction extends to matters that impact compliance with or completion of the reorganization plan.
A bankruptcy court plainly has jurisdiction to interpret and enforce its own prior orders.”) (internal citations and
quotation marks omitted).



                                                         3
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KIRKLAND & ELLIS LLP
KIRKLAND & ELLIS INTERNATIONAL LLP
609 Main Street
Houston, TX 77002


III.     COMPLIANCE WITH RULE 9027

         13.     Bankruptcy Rule 9027(a)(1) requires that this Notice of Removal “contain a

statement that upon removal of the claim or cause of action the party filing the notice does or

does not consent to the entry of final orders or judgment by the bankruptcy court.” Defendants

respectfully state that they consent to the entry of final orders or judgments by the Bankruptcy

Court.

         9.      Local Rule 9027-1(b) further requires that this Notice of Removal “be

accompanied by copies of all papers that have been filed in the court from which the case is

removed.” Attached are copies of all such papers.

DATED: July 17, 2020                                Respectfully submitted,
Houston, Texas


/s/ Matthew D. Cavenaugh
JACKSON WALKER L.L.P.                               KIRKLAND & ELLIS LLP
Matthew D. Cavenaugh (TX Bar No. 24062656)          KIRKLAND & ELLIS INTERNATIONAL LLP
Jennifer F. Wertz (TX Bar No. 24072822)             Anna G. Rotman, P.C. (TX Bar No. 24046761)
Kristhy M. Peguero (TX Bar No. 24102776)            Jamie Alan Aycock (TX Bar No. 24050241)
Veronica A. Polnick (TX Bar No. 24079148)           John Christian (TX Bar No. 24109727)
1401 McKinney Street, Suite 1900                    609 Main Street
Houston, TX 77010                                   Houston, TX 77002
Telephone: (713) 752-4200                           Telephone: (713) 836-3600
Facsimile: (713) 752-4221                           Facsimile: (713) 836-3601
Email:      mcavenaugh@jw.com                       Email:       anna.rotman@kirkland.com
            jwertz@jw.com                                        jamie.aycock@kirkland.com
            kpeguero@jw.com                                      john.christian@kirkland.com
            vpolnick@jw.com

Co-Counsel to Defendants                            Co-Counsel for Defendants




                                               4
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on July 17, 2020, a true and correct copy of the foregoing Notice of
Removal was served via the Court’s ECF notification system to the parties listed below at the
email addresses listed.

Michael Van Deelen, Pro Se
16215 Friar Circle
Spring, TX 77379
832-562-0723
michaelvandeelen@gmail.com


                                                      /s/ Matthew D. Cavenaugh
                                                      Matthew D. Cavenaugh




                                               5
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                Document 1
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                                                                                  Received and E-Filed for Record
                                                                                                           6/23/2020 9:44 AM
                                                                                                      000018
                                                                                                    Melisa Miller, District Clerk
                                                                                                   Montgomery County, Texas
                                                                                                   Deputy Clerk, Kayla Adams

                                         CAUSE NO.20-06-07348
                                                   _______________


              MICHAEL VAN DEELEN                       §     IN THE DISTRICT COURT
                      Plaintiff,                       §
                                                       § Montgomery County - 284th Judicial District Court
                                                       §
              v.                                       §     OF MONTGOMERY COUNTY,
                                                       §     TEXAS
              DAVID DICKSON,                           §
              and STUART SPENCE,                       §
              and SCOTT LAMB,                          §     __________JUDICIAL DISTRICT
              and 10 JOHN/JANE DOES                    §
                         Defendants.                   §


                                    PLAINTIFF’S ORIGINAL PETITION

                      COMES NOW Michael Van Deelen, plaintiff in the above-styled cause of

              action, and for his cause of action shows as follows:

                                        DISCOVERY CONTROL PLAN

                      1. Plaintiff intends to conduct discovery under Level 2 of the Texas Rules of

              Civil Procedure 190.3.

                                                    PARTIES

                      2. Defendant Scott Lamb is an individual residing in Montgomery County,

              Texas, who can be served at his residence: 29 Watermill Ct, The Woodlands, Tx,

              77380. At all times material herein, defendant Lamb was McDermott

              International's Vice President of Investor Relations.




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                    3. Defendant David Dickson is an individual believed to be residing in

              either Montgomery County, Texas, or Harris County, Texas, who can be served at

              McDermott International, 757 N. Eldridge Pkwy, Houston, Tx, 77079. At all times

              material herein, defendant Dickson was the President and Chief Executive Officer

              of McDermott International.

                    4. Defendant Stuart Spence is an individual residing in Harris County,

              Texas, who can be served at his residence: 301 Hedwig Street, Houston, Tx,

              77024. At all times material herein, until 11/4/2019, defendant Spence was the

              Executive Vice President and Chief Financial Officer of McDermott International.

                    5. The 10 John/Jane Doe defendants, if any, will be identified through the

              process of discovery.

                                        JURISDICTION AND VENUE

                    6. This Court has personal jurisdiction over the defendants because they (a)

              have, at all material times, conducted business in Texas; (b) have committed

              tortuous actions, in whole or in part, in Texas; and (c) have sufficient minimum

              contact with Texas such that the assumption of jurisdiction will not offend

              traditional notions of fair play and substantial justice.

                    7. Plaintiff seeks monetary relief of $180,000.00, plus exemplary damages,

              and the damages sought are therefore within the jurisdictional limit of this Court.




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                    8. Venue is proper in Montgomery County, Texas, pursuant to Section

              15.002(a)(2) of the TEX. CIV. PRAC. & REM. CODE because it was the

              residence of one or more of the defendants at the time plaintiff's causes of action

              accrued.

                                            FACTUAL ALLEGATIONS

              Defendants Dickson and Spence Have a History of Being Accused of Making
              Material Misrepresentations and Omissions in Their Communications to
              McDermott Shareholders.

                    9. The following is alleged on information and belief.

                    10. On November 15, 2018, a complaint was filed in the United

              States District Court for the Southern District of Texas seeking class action status

              on behalf of purchasers of McDermott International ("McDermott") common stock

              and alleging damages on their behalf arising from McDermott's allegedly false and

              misleading statements during the class period from January 24, 2018, to October

              30, 2018. The case is captioned Edwards v. McDermott International, Inc., et al,

              No. 4:18-cv-04330. The defendants in the case are McDermott; David Dickson,

              McDermott's President and CEO; and Stuart Spence, McDermott's Chief Financial

              Officer (who left McDermott on 11/4/2019). The plaintiff in that case has alleged

              that the defendants made material misrepresentations and omissions about the

              integration of the CB&I (Chicago Bridge and Iron) business, certain CB&I projects

              and their fair values, and McDermott's business, prospects and operations.



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                     11. On January 14, 2019, a related action was filed in the United States

              District Court for the Southern District of Texas seeking class action status on

              behalf of all shareholders of McDermott common stock as of April 4, 2018, who

              had the right to vote on the McDermott/CB&I Combination, captioned: The Public

              Employees Retirement System of Mississippi v. McDermott International, Inc., et

              al, No.4:19-cv-00135. The plaintiff in that case has alleged the defendants, which

              include Mr. Dickson and Mr. Spence, made material misrepresentations and

              omissions in the proxy statement McDermott used in connection with the

              Combination. The court granted McDermott's motion to consolidate the two

              actions on February 22, 2019. The case is ongoing.

                    12. On July 26, 2019, the Securities and Exchange Commission ('SEC') sent

              a letter, accompanied by subpoenas, notifying McDermott International that it is

              under investigation for failing to properly disclose projected losses on its Cameron

              LNG (Hackberry) project (which was part of CB&I when McDermott acquired that

              company). Furthermore, McDermott failed to disclose the SEC investigation to

              any of its lenders before they had agreed to provide $1.7 billion of additional

              financing to the company on or about October 21, 2019, as discussed below.




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              Timeline of Events

                    13. The following is alleged on information and belief.

                    14. On March 22, 2019, 2019 Proxy materials were sent to McDermott

              shareholders. The materials contained a letter from Mr. Gary Luquette,

              McDermott's Independent Chairman of the Board. The letter, which was reviewed

              and approved by the defendants herein prior to being published, contained glowing

              statements concerning McDermott's outlook. For example:

                    "Today, we are a fundamentally different and much larger company, as

              compared to where we were at the end of 2017, with a formidable new presence in

              significant onshore markets."

                    "Thanks to the tremendous amount of hard work and dedication of our

              Board, executive management and employees during 2018, we are ahead of

              schedule in becoming a premier, fully integrated, global engineering, procurement,

              construction and installation ("EPCI") provider, with product solutions spanning

              onshore and offshore from concept to commissioning."

                    "Looking forward to 2019, our end markets are growing. We are continuing

              to see recovery in the offshore and subsea, LNG and downstream markets, with the

              highest McDermott revenue opportunity pipeline in our history. Today,

              McDermott is well-positioned to offer the technology-led, vertically-integrated

              solutions that we know our customers are seeking. We believe that McDermott



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              has the right strategy in place to play a major role in the next chapter of global

              energy solutions."

                    15. At the time the letter was published, the defendants were aware that

              McDermott's Cameron LNG (liquefied natural gas) project had estimated probable

              losses of over $1 billion (approximately $3.50 per share) that would need to be

              recognized in the coming quarters.

                    16. Nowhere did the proxy materials warn of any impending danger to the

              outlook for McDermott. However, even though McDermott management was

              being exceedingly well compensated (e.g.- defendant Dixon's total remuneration in

              2018 exceeded $11 million, most of which came from stock awards, and defendant

              Spence's total 2018 remuneration was $3.6 million, most of which also came from

              stock awards), the Board recommended a substantial increase in the company's

              Long-Term Incentive Plan which would further enrich company insiders through

              stock grants.

                    17. On April 29, 2019, barely a month after Chairman Luquette's March 22,

              2019, letter and just days before McDermott's May 2, 2019, annual shareholder

              meeting, the company released its first quarter 2019 report. The report, reviewed

              and approved by the defendants before being published, was effusive in its praise

              for the results the company had achieved and provided no commentary or evidence

              that anything was amiss at McDermott. In part, the report stated:



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                    18. "More broadly, the company continues to exhibit commercial success in

              a steadily improving market. In particular, McDermott reported a book-to-bill

              ratio of 3.0x, a new award total of $6.7 billion and a 41% sequential-quarter

              improvement in backlog."

                    19. In the report, management released its full-year 2019 earnings guidance,

              which predicted strong second-half 2019 results. The guidance predicted that

              McDermott's full year earnings per share would be $.90

                    20. Nowhere in the first quarter report or the full-year guidance were

              shareholders informed of the significant losses being accrued by the company's

              Cameron LNG project. These losses were not included in the first quarter results

              or in the full-year projections.

                    21. McDermott held its annual shareholders meeting on May 2, 2019. All

              reports, slides and presentations given to shareholders at the meeting were

              reviewed and approved in advance of the meeting by the defendants. The meeting

              continued the good-news reporting that had taken place in prior months. For

              example, the company showed a slide to shareholders which stated:

                    "Post-Combination, McDermott is a fundamentally different and much

              larger company as compared to where we were in 2017, with significant earnings

              potential."




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                    22. The slide showed dramatic increase in revenues, backlog and order

              intake from the prior year.

                    23. At no time during the meeting were the company's shareholders

              informed of the significant losses being accrued by the company's Cameron LNG

              project. These losses were not discussed during the meeting by the defendants or

              in any report, slide or presentation given during the meeting.

                    24. During the meeting, the shareholders approved the Board-

              recommended change to the company's long-term incentive plan which

              significantly increased the potential remuneration of the defendants and other

              company insiders.

                    25. In July, 2019, just weeks after the May 2, 2019, annual shareholder

              meeting in which McDermott shareholders approved a substantial increase in the

              company's long-term incentive plan, McDermott management undertook a study

              (the "Financing Case") the purpose of which was to consider a change in the

              capital structure of the company. This study, though material, was not disclosed to

              shareholders or the SEC.

                    26. The "Financing Case" was undertaken because the company, with the

              prior knowledge and at the direction of the defendants, was about to start reporting

              the huge losses that had been accruing on the Cameron LNG project. Reporting

              said losses would significantly impair the company's cash flow and would threaten



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              the company's loan covenants. The company therefore decided to look for sources

              of capital to "finance" increases in working capital and serve as a buffer to its loan

              covenants.

                    27. The undertaking of the "Financing Case" and the reasons for it were

              highly material but, with the prior knowledge and at the direction of the

              defendants, no public announcement was made and company's shareholders were

              left in the dark about the Financing Case and very serious earnings, cash flow and

              loan covenant issues the company faced.

                    28. On July 29, 2019, McDermott released its second quarter 2019 results

              which unexpectedly showed the company lost $146 million during second quarter

              2019 versus a net income of $47 million during the prior year period. In addition,

              the company, with the prior knowledge and at the direction of the defendants,

              reduced its full year guidance which now predicted the company would lose $1.65

              per share instead of making $.90 a share in 2019, a negative swing of $2.55 a share

              from the first quarter, 2019, guidance.

                    29. The decline in full-year 2019 guidance would have been even greater

              but for the company's unexplained announcement, approved in advance of

              publication by the defendants, that operating income was going to achieve a "sharp

              improvement" during the fourth quarter of 2019. The company's anticipated




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              improvement was therefore shifted by the defendants from second-half 2019 to

              fourth quarter 2019.

                    30. In a statement made in the second quarter report, defendant Dickson

              gave no indication that McDermott faced significant difficulty in the months

              ahead, including impending earnings, cash flow and loan covenant problems. To

              the contrary, Mr. Dickson stated in the July 29, 2019, second quarter report:

               “Although the company reported mixed results for the second quarter of 2019, we
              are encouraged by the record-setting level of backlog and new awards. We are also
              pleased with the visibility we have into expected 2020 revenues, of which
              $7.4 billion was already in backlog as of the end of the second quarter of 2019.
              This is well above the $4.2 billion of 2019 revenues we had in backlog this time
              last year. This strong market posture continues to demonstrate the benefits of our
              combination with CB&I and the opportunities available in a strong market
              environment. McDermott has booked more than $19 billion of awards since the
              May 2018 combination with CB&I, demonstrating continued customer confidence
              and healthy end markets. Importantly, as of the end of the second quarter of 2019,
              legacy CB&I projects represented only about 14% of the current backlog. All the
              awards we’ve won since the combination were booked under McDermott’s
              stringent risk management protocols, which we believe pave the way for us to
              deliver consistent margin performance through the application of the One
              McDermott Way in the execution of this backlog. The company continues to
              remain on schedule executing the Cameron and Freeport LNG projects. The
              Cameron settlement agreement we signed earlier this month is a testament to the
              mutually productive relationship we have built with this customer since the
              combination – and the associated incentives provided a meaningful contribution to
              our second quarter results."

              "...we expect to see a sharp improvement in the company’s operating income by
              the fourth quarter of this year, as we build momentum heading into 2020."

              “Looking ahead, our revenue opportunity pipeline remains near a historic high and,
              more specifically, we are seeing steady upward momentum in a number of key
              areas. For example, in the strategic area of front end engineering design (FEED),
              our awards through the first half of 2019 are already more than double what we

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              won in all of 2018 – in terms of both man-hours and dollar value – and that’s
              especially important as FEED work positions us for EPC opportunities. This year
              we have booked $1.5 billion of EPC work as a result of FEED work that’s been
              done since the combination. Further, in our Technology business, we are
              forecasting the number of license sales to increase by 25% this year versus 2018.
              One of the recent highlights was our selection as the Master Licensor by S-OIL, an
              affiliate of Saudi Aramco, in support of its ethylene cracker and downstream
              petrochemicals complex, being developed as a major expansion of S-OIL’s
              existing refinery in South Korea. Our Technology business gives us unparalleled
              insight into upcoming EPC opportunities, and we see roughly $40 billion of
              potential EPC pull-through opportunities in the refining and petrochemical markets
              over the next five years. We believe the petrochemical market, in particular, is
              poised for another wave of investment in the next 12 to 24 months, with world
              ethylene capacity expected to increase by more than 40% between 2019 and 2028.”

                    31. The July 29, 2019, second quarter report was reviewed and approved by

              the defendants in advance of its publication. Nowhere in the July 29, 2019, second

              quarter report did the defendants alert shareholders to the fact that McDermott had

              already begun a material analysis (the "Financing Case") designed to consider a

              change in the capital structure of the company. And nowhere in the July 29, 2019,

              second quarter report did the defendants alert shareholders to the fact that they

              were aware that the Cameron LNG project, and other legacy projects as well, were

              going to continue experiencing substantial losses in the months ahead which would

              cause the company to incur huge losses, a cash flow drain and loan covenant

              problems.

                    32. Sometime before mid-September, 2019, the Financing Case had been

              concluded and its result was that McDermott had an avenue to cure its impending

              financial problems without the need to declare Chapter 11 bankruptcy (business

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              reorganization). It is likely the Financing Case included the selling of valuable

              company assets such as Lummus Technology to shore up McDermott's balance

              sheet. (McDermott has reported that Lummus is worth upwards of $3 billion.)

              "Likely" is used herein because the company never reported the actual details of

              the Financing Case. Neither did the company, with the prior knowledge and at the

              direction of the defendants, report to shareholders the highly material fact that the

              Financing Plan represented a path to salvation for the company and its

              shareholders.

                    33. The Financing Case, if implemented, would have prevented McDermott

              from having to seek Chapter 11 bankruptcy reorganization. Why wasn't it

              implemented? Because shortly after the Financing Case was finished, rumors

              began to fly in the press that the company was facing financial difficulty and its

              stock price collapsed from $6.08 on September 16, 2019, immediately before the

              rumors, to $2.16 on September 18, 2019, after the rumors came out.

                    34. Literally within hours of the company's stock price losing approximately

              two-thirds of its value, McDermott, with the prior knowledge and at the direction

              of the defendants, decided to scrap the Financing Plan and declare Chapter 11

              bankruptcy. At the company's Chapter 11 bankruptcy plan confirmation hearing in

              the U.S. District Court for the Southern District of Texas, Southern Division, on

              March 12, 2020, a company insider with intimate knowledge of the decision-



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              making process, testified that the reason the company decided to declare Chapter

              11 was because its stock price had collapsed.

                    35. Even though the implementation of the Financing Case would have

              saved the company, the company, with the prior knowledge and at the direction of

              the defendants, chose Chapter 11 and the subsequent losses, pain and suffering that

              would cause for its thousands of McDermott shareholders because the company's

              stock price had collapsed. Why? Because, as has been noted herein, the majority

              of defendant Dickson's and defendant Spence's compensation, as well as a large

              part of other insider compensation, at McDermott comes from the award of

              McDermott shares. Declaring bankruptcy would cancel the outstanding shares of

              every McDermott shareholder, including the shares owned by the defendants. But

              new shares would be issued in the reorganized company (which would come out of

              bankruptcy with a high share value) and the bankruptcy plan calls for defendant

              Dickson and other corporate insiders to be granted 7.5% of the new shares.

              Assuming the number of pre-bankruptcy shares outstanding (193 million), a

              conservative post-bankruptcy share price of $25 and 10% of the post-bankruptcy

              7.5% insider share allotment goes to defendant Dickson, defendant Dixon stands to

              gain over $36,000,000 from a McDermott bankruptcy (193,000,000 x $25 x .10 x .

              075 = $36,187,000), not including his annual salary. So the plan implemented by

              defendants Dickson and Spence was, "Company goes bankrupt, we get rich."



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                      36. Going bankrupt so company insiders can dramatically improve their

              financial positions on the backs of regular shareholders who lose their life savings

              is not a legitimate reason for declaring Chapter 11. There is no statute or case law

              that allows a company to declare bankruptcy because its stock price has gone

              down.

                      37. Even though the company had decided in mid-September to declare

              Chapter 11, the company, with the prior knowledge and at the direction of the

              defendants, made no notice of its intentions to shareholders or anyone else. The

              company, with the prior knowledge and at the direction of the defendants, hid the

              fact that it had made the decision to declare Chapter 11 bankruptcy from its

              shareholders. And while they were doing this, shareholders were buying shares of

              the company at what they considered to be bargain-basement prices because the

              company had not disclosed its decision to go bankrupt or the extent of its financial

              problems.

                      38. On September 18, 2019, the company, with the prior knowledge and at

              the direction of the defendants, issued a terse press release stating that::

                     "McDermott International, Inc., routinely hires external advisors to evaluate
              opportunities for the Company. The Company is taking positive and proactive
              measures, as we have done in the past, intended to improve its capital structure and
              the long-term health of its balance sheet."

                      39. The press release made no mention of the highly material fact that the

              company was actively considering or had already decided to declare bankruptcy.

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                    40. On September 20, 2019, the company, with the prior knowledge and at

              the direction of the defendants, issued a press release stating that the company had

              hired Evercore to help it sell Lummus Technology. The press release made no

              mention of the highly material fact that the company had already decided to

              declare bankruptcy.

                    41. On October 21, 2019, McDermott, with the prior knowledge and at the

              direction of the defendants, issued a press release that it had secured financing of

              $1.7 billion, subject to certain terms, that the company would use to finance

              working capital and support the issuance of required performance guarantees on

              new projects. The tone and tenor of the press release was that the company's

              liquidity problems had been solved. Nowhere in the press release was the

              possibility of bankruptcy even raised. The press release included a statement from

              David Dickson, McDermott President and CEO, that:

                     "This new credit agreement is a continued signal from our lenders that they
              support McDermott, our underlying business growth strategy and ability to achieve
              a long-term balance sheet solution. The Agreement provides near-term liquidity
              for the Company to manage working capital and provide performance guarantees
              on expected new awards. We remain focused on serving our customers' needs,
              supporting our dedicated employees and maintaining our valued relationships with
              our subcontractors, suppliers and other business counterparties, all as part of our
              efforts to enhance out position as a premier, fully integrated provider to
              technology, engineering and construction solutions to the energy industry."

                    42. The press release reiterated McDermott's plan to sell Lummus

              Technology.



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                    43. The press release also announced that McDermott had withdrawn it

              previously stated guidance for full-year 2019. No new guidance for full-year 2019

              was given. Nowhere in the press release was the highly material fact that

              McDermott had already decided to declare bankruptcy.

                    44. McDermott failed to disclose that the company was under

              investigation by the SEC, as noted above, to any of its lenders before they had

              agreed to provide the $1.7 billion of additional financing to the company.

                    45. On November 4, 2019, McDermott, with the prior knowledge and at the

              direction of the defendants, released its third quarter results in which it reported a

              net loss of $1.887 billion, or $10.37 per share. Most of the loss was due to

              goodwill and intangible asset write-downs of $1.513 billion recommended by its

              financial advisors to completely eliminate shareholder retained earnings in advance

              of McDermott's now planned, but unannounced, Chapter 11 bankruptcy filing.

              After the write-downs, shareholders' equity in the company was a negative $1.380

              billion. Absent the write-downs, the company reported a loss of $1.80 per share.

                    46. The write-down of goodwill and intangible assets was unnecessary and

              done only for the purpose of fraudulently wiping out shareholder equity so that

              shareholders could not claim they had a stake in the company or any ownership

              claims during the planned (but unannounced) bankruptcy filing.




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                    47. Even though the company had enough liquidity to make the payment,

              the third quarter report also notified shareholders that the company declined to

              make the $69 million November 1, 2019, interest payment on its 10.625% senior

              notes due in 2024. Instead, the company elected to enter into the 30-day grace

              period with respect to the payment.

                    48. Prior to the third quarter report, the company, with the prior knowledge

              and at the direction of the defendants, had not made any announcement to

              shareholders that the third quarter results were going to be terrible. As noted

              herein, on October 21, 2019, the company, with the prior knowledge and at the

              direction of the defendants, issued a press release which, among other things,

              withdrew the company's full-year, 2019, guidance without updating said guidance

              even though the company, with the prior knowledge and at the direction of the

              defendants, had forecast a "sharp improvement" for the fourth quarter just weeks

              earlier. Up until two weeks before the November 4, 2019, earnings report,

              shareholders had no idea that the company was going to wipe out shareholders'

              equity and instead relied on the misleading and fraudulent full-year 2019 earnings

              guidance and other fraudulent and misleading statements that they had received

              with the prior knowledge and at the direction of the defendants.

                    49. On November 4, 2019, the day of the third quarter earnings

              announcement, McDermott reported that defendant Stuart Spence, the company's



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              Chief Financial Officer whose compensation was $3.6 million in 2018 had

              resigned "to pursue other opportunities". Mr. Spence's resignation date was

              actually November 4, 2019, the date of the disastrous third quarter earnings

              announcement. As discussed above, defendant Spence was already the defendant

              in litigation against him, David Dickson and McDermott which, among other

              things, accused him of making false and misleading statements relating to

              McDermott's finances.

                    50. Defendant Spence also received a severance payment of $866 thousand

              and other benefits from McDermott in return for his release of all claims against

              McDermott and its employees and agents, including any such matter arising

              from the negligence, gross negligence or reckless, willful or wanton

              misconduct of any of the Releasees.

                    51. The release does not include any claims for indemnification for suits

              filed against Defendant Spence by outside parties during his tenure at McDermott.

                    52. The release has a non-disparagement agreement:

              "Employee shall refrain from making, directly or indirectly, in any public or
              private communication (whether oral, written or electronic), any criticisms or
              negative or disparaging comments or other statements about the Company or any
              of the other Releasees, or about any aspect of the respective businesses, operations,
              financial results or prospects of any of the Company Entities, including comments
              relating to Employee’s termination of employment. Notwithstanding the foregoing,
              it is understood and agreed that nothing in this Section 4(b) or in Section 5 hereof
              is intended to: (i) prevent Employee from testifying truthfully in any legal
              proceeding brought by any governmental authority or other third party or interfere
              with any obligation Employee may have to cooperate with or provide information

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              to any government agency or commission, subject to compliance with the
              provisions of Section 5(c) hereof, if applicable; (ii) prevent Employee from
              advising Employee’s spouse of the terms and conditions of this Agreement; or
              (iii) prevent Employee from consulting with Employee’s own legal counsel, as
              contemplated by Section 7 of this Agreement."

                    53. Most importantly, the release has a non-disclosure agreement

              prohibiting defendant Spence from disclosing any information to McDermott

              analysts or shareholders:

              " Employee will not disclose any of the Confidential Information to any securities
              analysts, shareholders, prospective investors, customers, competitors or any other
              third party, including any third party who has or may express an interest in
              acquiring any of the Company Entities or all or any significant portion of their
              respective outstanding equity securities or assets. If Employee is legally required to
              disclose any Confidential Information, Employee shall, to the extent not prohibited
              by applicable law or legal process, promptly notify the Company in writing of such
              requirement so that the Company or any of the other Company Entities may seek
              an appropriate protective order or other relief or waive compliance with the
              nondisclosure provisions of this Section 5 with respect to such Confidential
              Information. To the extent not prohibited by applicable law, Employee agrees to
              cooperate with and not to oppose any effort by the Company or any other
              Company Entity to resist or narrow such request or to seek a protective order or
              other appropriate remedy. In any such case, Employee will: (i) disclose only that
              portion of the Confidential Information that, according to written advice of
              Employee’s counsel, is required to be disclosed; (ii) use reasonable best efforts to
              obtain assurances that such Confidential Information will be treated confidentially;
              and (iii) to the extent not prohibited by applicable law, promptly notify the
              Company in writing of the items of Confidential Information so disclosed."

                     54. Defendant Spence may have to pay back McDermott for any payments
              made to him if he breaches the agreement or even if a court or arbitrator finds it
              invalid or unenforceable:

              "Employee agrees that in the event that (i) Employee breaches any term of
              Sections 3 or 4 hereof or this Section 5, or (ii) Employee challenges the validity of
              all or any part of this Section 5, and all or any part of this Section 5 is found
              invalid or unenforceable for any reason whatsoever by a court of competent

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              jurisdiction or an arbitrator in a proceeding between Employee and a Company
              Entity, in addition to any other remedies at law or in equity the Company may have
              available to it, the Company shall not be obligated to make any of the payments
              and may cease to make such payments or to provide for any of the benefits
              specified in Section 2 hereof, and shall be entitled to recoup from Employee any
              and all of the value of the payments and benefits provided pursuant to Section 2
              hereof that have vested or been paid pursuant to that Section."

                    55. It can be inferred from the above that McDermott may not want the

              details of its financial operations to become public and that Defendant Spence may

              know something that McDermott is paying him not to discuss.

                    56. McDermott did not release fourth quarter 2019 results. However,

              McDermott advisors Evercore, Kirkland & Ellis and AlixPartners estimated that

              McDermott experienced a fourth quarter operating loss of $141 million, or

              approximately $.77 per share, even though the defendants had been saying as late

              as July 29, 2019, (second quarter 2019 earnings release) that operating income was

              going to achieve a "sharp improvement" during the fourth quarter of 2019.

                    57. On January 21, 2020, McDermott announced that it was filing a

              Prepackaged Chapter 11 proceeding in the United States Bankruptcy Court for the

              Southern District of Texas (Case number 20-30336). As part of the filing, the

              company announced that it was proposing that all of the existing outstanding

              shares of McDermott would be cancelled (declared worthless).

                    58. Part of McDermott's bankruptcy Plan filed with the court called for the

              issuance of new common stock. The Management Incentive Plan included in



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              the company's bankruptcy Plan calls for the reservation of 7.5% of the new

              stock to be used in grants to McDermott management and the company's

              Board of Directors. In one fell swoop, McDermott management wiped out all

              the current shareholders and gave itself and its Board 7.5% of the

              recapitalized company. As discussed above, a conservative estimate of

              defendant Dickson's windfall from receiving shares of the recapitalized

              company is approximately $36,000,000.

                    59. Prior to the January 21, 2020, announcement, McDermott, with the prior

              knowledge and at the direction of the defendants, had made no announcements to

              shareholders that it was even considering bankruptcy or that it had decided to

              declare bankruptcy in mid-September, 2020. Throughout the entirety of 2019 and

              up until the January 21, 2020, bankruptcy announcement, the company, with the

              prior knowledge and at the direction of the defendants, produced and published a

              continuous stream of positive press releases touting the continued and unparalleled

              success of the company and its operations. Not one press release informed

              shareholders of difficulties the company was experiencing or of the company's

              decision to declare bankruptcy in mid-September, 2019.

                    60. After the January 21, 2020, announcement, McDermott's share price fell

              to a low of $.01 per share.




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                    61. On February 27, 2020, plaintiff filed a pleading ("plaintiff's pleading")

              asking the bankruptcy court to order a criminal inquiry pursuant to 18 U.S.C.

              Section 158(d) and 18 U.S.C. Section 3057 into alleged improper, criminal,

              activities pursued by McDermott and its advisors before and during the pendency

              of the bankruptcy proceedings. The defendants were made aware of the pleading

              by their bankruptcy attorneys. Plaintiff's pleading states, in part:



              "....Van Deelen alleges that McDermott, certain members of its management and
              its advisors, violated 18 U.S.C. Section 152 when they made various false oaths
              and accounts to the bankruptcy court, including when they claimed that
              McDermott had to re-equitize the company as part of its bankruptcy plan and that
              certain documents filed with the court were accurate; violated 18 U.S.C. Section
              154 when they failed to provide the U.S. Trustee documents which showed that
              they had previously concluded that the company did not have to file for Chapter 11
              bankruptcy and documents which showed that, once Chapter 11 bankruptcy was
              filed, the company did not have to re-equitize; and violated 18 U.S.C. Section157
              when they filed documents with the bankruptcy court purporting to show that
              McDermott had to re-equitize the company in order to satisfactorily exit
              bankruptcy when they knew that the reason they claimed the need to re-equitize
              was so that they could be granted 7.5% of the company's new shares upon
              emergence from bankruptcy.
                      Van Deelen alleges that McDermott's bankruptcy plan has not been
              proposed in good faith and has been proposed by a means forbidden by law in
              violation of 11 U.S.C. Section 1129(3) because the plan calls for the cancellation
              of existing shares, the elimination of virtually all of the company's outstanding debt
              and the re-equitization of the company for the sole purpose of enriching
              McDermott's management and Board and not because said cancellation of shares,
              elimination of all debt and re-equitization of the company is necessary for the
              satisfactory emergence of the company from bankruptcy.
                      Van Deelen alleges that McDermott's bankruptcy plan discriminates unfairly
              and is not fair and equitable with respect to current shareholders in violation of 11
              U.S.C. Section 1129 (b)(1) because it is not necessary to cancel the shares of the
              existing shareholders, to eliminate virtually all of the company's outstanding debt

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              and to re-equitize the company in order for the plan to be viable. The plan calls for
              the cancellation of existing shares, the elimination of virtually all of the company's
              outstanding debt and the re-equitization of the company for the sole purpose of
              enriching McDermott's management and Board and not because said cancellation
              of shares, elimination of all debt and re-equitization of the company is necessary
              for the satisfactory emergence of the company from bankruptcy.
                     Van Deelen, pursuant to 18 U.S.C. 158(d) and 18 U.S.C. Section 3057,
              moves the court to refer for investigation the claims of McDermott, certain
              members of its management and its advisors that McDermott has to re-equitize the
              company in order to satisfactorily exit bankruptcy.
                     WHEREFORE, Van Deelen respectfully requests that the Court sustain his
              opposition and objection to the confirmation of the Debtor's Plan, that the Court
              grant Van Deelen's proposed Modified Plan, in whole or in part, that the Court
              order an investigation pursuant to 18 U.S.C. Section 158(d) and 18 U.S.C. Section
              3057, and that the Court enter the Order, substantially in the form attached to this
              Motion (Exhibit 31), granting the relief requested in this Motion and granting such
              other and further relief as is appropriate under the circumstances."


                    62. On March 12, 2020, Shortly after plaintiff's pleading was filed, plaintiff

              attended McDermott's Plan Confirmation Hearing. Also in attendance were

              defendants Dickson and Spence. After the hearing, plaintiff informed defendant

              Dickson that plaintiff was going to file suit against him in state court concerning

              the improprieties defendant Dickson had engaged in with respect to his

              fraudulently directing and engaging in McDermott's inappropriate, unlawful,

              bankruptcy petition.

                    63. On March 17, 2020, McDermott, with the knowledge and prior approval

              by defendant Dickson, filed a motion with the bankruptcy court seeking an order

              asking that shareholder plaintiff be "prohibited from further contact with the

              debtors [i.e. - McDermott International], their current or former officers, directors,

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              and employees, their counsel or other professionals and their families." Said

              motion was made in retaliation for plaintiff's pleading filed on February 27, 2020,

              in the U.S. Bankruptcy Court for the Southern District of Texas and for plaintiff's

              informing defendant Dickson on March 12, 2020, that plaintiff intended to sue him

              in state court. The motion was intended to prevent and chill plaintiff from

              pursuing plaintiff's pleading and plaintiff's planned state court suit against

              defendant Dixon. The motion has in fact chilled plaintiff from pursuing his

              plaintiff's pleading. Plaintiff has not pursued his plaintiff's pleading and plaintiff

              has not attempted to contact McDermott's management team since McDermott's

              March 17, 2020, motion was filed even though the bankruptcy court subsequently

              denied the motion. Neither has plaintiff attempted to contact McDermott's current

              or former officers, directors, employees, counsel or other professionals, even

              though other McDermott shareholders are afforded the right to do so.

                    64. The defendants owed and owe a fiduciary duty to plaintiff which

              includes, but is not limited to, not to fraudulently manipulate McDermott's

              financial statements and results; not to fraudulently cause the company to file for

              bankruptcy protection; not to fail to disclose to the company's lenders that

              McDermott was under investigation by the SEC before accepting $1.7 billion of

              additional financing from the lenders; to keep plaintiff informed concerning any

              adverse factors which are expected to negatively impact earnings; to keep plaintiff



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              informed concerning any bankruptcy plans the company has and not to attempt to

              chill and effectively prevent plaintiff from contacting McDermott International and

              its management team.

                                                   COUNT 1
                                                 CONVERSION

                     65. Plaintiff repeats and realleges each and every allegation contained above

              as if fully set forth herein.

                     66. At all times material, the plaintiff owned 30,000 shares of McDermott

              International common stock.

                     67. The defendants unlawfully and without authorization assumed and

              exercised dominion or control over plaintiff's shares to the exclusion of, or

              inconsistent with, the plaintiff's rights as a shareholder.

                     68. The conversion included, but was not limited to, unnecessarily writing

              down goodwill and intangible assets for no other purpose than destroying

              shareholder equity in advance of a planned, but unannounced, bankruptcy filing;

              unnecessarily declaring Chapter 11 bankruptcy for no other purpose than enriching

              defendant Dixon and other company insiders; announcing that the company was

              going to cancel the stock of plaintiff and other shareholders in connection with the

              unnecessary Chapter 11 bankruptcy; and chilling plaintiff from exercising his

              rights as a shareholder to contact company management and other personnel by

              asking the bankruptcy court to prevent plaintiff from doing so.

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                    69. Plaintiff was injured by the conversion which impaired plaintiff's rights

              as a shareholder and destroyed the value of plaintiff's shares.

                    70. Plaintiff seeks actual damages of $180,000.00 and exemplary damages

              in an amount determined by the trier of fact.

                                              COUNT 2
                                          COMMON LAW FRAUD

                    71. Plaintiff repeats and realleges each and every allegation contained above

              as if fully set forth herein. Count 2 is brought pursuant to Texas common law.

                    72. The defendants made or caused to be made statements about McDermott

              International, its performance and its financial condition which they knew were

              false, inaccurate or misleading.

                    73. The defendants failed to disclose the material facts necessary to make

              the statements they and their representatives made, in light of the circumstances

              under which they were made, not misleading.

                    74. The defendants did not have a reasonable basis for their alleged false

              statements and omissions and engaged in practices and a course of business that

              operated as a fraud and deceit upon the purchasers of McDermott International

              common stock.

                    75. The defendants and their representatives, with prior knowledge and

              approval of the defendants, individually and in concert, directly and indirectly,

              engaged and participated in a continuous course of conduct to conceal adverse

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              material information about McDermott International, its serious problems, and its

              effect on McDermott's financial condition.

                    76. The defendants and their representatives, with prior knowledge and

              approval of the defendants, individually and in concert, directly and indirectly,

              engaged and participated in a continuous course of conduct to conceal the fact that

              the implementation of the "Financing Case" would solve the company's cash flow,

              loan covenant and other problems and avoid the need for the company to declare

              bankruptcy.

                    77. Such material misrepresentations and omissions were done knowingly

              or with recklessness, and without a reasonable basis, for the purpose and effect of

              concealing the true status of McDermott's financial condition and of the "Financing

              Case".

                    78. The defendants and their representatives, with prior knowledge and

              approval of the defendants, made the misrepresentations and omissions of material

              facts set forth herein with the intent to induce others, including the plaintiff, to rely

              on such misrepresentations and omissions of material fact.

                    79. Plaintiff reasonably relied on the defendants' fraudulent and reckless

              misstatements and omissions in connection with his purchases and retention of

              McDermott International common stock. Plaintiff relied on these statements both

              directly to the extent they were personally made to plaintiff and indirectly to the



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              extent they artificially inflated the market price. But for the defendants' wrongful

              conduct, plaintiff would not have purchased and retained his McDermott

              International stock.

                       80. As a direct and proximate result of defendants' wrongful conduct,

              plaintiff suffered damages in connection with his purchases and his retention of

              McDermott International common stock in excess of the jurisdictional limits of this

              Court.

                       81. Pursuant to Section 41.003 of the Texas Civil Practice and Remedies

              Code, plaintiff is entitled to recover exemplary damages in an amount to be

              determined by the trier of fact.

                                                 COUNT 3
                                             STATUTORY FRAUD

                       82. Plaintiff repeats and realleges each and every allegation contained above

              as if fully set forth herein. Count 3 is brought pursuant to Texas Business &

              Commercial Code Section 27.01.

                       83. The defendants made or caused to be made statements about McDermott

              International, its performance, its financial condition and its outlook which they

              knew were false.

                       84. The defendants made these misrepresentations of material fact to

              investors, including plaintiff, for the purpose of inducing them to rely on such




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              misrepresentations of material fact to purchase and/or retain McDermott

              International stock.

                    85. Despite knowing that these statements were false, the defendants failed

              to disclose the falsity of these statements to plaintiff, investors and regulatory

              authorities.

                    86. Plaintiff reasonably relied on the defendants fraudulent misstatements in

              connection whit his purchases of McDermott stock. Plaintiff relied on these

              statements both directly to the extent they were personally made to plaintiff and

              indirectly to the extent they artificially inflated the market price. But for the

              defendants' wrongful conduct, plaintiff would not have purchased and retained his

              McDermott International stock.

                    87. The defendants made or caused to be made statements about

              McDermott's need to declare bankruptcy which they knew were false.

                    88. The defendants made these misrepresentations of material fact to

              investors and regulatory authorities so that they could reap tens of millions of

              dollars in inappropriate, unearned, windfall stock grants and salary increases as the

              result of the bankruptcy and recapitalization of McDermott International.

                    89. Despite knowing that these statements were false, the defendants failed

              to disclose the falsity of these statements to plaintiff, investors and regulatory

              authorities.



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                     90. As a direct and proximate result of the defendants' wrongful conduct,

              plaintiff suffered damages in connection with his purchases and retention of

              McDermott International stock in excess of the jurisdictional limits of this Court.

                     91. As a direct and proximate result of their false statements, the individual

              defendants benefitted, or will benefit, from the inflated stock price and the

              inappropriate, unearned, windfall stock grants and salary increases they received,

              or will receive, as the result of the bankruptcy and recapitalization of McDermott

              International.

                     92. Pursuant to Texas Business & Commercial Code Sections 27.01(c)-(d),

              plaintiff is entitled to recover exemplary damages in an amount to be determined

              by the trier of fact.

                     93. Pursuant to Texas Business & Commercial Code Section 27.01(e),

              plaintiff is entitled to recover reasonable and necessary attorney's fees, expert

              witness fees, costs for copies of depositions and costs of court.

                                                COUNT 4
                                      NEGLIGENT MISREPRESENTATION

                     94. Plaintiff repeats and realleges each and every allegation contained above

              as if fully set forth herein. Count 4 is brought pursuant to Texas common law.

                     95. The defendants, individually and through their representatives,

              negligently made false and misleading representations to the plaintiff and failed to

              disclose material facts to the plaintiff.

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                    96. The defendants made these negligent misrepresentations and omissions

              of material fact to plaintiff for the purpose of inducing plaintiff to rely on such

              misrepresentations and omissions of material fact to purchase and/or to retain

              McDermott International common stock.

                    97. Plaintiff justifiably relied on the defendants' misrepresentations and

              omissions of material fact in purchasing and retaining his McDermott International

              common stock.

                    98. Plaintiff would not have purchased McDermott International stock if

              plaintiff had been provided accurate and not misleading information by the

              defendants about the company, its outlook, its financial condition and the

              defendants plan to wrongly take the company into bankruptcy.

                    99. As a direct and proximate result of the defendants' misrepresentations

              and omissions of material fact, plaintiff suffered damages in connection with his

              purchase and/or retention of McDermott International common stock in excess of

              the jurisdictional limits of this Court.

                                              COUNT 5
                                      BREACH OF FIDUCIARY DUTY

                    100. Plaintiff repeats and realleges each and every allegation contained

              above as if fully set forth herein.

                    101. The plaintiff and each defendant had a fiduciary relationship.

                    102. The defendants breached their fiduciary duties to the plaintiff.

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                      103. The defendants' breaches proximately caused injury to the plaintiff.

                      104. The defendants' breaches resulted in benefits to the defendants.

                      105. Plaintiff seeks actual damages in excess of the jurisdictional limits of

              this Court and exemplary damages in an amount to be determined by the trier of

              fact.

                                                      COUNT 6
                                                    CONSPIRACY

                      106. Plaintiff repeats and realleges each and every allegation contained

              above as if fully set forth herein.

                      107. The defendants were members of a combination of two or more

              persons.

                      108. The object of the combination was to accomplish an unlawful purpose

              and/or a lawful purpose by unlawful means.

                      109. The members had a meeting of the minds on the object or course of

              action.

                      110. One of the members committed an unlawful, overt act to further the

              object or course of action.

                      111. The plaintiff suffered injury as a proximate result of the wrongful act.

                      112. Plaintiff seeks actual damages in excess of the jurisdictional limits of

              this Court and exemplary damages in an amount to be determined by the trier of

              fact.

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                      DISCOVERY RULE AND FRAUDULENT CONCEALMENT

                    113. Plaintiff asserts all applicable state statutory, common law and

              contractual rights and theories related to the tolling and/or extension of any

              applicable statute of limitations, including equitable tolling, delayed discovery,

              discovery rule, and/or fraudulent concealment.

                                               JURY DEMAND

                    114. Plaintiff demands a trial by jury on all issues so triable.

                                                    PRAYER

                    WHEREFORE, Plaintiff prays that defendants be cited to appear herein and,

              after a trial on the merits, that the Court enter judgment awarding plaintiff the

              following:

                    1. actual damages;

                    2. exemplary damages;

                    3. costs;

                    4. pre-judgment and post-judgment interest as allowed by law; and

                    5. all such other and further relief, both general and special, at equity and at

              law, to which plaintiff may be justly entitled.




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                                                        Respectfully submitted,


                                                        /s/ Michael Van Deelen
                                                        Michael Van Deelen
                                                        16215 Friar Circle
                                                        Spring, TX 77379
                                                        832-562-0723
                                                        michaelvandeelen@gmail.com

                                                        Plaintiff




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                Document 2
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                                                                                            Melisa Miller, District Clerk
                                                                                           Montgomery County, Texas
                                                                                   Deputy Clerk, Kristan Weesner-Malo




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                Document 3
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                                                                                                                                                     Melisa Miller, District Clerk
                                                                                        CITATION                                                    Montgomery County, Texas
                                                                                                                                                  Deputy Clerk, Vanessa Medina
                                                                                     Cause Number: 20-06-07348

      Clerk of the Court                                                                            Attorney Requesting Service
      Melisa Miller                                                                                 Michael Van Deelen
      P.O. Box 2985                                                                                 16215 Friar Circle
      Conroe, Texas 77305                                                                           Spring   TX           77379

                                                                     THE STATE OF TEXAS
      NOTICE TO DEFENDANT: You have been sued. You may employ an attorney.                            your attorney                          If you or
      does not ﬁle a written answer with the clerk who issued this citation by 10:00 a.m. 0n the Monday next
      following the expiration of twenty days after you were served this citation and petition, a default judgment
      may be taken against you.

      T0:         Scott   Lamb
                  29 Watermﬂl Ct
                  The Woodlands            TX           77380
                  OR WHEREVER THE ADDRESSEE MAY BE FOUND
      You   are hereby  commanded to appear by ﬁling a written answer to the Plaintiff‘s Original Petition at or
      before   10:00 A.M. of the Monday next after the expiration of twenty days after the date of service of this
      citation before the Honorable 284th Judicial District Court                                          Montgomery County, Texas               at the         Courthouse
      of said County in Conroe, Texas.


      Said Plaintiff’s Original Petition was ﬁled in said court 0n this the 23rd day ofJune, 2020 numbered 20-06-
      07348 on the docket of said court, and styled, Michael Van Deelen VS. David Dickson, and Stuart Spence,
       and Scott Lamb, and           10     John/Jane Does

      The   nature of plaintist                 demand is                  fully     shown by   a true   and correct copy of the          Plaintiff's Original
      Petition     accompanying             this citation                      and made a part    hereof.


      The   ofﬁcer executing this writ shall promptly serve the same according to requirements of law, and the
      mandates   thereof, and make due return as the law directs.


       Issued and given under               my hand and seal of said Court at Conroe, Texas on this the 23rd day ofjune,
      2020.



                                                                                                           Melisa Miller, District Clerk
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                                                                   OFFICER’S                RETURN
      Cause No. 20-06-07348                    Court No: 284th Judicial District Court
      Style: Michael Van Deelen VS. David Dickson, and Stuart Spence, and Scott Lamb, and 10 John/Jane
      Does
      To:                 Scott   Lamb
      Address:            29 Watermill Ct
                          The Woodlands            TX       77380
                          OR WHEREVER THE ADDRESSEE MAY BE FOUND

       Came   to          24
               hand the _day     of June              20 at 1:31PM o’clock, and executed in Montgomery
                                                   20_,               ,


      County, Texas by delivering to each of the within named defendants in person, a true copy of this citation
      With the date of delivery endorsed thereon, together with the accompanying copy of the Plaintiff‘s
      Original Petition at the following times and places, to wit:

      Name                         Date/Time                          Place, Course          and distance from Courthouse
         Scott Lamb               6/27/2020 10:38AM                       29 Watermill Ct. The Woodlands, Texas 77380
      Manner       of service:     Personal Delivery
      *And not executed as to the defendants(s)
      The diligence used in ﬁnding said defendant(s)                         being:


      And the      cause of failure to execute this process                  is:



      And information received            as to the whereabouts of said defendant(s) being:


      FEES:
       Serving Petition and        Copy        $
                                                                                                                     OFFICER
      T O TAL                                  $
                                                                                                                    County, Texas

                                                                                        By;                              ,   Deputy

      AFFIANT
       Complete      if you   are a person other than a Sheriff, Constable, or Clerk of the Court. In accordance with
       Rule 107: the ofﬁcer, 0r authorized person who services, or attempts to serve a citation shall sign and
      return. The return must either be veriﬁed or be signed under penalty of perjury.

      A return signed under penalty of perjury must contain the
       statement below in substantially the following form:
      My full name is Douglas Greene                                                                Declarant/Authorized Process Server
      My date of birth is 01 04 1968z      Z            ,
                                                            and    my address is
       4008 Louetta Rd. #622 Spring, Texas 77388                                                    ID#   & Exp. Of Certiﬁcation
      I DECLARE UNDER PENALTY OF PERJURY THAT THE

      FOREGOING IS TRUE AND CORRECT                                                                 SWQRN AND SUBSCRIBED 0N
      Executed in Harris                                    ,   County, State of
      Texas       0n the 29
                      ,                  day 0f         June                       ,   20   20
                                                                                                    DATE
      Declarant/Authorized Process Server
       PSC# 11914 Exp 3/31/2021
       ID# & Exp. Of Certiﬁcation
                                                                                                    NOTARY


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                Document 4
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                                                                                                                          CITATION                                                 Montgomery County, Texas
                                                                                                                                                                           Deputy Clerk, Kristan Weesner-Malo
                                                                                                               Cause Number: 20-06-07348

      Clerk of the Court                                                                                                                Attorney Requesting Service
      Melisa Miller                                                                                                                      Michael Van Deelen
      P.O. Box 2985                                                                                                                      16215 Friar Circle
      Conroe, Texas 77305                                                                                                                Spring   TX   77379

                                                                                       THE STATE OF TEXAS
      NOTICE TO DEFENDANT: You have been sued. You may employ an attorney.                            your attorney                                                        If you or
      does not ﬁle a written answer with the clerk who issued this citation by 10:00 a.m. 0n the Monday next
      following the expiration of twenty days after you were served this citation and petition, a default judgment
      may be taken against you.

      T0:         David Dickson
                  McDermott     International
                  757   N Eldridge Pkwy
                  Houston TX 77079
                  OR WHEREVER THE ADDRESSEE MAY BE FOUND
      You   are hereby  commanded to appear by ﬁling a written answer to the Plaintiff's Original Petition at 0r
      before   10:00 A.M. of the Monday next after the expiration of twenty days after the date of service of this
       citation before the     Honorable 284th Judicial                                                                        District Court   Montgomery County, Texas         at the     Courthouse
      of said County in Conroe, Texas.


      Said Plaintiff's Original Petition was ﬁled in said court on this the 23rd day ofJune, 2020 numbered 20-06-
      07348 0n the docket of said court, and styled, Michael Van Deelen VS. David Dickson, and Stuart Spence,
       and Scott Lamb, and       10   John/Jane Does

      The   nature of plaintiff’s     demand is                                            fully  shown by a true and correct copy of the                               Plaintiff's Original
      Petition     accompanying       this citation                                            and made a part hereof.

      The   ofﬁcer executing this writ shall promptly serve the same according to requirements of law, and the
      mandates   thereof, and make due return as the law directs.


       Issued and given under         my hand and seal of said Court at Conroe, Texas on this the 23rd day ofJune,
      2020.



                                                                                                                                                Melisa Miller, District Clerk
                                                                                                                                                Montgomery County, Texas
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                                                               OFFICER’S           RETURN
      Cause No. 20-06-07348                    Court No: 284th Judicial District Court
      Style: Michael Van Deelen VS. David Dickson, and Stuart Spence, and Scott Lamb, and 10 John/Jane
      Does
      To:           David Dickson
      Address:             McDermott     International
                           757   N Eldridge Pkwy
                           Houston TX 77079
                           OR WHEREVER THE ADDRESSEE MAY BE FOUND
       Came   to          24
               hand the _day     of June               20 at 1:31P o’clock, and executed in Montgomery
                                                    20_,          ,


      County,  Texas by  delivering to each of the Within named defendants in person, a true copy of this citation
      with the date 0f delivery endorsed thereon, together With the accompanying copy of the Plaintiff's
      Original Petition at the following times and places, t0 Wit:

      Name                          Date/Time                     Place, Course      and distance from Courthouse
      David Dickson               6/30/2020 3:05PM                1925 Hughes Landing Blvd Parking Lot Whole Foods The Woodlands,
      Manner       of service: Personally Delivered to Stephen A. Stallings Authorized Person and Sr. Director of Litigation and Disputes

      *And not executed as to the defendants(s)
      The diligence used in ﬁnding said defendant(s)                    being:


      And the      cause of failure to execute this process            is:



      And information received             as to the whereabouts of said defendant(s) being:


      FEES:
       Serving Petition and         Copy        $
                                                                                                              OFFICER
      TOTAL                                     $
                                                                                                             County, Texas

                                                                                  By;                              ,   Deputy

      AFFIANT
       Complete  if you are a person other than a Sheriff, Constable, or Clerk of the Court. In accordance with

      Rule 107: the ofﬁcer, or authorized person who services, 01' attempts t0 serve a citation shall sign and
      return. The return must either be veriﬁed or be signed under penalty of perjury.


      A return signed under penalty of perjury must contain the
       statement below in substantially the following form:
      My full name is Douglas Greene                                                        Declarant/Authorized Process Server
      My date of birth is 01 04 1968 Z      Z       ,
                                                        and    my address is
       4008 Louetta Rd. #622 Spring, Texas 77388                                            ID#   & Exp. Of Certiﬁcation
      IDECLARE UNDER PENALTY OF PERJURY THAT THE
      FOREGOING IS TRUE AND CORRECT                                                         SWQRN AND SUBSCRIBED 0N
      Executed in Harris                                ,   County, State of
       Texas      0n the
                       ,
                                    2nd day of          July                 ,   20 20
                                                                                            DATE
      Declarant/Authorized Process Server
       PSC#11914 Exp 3/31/2021
       ID# & Exp. Of Certiﬁcation
                                                                                            NOTARY


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                Document 5
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                                                                                                                                                      Melisa Miller, District Clerk
                                                                                             CITATION                                                Montgomery County, Texas
                                                                                                                                             Deputy Clerk, Kristan Weesner-Malo
                                                                                          Cause Number: 20-06-07348

      Clerk of the Court                                                                                 Attorney Requesting Service
      Melisa Miller                                                                                      Michael Van Deelen
      P.O. Box 2985                                                                                      16215 Friar Circle
      Conroe, Texas 77305                                                                                Spring   TX   77379

                                                                                THE STATE OF TEXAS
      NOTICE TO DEFENDANT: You have been sued. You may employ an attorney.                            your attorney                          If you or
      does not ﬁle a written answer with the clerk who issued this citation by 10:00 a.m. 0n the Monday next
      following the expiration of twenty days after you were served this citation and petition, a default judgment
      may be taken against you.

      To:         Stuart   Spence
                  301   Hedwig     St
                  Houston TX 77024
                  OR WHEREVER THE ADDRESSEE MAY BE FOUND
      You   are hereby  commanded to appear by ﬁling a written answer to the Plaintiff‘s Original Petition at or
      before   10:00 A.M. of the Monday next after the expiration of twenty days after the date of service of this
      citation before the Honorable 284th Judicial District Court                                               Montgomery County, Texas           at the        Courthouse
      of said County in Conroe, Texas.


      Said Plaintiff’s Original Petition was ﬁled in said court 0n this the 23rd day ofJune, 2020 numbered 20-06-
      07348 on the docket of said court, and styled, Michael Van Deelen VS. David Dickson, and Stuart Spence,
       and Scott Lamb, and                  10          John/Jane Does

      The   nature of plaintist                         demand is                 fully   shown by   a true   and correct copy of the   Plaintiff's Original
      Petition     accompanying                     this citation                     and made a part   hereof.


      The   ofﬁcer executing this writ shall promptly serve the same according to requirements of law, and the
      mandates   thereof, and make due return as the law directs.


       Issued and given under                           my hand and seal of said Court at Conroe, Texas on this the 23rd day ofjune,
      2020.



                                                                                                                Melisa Miller, District Clerk
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                                                           OFFICER’S           RETURN
      Cause No. 20-06-07348                     Court No: 284th Judicial District Court
      Style: Michael Van  Deelen VS. David Dickson, and Stuart Spence, and Scott Lamb, and 10 John/Jane
      Does
      To:           Stuart Spence
      Address:           301   Hedwig   St
                         Houston TX 77024
                   OR WHEREVER THE ADDRESSEE MAY BE FOUND
                         24
       Came to hand the _day of June     20 at 1:31 P o’clock, and executed in Harris
                                       20_,                     ,


      County, Texas by delivering to each of the within named defendants in person, a true copy of this citation
      With the date of delivery endorsed thereon, together with the accompanying copy of the Plaintiff‘s
      Original Petition at the following times and places, to wit:

      Name                        Date/Time                     Place, Course    and distance from Courthouse
      Stuart Spence             6/30/2020 10:25AM               301 Hedwig St. Houston, Texas 77024
      Manner      of service:    Personal Delivery
      *And not executed as t0 the defendants(s)
      The diligence used in ﬁnding said defendant(s)                 being:


      And the     cause of failure to execute this process          is:



      And information received          as to the whereabouts of said defendant(s) being:


      FEES:
       Serving Petition and      Copy        $
                                                                                                         OFFICER
      T O TAL                                $
                                                                                                        County, Texas

                                                                               By;                           ,   Deputy

      AFFIANT
       Complete  if you are a person other than a Sheriff, Constable, or Clerk 0f the Court. In accordance with

      Rule 107: the ofﬁcer, 0r authorized person who services, or attempts to serve a citation shall sign and
      return. The return must either be veriﬁed 0r be signed under penalty of perjury.


      A return signed under penalty of perjury must contain the
       statement below in substantially the following form:
      My full name is Douglas Greene                                                    Declarant/Authorized Process Server
      My date of birth is 01 04 1968
                                   z     Z       ,
                                                     and   my   address   is
       4008 Louetta Rd. #622 Spring, Texas 77388                                        ID#   & Exp. Of Certiﬁcation
      I DECLARE UNDER PENALTY OF PERJURY THAT THE

      FOREGOING IS TRUE AND CORRECT                                                     SWQRN AND SUBSCRIBED 0N
      Executed in Harris              County, State 0f
                                                     ,


      Texas       0n the 2nd day 0f July
                     ,
                                                       20 20              ,



                                                                                        DATE
      Declarant/Authorized Process Server
       PSC#11914 Exp 3/31/2021
       ID# & Exp. Of Certiﬁcation
                                                                                        NOTARY



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FORM 104 (10/06)


                                                                                                               ADVERSARY PROCEEDING NUMBER
             ADVERSARY PROCEEDING COVER SHEET                                                                  (Court Use Only)
                     (Instructions on Reverse)

 PLAINTIFFS                                                                             DEFENDANTS
Michael Van Deelen                                                                     David Dickson, Stuart Spence, Scott Lamb

 ATTORNEYS (Firm Name, Address, and Telephone No.)                                      ATTORNEYS (If Known)
Michael Van Deelen, pro se                                                             Matthew D. Cavenaugh, Jackson Walker LLP, 1401
16215 Friar Circle, Spring, TX 77379 (832) 562-0723                                    McKinney Street, Suite 1900, Houston, TX 77010
 PARTY (Check One Box Only)                                                             PARTY (Check One Box Only)
 Ƒ Debtor     Ƒ U.S. Trustee/Bankruptcy Admin                                           Ƒ Debtor     Ƒ U.S. Trustee/Bankruptcy Admin
 Ƒ Creditor  ✔Ƒ Other                                                                   Ƒ Creditor  ✔Ƒ Other
 Ƒ Trustee                                                                              Ƒ Trustee
 CAUSE OF ACTION (WRITE A BRIEF STATEMENT OF CAUSE OF ACTION, INCLUDING ALL U.S. STATUTES INVOLVED)
Notice of Removal

                                                                        NATURE OF SUIT
                  (Number up to five (5) boxes starting with lead cause of action as 1, first alternative cause as 2, second alternative cause as 3, etc.)


Ƒ                                                                                     Ƒ
    FRBP 7001(1) – Recovery of Money/Property                                              FRBP 7001(6) – Dischargeability (continued)

Ƒ                                                                                     Ƒ
    11-Recovery of money/property - §542 turnover of property                              61-Dischargeability - §523(a)(5), domestic support


Ƒ                                                                                     Ƒ
    12-Recovery of money/property - §547 preference                                        68-Dischargeability - §523(a)(6), willful and malicious injury


Ƒ                                                                                     Ƒ
    13-Recovery of money/property - §548 fraudulent transfer                               63-Dischargeability - §523(a)(8), student loan
    14-Recovery of money/property - other                                                  64-Dischargeability - §523(a)(15), divorce or separation obligation (other

                                                                                      Ƒ
                                                                                              than domestic support)

Ƒ
    FRBP 7001(2) – Validity, Priority or Extent of Lien                                    65-Dischargeability - other
    21-Validity, priority or extent of lien or other interest in property


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                                                                                      FRBP 7001(7) – Injunctive Relief

Ƒ
    FRBP 7001(3) – Approval of Sale of Property
                                                                                      Ƒ
                                                                                         71-Injunctive relief – reinstatement of stay
    31-Approval of sale of property of estate and of a co-owner - §363(h)                  72-Injunctive relief – other


Ƒ
    FRBP 7001(4) – Objection/Revocation of Discharge
                                                                                      Ƒ
                                                                                      FRBP 7001(8) Subordination of Claim or Interest
    41-Objection / revocation of discharge - §727(c),(d),(e)
                                                                                         81-Subordination of claim or interest


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    FRBP 7001(5) – Revocation of Confirmation
                                                                                      Ƒ
                                                                                      FRBP 7001(9) Declaratory Judgment
    51-Revocation of confirmation
                                                                                         91-Declaratory judgment


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    FRBP 7001(6) – Dischargeability
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                                                                                      FRBP 7001(10) Determination of Removed Action

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    66-Dischargeability - §523(a)(1),(14),(14A) priority tax claims                      01-Determination of removed claim or cause
    62-Dischargeability - §523(a)(2), false pretenses, false representation,


Ƒ                                                                                     Ƒ
        actual fraud                                                                  Other

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    67-Dischargeability - §523(a)(4), fraud as fiduciary, embezzlement, larceny           SS-SIPA Case – 15 U.S.C. §§78aaa et.seq.
                                                                                           02-Other (e.g. other actions that would have been brought in state court if
                       (continued next column)
                                                                                               unrelated to bankruptcy case)


 Ƒ Check if this case involves a substantive issue of state law                         Ƒ Check if this is asserted to be a class action under FRCP 23
 Ƒ Check if a jury trial is demanded in complaint                                       Demand $

 Other Relief Sought
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FORM 104 (10/06), Page 2

                     BANKRUPTCY CASE IN WHICH THIS ADVERSARY PROCEEDING ARISES

NAME OF DEBTOR                                                                  BANKRUPTCY CASE NO.
McDermott International, Inc., et al.                                           20-30336
DISTRICT IN WHICH CASE IS PENDING                  DIVISIONAL OFFICE                 NAME OF JUDGE
Southern                                           Houston                           Jones
                                    RELATED ADVERSARY PROCEEDING (IF ANY)

PLAINTIFF                            DEFENDANT                             ADVERSARY PROCEEDING NO.

DISTRICT IN WHICH ADVERSARY IS PENDING             DIVISIONAL OFFICE                 NAME OF JUDGE

SIGNATURE OF ATTORNEY (OR PLAINTIFF)




DATE                                 PRINT NAME OF ATTORNEY (OR PLAINTIFF)
            07/17/2020                    Matthew D. Cavenaugh




                                                     INSTRUCTIONS

         The filing of a bankruptcy case creates an "estate" under the jurisdiction of the bankruptcy court which consists
of all of the property of the debtor, wherever that property is located. Because the bankruptcy estate is so extensive and
the jurisdiction of the court so broad, there may be lawsuits over the property or property rights of the estate. There also
may be lawsuits concerning the debtor’s discharge. If such a lawsuit is filed in a bankruptcy court, it is called an
adversary proceeding.

          A party filing an adversary proceeding must also must complete and file Form 104, the Adversary Proceeding
Cover Sheet, if it is required by the court. In some courts, the cover sheet is not required when the adversary proceeding
is filed electronically through the court's Case Management/Electronic Case Files (CM/ECF) system. (CM/ECF
captures the information on Form 104 as part of the filing process.) When completed, the cover sheet summarizes basic
information on the adversary proceeding. The clerk of court needs the information to process the adversary proceeding
and prepare required statistical reports on court activity.

         The cover sheet and the information contained on it do not replace or supplement the filing and service of
pleadings or other papers as required by law, the Bankruptcy Rules, or the local rules of court. The cover sheet, which is
largely self-explanatory, must be completed by the plaintiff’s attorney (or by the plaintiff if the plaintiff is not
represented by an attorney). A separate cover sheet must be submitted to the clerk for each complaint filed.

Plaintiffs and Defendants. Give the names of the plaintiffs and the defendants exactly as they appear on the complaint.

Attorneys. Give the names and addresses of the attorneys, if known.

Party. Check the most appropriate box in the first column for the plaintiffs and in the second column for the
defendants.

Demand. Enter the dollar amount being demanded in the complaint.

Signature. This cover sheet must be signed by the attorney of record in the box on the second page of the form. If the
plaintiff is represented by a law firm, a member of the firm must sign. If the plaintiff is pro se, that is, not represented
by an attorney, the plaintiff must sign.
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                              UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION
                                                                    §
    In re:                                                          §     Chapter 11
                                                                    §
    MCDERMOTT INTERNATIONAL, INC., et al.,1                         §     Case No. 20-30336 (DRJ)
                                                                    §
                                      Reorganized Debtors.          §     (Jointly Administered)
                                                                    §
                                                                    §
    MICHAEL VAN DEELEN                                              §
                                                                    §
                     Plaintiff,                                     §     Adv. Proc. No. 20-03309
                                                                    §
    v.                                                              §
                                                                    §
    DAVID DICKSON,                                                  §
    and STUART SPENCE,                                              §
    and SCOTT LAMB,                                                 §
    and 10 JOHN/JANE DOES                                           §
                                                                    §
                     Defendants.                                    §
                                                                    §

                                  DEFENDANTS’ MOTION TO DISMISS
                                   PLAINTIFF’S ORIGINAL PETITION

             This motion seeks an order that may adversely affect you. If you oppose the
             motion, you should immediately contact the moving party to resolve the
             dispute. If you and the moving party cannot agree, you must file a response
             and send a copy to the moving party. You must file and serve your response
             within 21 days of the date this was served on you. Your response must state
             why the motion should not be granted. If you do not file a timely response, the
             relief may be granted without further notice to you. If you oppose the motion
             and have not reached an agreement, you must attend the hearing. Unless the
             parties agree otherwise, the court may consider evidence at the hearing and
             may decide the motion at the hearing.

             Represented parties should act through their attorneys.

1
  A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
claims and noticing agent at https://cases.primeclerk.com/McDermott. The location of Debtor McDermott
International, Inc.’s principal place of business and the Debtors’ service address in these chapter 11 cases is 757 North
Eldridge Parkway, Houston, Texas 77079.
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                   i.         The Exculpation broadly released claims related to the bankruptcy
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                   ii.        Unless a party specifically objected to or properly opted out of the
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                 i.         The conversion claim does not state a claim upon which relief may
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        Defendants David Dickson, Stuart Spence, and Scott Lamb (collectively, “Defendants”)

hereby file this motion to dismiss Plaintiff Michael Van Deelen’s (“Van Deelen”) Original Petition

(the “Complaint”) (the “Motion”) pursuant to Rule 12(b)(6) of the Federal Rules of Civil

Procedure (the “Federal Rules”) and Rule 7012 of the Federal Rules of Bankruptcy Procedure

(which incorporates by reference Federal Rule 12). In support of the Motion, Defendants

respectfully state:

                           I.       PRELIMINARY STATEMENT

        1.      This Court should dismiss all of Mr. Van Deelen’s claims because they are

explicitly foreclosed by the Confirmation Order and/or suffer from pleading defects that either

cannot or should not be allowed to be corrected. Van Deelen actively participated in McDermott’s

bankruptcy proceedings in which he objected to confirmation of McDermott’s chapter 11 plan of

reorganization on the unsupported theory that McDermott never should have filed for chapter 11

and that its filing and the transactions leading up to and included as part of the plan were somehow

fraudulent or otherwise wrongful. Despite having the opportunity, he presented no evidence in

support of his theory and McDermott’s plan was confirmed over his objection.

        2.      Van Deelen was made fully aware of the exculpation, release, and injunction

provisions included in the confirmed plan that released and prohibited parties from bringing a wide

range of claims. But completely ignoring this Court’s Confirmation Order, he then asserted the

claims in this lawsuit against McDermott officers based on alleged conduct related to the chapter

11 proceedings and related transactions, conduct that was explicitly exculpated and released in the

confirmation order. While understandable that Van Deelen is upset about an investment that did

not turn out well, flouting of this Court’s order is not excusable.

        3.      Many of Van Deelen’s claims make no effort to meet the pleading requirements,

simply reciting the elements of claims from a form book. While minor pleading defects can be

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addressed through amendment, here the defects must be viewed in the context in which the claims

have been brought: no effort was made whatsoever to articulate how any of these claims could go

forward notwithstanding the exculpation, release, and injunction provisions in the Confirmation

Order nor was any serious effort made to substantiate the specifics of the serious fraud allegations

made here. Every one of Van Deelen’s claims should be dismissed with prejudice.

                           II.       FACTUAL BACKGROUND

A.      McDermott’s only viable option was to file for relief under chapter 11.

        4.      McDermott was founded nearly a century ago in east Texas. Since that time, and

through strategic acquisitions and business combinations, McDermott has become a premier

upstream and downstream engineering procurement, construction, and installation company. In

this capacity, McDermott has focused on delivering fixed and floating production facilities,

pipelines, installations, and subsea systems which allow for the safe production and transportation

of hydrocarbons. McDermott currently operates in 54 countries, has over 42,000 employees and

independent contractors, and maintains a diverse fleet of specialty marine construction vessels and

fabrication facilities.

        5.      Notwithstanding this growth and success, McDermott was facing a severe liquidity

problem in September 2019. Much of McDermott’s cash was trapped within its joint venture

operations, and McDermott had inherited from a previous combination certain legacy onshore

projects that resulted in large, unanticipated losses. The confluence of these and other factors

created an acute liquidity crisis that McDermott could no longer manage. McDermott had to

restructure.

        6.      In an effort to facilitate this restructuring and avoid liquidation, McDermott

obtained, on an emergency basis, a liquidity infusion through a superpriority financing facility.

McDermott received the first tranche of this superpriority financing in October 2019, and used the

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additional runway to reassess its operations and financial condition. Specifically, over the next

several months, McDermott engaged financial and legal advisors, shared a significant amount of

information with its prepetition lenders, negotiated extensively with stakeholders, and considered

all possible alternatives. Ultimately, McDermott determined that a pre-packaged balance sheet

restructuring was the best way to maximize value for its stakeholders.

        7.     To that end, on January 22, 2020, McDermott filed a voluntary petition for relief

(Bankr. Dkt. 5) (the “Petition”) under chapter 11 of the Bankruptcy Code in the United States

Bankruptcy Court for the Southern District of Texas, Houston Division (the “Court”). McDermott

amended or supplemented the Petition and the plan of reorganization several times during the

course of the bankruptcy proceedings (Bankr. Dkt. 121, 520, 620, 622, 647, 651) (collectively, the

“Plan”). The Plan reflected substantial levels of support among McDermott’s lenders--a difficult

feat given the scale and complexity of McDermott’s operations, the number of stakeholder

constituencies and their divergent interests, and the urgent nature of McDermott’s capital needs.

B.      The Court confirmed McDermott’s value-maximizing Plan, which included release,
        exculpation, and injunction provisions.

        8.     On March 14, 2020, the Court entered its Amended Order Approving the Debtors’

Disclosure Statement and Confirming the Second Amended Joint Prepackaged Chapter 11 Plan

of Reorganization (Technical Modifications) of McDermott International, Inc. and Its Debtor

Affiliates (Bankr. Dkt. 684) (the “Confirmation Order”).

        9.     The Confirmation Order approving the Plan contains three provisions relevant to

this dispute: an exculpation provision (“Exculpation”); a release provision (“Release”); and an

injunction provision (“Injunction Provision”).




                                                 3
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                 i.         The Exculpation broadly released claims related to the bankruptcy
                            proceedings and related prepetition transactions.

         10.       The Exculpation released and exculpated the “Exculpated Part[ies]”2 from claims

related to, among other things, McDermott’s chapter 11 proceedings and administration and

implementation of the Plan:

                   52. Except as otherwise specifically provided in the Plan or this
                       Confirmation Order, no Exculpated Party shall have or incur
                       liability for, and each Exculpated Party shall be released and
                       exculpated from any Claims and Cause of Action for any claim
                       related to any act or omission in connection with, relating to, or
                       arising out of, the Chapter 11 Cases, the formulation,
                       preparation, dissemination, negotiation, filing, or termination of
                       the Restructuring Support Agreement and related prepetition
                       transactions (including the Superpriority Credit Agreement, the
                       Credit Agreement, the Senior Notes Indenture or Senior Notes,
                       the 2021 LC Agreement, and the Lloyds Letter of Credit
                       Agreement), the Disclosure Statement, the Plan, the DIP Credit
                       Facility, the Exit Facility Documents, the New Warrants
                       Agreements, the Plan Supplement, the Rights Offering, or any
                       Restructuring Transaction, contract, instrument, release or other
                       agreement or document (including any legal opinion requested
                       by any Entity regarding any transaction, contract, instrument,
                       document or other agreement contemplated by the Plan or the
                       reliance by any Released Party on the Plan or this Confirmation
                       Order in lieu of such legal opinion), including any Definitive
                       Document, created or entered into before or during the Chapter
                       11 Cases, any preference, fraudulent transfer, or other avoidance
                       claim arising pursuant to chapter 5 of the Bankruptcy Code or
                       other applicable law, the filing of the Chapter 11 Cases, the
                       pursuit of Confirmation, the pursuit of Consummation, the
                       administration and implementation of the Plan, including the

2
         The Plan defines “Exculpated Parties” to mean:

                   collectively, and in each case in its capacity as such: (a) the Debtors; (b) any
                   official committees appointed in the Chapter 11 Cases and each of their respective
                   members; (c) the Consenting Stakeholders and any affiliated Hedge Banks; (d)
                   each Agent and the Senior Notes Trustee, and (e) with respect to each of the
                   foregoing, such Entity and its current and former Affiliates, and such Entity’s and
                   its current and former Affiliates’ current and former equity holders, subsidiaries,
                   officers, directors, managers, principals, members, employees, agents, advisory
                   board members, financial advisors, partners, attorneys, accountants, investment
                   bankers, consultants, representatives, and other professionals.

See Plan, Art. I, § A.

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                     issuance or distribution of Securities pursuant to the Plan, or the
                     distribution of property under the Plan or any other related
                     agreement, or upon any other related act or omission,
                     transaction, agreement, event, or other occurrence taking place
                     on or before the Effective Date, except for claims related to any
                     act or omission that is determined in a Final Order by a court of
                     competent jurisdiction to have constituted actual fraud, willful
                     misconduct, or gross negligence, but in all respects such Entities
                     shall be entitled to reasonably rely upon the advice of counsel
                     with respect to their duties and responsibilities pursuant to the
                     Plan.

                53. The Exculpated Parties and other parties set forth above have,
                    and upon confirmation of the Plan shall be deemed to have,
                    participated in good faith and in compliance with the applicable
                    laws with regard to the solicitation of votes and distribution of
                    consideration pursuant to the Plan and, therefore, are not, and on
                    account of such distributions shall not be, liable at any time for
                    the violation of any applicable law, rule, or regulation governing
                    the solicitation of acceptances or rejections of the Plan or such
                    distributions made pursuant to the Plan.

(Bankr. Dkt. 684, Confirmation Order ¶¶ 52-53 (emphases added)).

              ii.        Unless a party specifically objected to or properly opted out of the
                         Release, the Release broadly released all claims other than fraud
                         related to the Debtors and their business.

        11.     The Release, for its part, broadly released and discharged claims other than for

fraud against the “Released Part[ies].”3 By its own terms, the Release discharged claims related to



3
    McDermott’s Plan defines “Released Parties” to mean:

                collectively, and in each case in its capacity as such: (a) each Debtor; (b) each
                Reorganized Debtor; (c) each Company Party; (d) each DIP Lender and each DIP
                Letter of Credit Issuer; (e) each Agent; (f) the Senior Notes Trustee; (g) each
                Consenting Stakeholder; (h) each Hedge Bank; (i) each Cash Management Bank;
                (j) each lender under the Superpriority Credit Agreement, Credit Agreement, the
                2021 LC Agreement, and the Lloyds Letter of Credit Agreement; (k) each holder
                of an Obligation (as defined in the Superpriority Credit Agreement) under the
                Superpriority Credit Agreement; (l) each holder of an Obligation (as defined in
                the Credit Agreement) under the Credit Agreement; (m) each Issuer (as defined
                in the Superpriority Credit Agreement) under the Superpriority Credit Agreement;
                (n) each Issuer (as defined in the Credit Agreement) under the Credit Agreement;
                (o) the Term Loan Ad Hoc Group, the Liquidity Lender Steering Committee, and
                the Senior Notes Ad Hoc Group; (p) Illuminate Buyer LLC; (q) each current and
                former Affiliate of each Entity in clause (a) through (p); and (r) each Related Party

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McDermott’s prepetition business transactions or chapter 11 proceedings unless a party

specifically objected to the Release:

                   48. Except as otherwise expressly set forth in the Plan or this
                       Confirmation Order, on and after the Effective Date, in
                       exchange for good and valuable consideration, the adequacy of
                       which is hereby confirmed, each Released Party is, and is
                       deemed hereby to be, fully, conclusively, absolutely,
                       unconditionally, irrevocably and forever, released and
                       discharged by each Releasing Party, in each case on behalf of
                       themselves and their respective successors, assigns, and
                       representatives, and any and all other Entities who may purport
                       to assert any Cause of Action, directly or derivatively, by,
                       through, for, or because of the foregoing Entities, from any and
                       all Claims and Causes of Action, whether known or unknown,
                       foreseen or unforeseen, matured or unmatured, existing or
                       hereafter arising, contingent or non-contingent, in law, equity,
                       contract, tort, or otherwise, including any derivative claims
                       asserted on behalf of the Debtors, that such Entity would have
                       been legally entitled to assert in their own right (whether
                       individually or collectively) or on behalf of the holder of any
                       Claim against, or Interest in, a Debtor or other Entity, or that any
                       holder of any Claim against, or Interest in, a Debtor or other
                       Entity could have asserted on behalf of the Debtors, based on or
                       relating to, or in any manner arising from, in whole or in part:

                    (i)         the Debtors (including the capital structure,
                                management, ownership, or operation thereof), the
                                business or contractual arrangement between the
                                Debtors and any Releasing Party, any Securities issued
                                by the Debtors and the ownership thereof, the assertion
                                or enforcement of rights and remedies against the
                                Debtors, the Debtors’ in- or out-of-court restructuring
                                efforts, any Avoidance Actions (but excluding
                                Avoidance Actions brought as counterclaims or defenses
                                to Claims asserted against the Debtors), intercompany
                                transactions between or among a Company Party and
                                another Company Party, the Superpriority Credit
                                Agreement, the Credit Agreement, the Hedge
                                Agreements (as defined in the Hedging Order), the 2021


                   of each Entity in clause (a) through (p); provided that any holder of a Claim or
                   Interest that opts out of the releases shall not be a “Released Party.”

See Plan, Art. I, § A.


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                    LC Agreement, the Lloyds Letter of Credit Agreement,
                    Senior Notes Indenture, the Senior Notes, the Chapter 11
                    Cases, the formulation, preparation, dissemination,
                    negotiation, or filing of the Restructuring Support
                    Agreement, the Disclosure Statement, the DIP Credit
                    Agreement, the Exit Facility Documents, or the Plan
                    (including, for the avoidance of doubt, the Plan
                    Supplement);

         (ii)       any Restructuring Transaction, contract, instrument,
                    release, or other agreement or document (including any
                    legal opinion requested by any Entity regarding any
                    transaction, contract, instrument, document or other
                    agreement contemplated by the Plan or the reliance by
                    any Released Party on the Plan or this Confirmation
                    Order in lieu of such legal opinion) created or entered
                    into in connection with the Restructuring Support
                    Agreement, the Rights Offering, the Disclosure
                    Statement, the DIP Credit Agreement, the New Warrants
                    Agreements, the Exit Facility Documents, the Plan, or
                    the Plan Supplement, before or during the Chapter 11
                    Cases;

         (iii)      the Chapter 11 Cases, the filing of the Chapter 11
                    Cases, the Disclosure Statement, or the Plan, the
                    solicitation of votes with respect to the Plan, the pursuit
                    of Confirmation, the pursuit of Consummation, the
                    administration and implementation of the Plan,
                    including the issuance or distribution of Securities
                    pursuant to the Plan, the Rights Offering, or the
                    distribution of property under the Plan or any other
                    related agreement; or

         (iv)       any related act or omission, transaction, agreement,
                    event, or other occurrence related or relating to any of
                    the foregoing taking place on or before the Effective
                    Date, including all Avoidance Actions or other relief
                    obtained by the Debtors in the Chapter 11 Cases.

         49. Notwithstanding anything to the contrary in the foregoing, the
             releases set forth above do not release (i) any party of any
             obligations related to customary banking products, banking
             services or other financial accommodations (except as may be
             expressly amended or modified by the Plan and the Exit Facility
             Documents, or any other financing document under and as
             defined therein), (ii) any post-Effective Date obligations of any
             party or Entity under the Plan, this Confirmation Order, any

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                 Restructuring Transaction, or any document, instrument, any
                 Definitive Document, or any agreement (including those set
                 forth in the Plan Supplement) executed to implement the Plan,
                 including the Exit Facility Documents, the New Warrants
                 Agreements, or any Claim or obligation arising under the Plan,
                 (iii) the rights of holders of Allowed Claims to receive
                 distributions under the Plan, or (iv) current and former
                 directors, officers, managers, or employees of the Debtors from
                 any Claim or Cause of Action related to an act or omission that
                 is determined in a Final Order by a court of competent
                 jurisdiction to have constituted actual fraud.

              50. Entry of this Confirmation Order shall constitute the Bankruptcy
                  Court’s approval, pursuant to Bankruptcy Rule 9019, of the
                  foregoing Third-Party Release, which includes by reference
                  each of the related provisions and definitions contained herein,
                  and, further, shall constitute the Bankruptcy Court’s finding that
                  the foregoing Third-Party Release is: (a) consensual; (b)
                  essential to the Confirmation of the Plan; (c) given in exchange
                  for a substantial contribution and for the good and valuable
                  consideration provided by the Released Parties that is important
                  to the success of the Plan; (d) a good faith settlement and
                  compromise of the Claims released by the foregoing Third-Party
                  Release; (e) in the best interests of the Debtors and their Estates;
                  (f) fair, equitable, and reasonable; (g) given and made after due
                  notice and opportunity for hearing; and (h) a bar to any of the
                  Releasing Parties asserting any claim or Cause of Action
                  released pursuant to the foregoing Third-Party Release.

              51. For the avoidance of doubt, any Person who timely Filed an
                  objection to the foregoing Third-Party Release, regardless of
                  whether such objection was later withdrawn, shall not be
                  deemed a “Released Party” or a “Releasing Party.”

(Bankr. Dkt. 684, Confirmation Order ¶¶ 48-51 (emphases added)).




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              iii.        The Injunction Provision prohibits any parties from commencing or
                          continuing any action based on Released Claims.

        12.      Last, the Injunction Provision permanently enjoined holders of “Released Claims”4

from commencing or continuing any action against the “Exculpated[] or []Released Parties” in

connection with such claims:

                 54. Except as otherwise expressly provided in the Plan or this
                     Confirmation Order or for obligations or distributions issued or
                     required to be paid pursuant to the Plan or this Confirmation
                     Order, all Entities who have held, hold, or may hold the
                     Released Claims are permanently enjoined, from and after the
                     Effective Date, from taking any of the following actions
                     against, as applicable, the Debtors, the Reorganized Debtors,
                     the Exculpated Parties, or the Released Parties: (1)
                     commencing or continuing in any manner any action or other
                     proceeding of any kind on account of or in connection with or
                     with respect to any Released Claims; (2) enforcing, attaching,
                     collecting, or recovering by any manner or means any judgment,
                     award, decree, or order against such Entities on account of or in
                     connection with or with respect to any Released Claims; (3)
                     creating, perfecting, or enforcing any lien or encumbrance of
                     any kind against such Entities or the property of such Entities on
                     account of or in connection with or with respect to any Released
                     Claims; (4) asserting any right of setoff, subrogation, or
                     recoupment of any kind against any obligation due from such
                     Entities or against the property or the Estates of such Entities on
                     account of or in connection with or with respect to any Released
                     Claims unless such holder has filed a motion requesting the right
                     to perform such setoff on or before the Effective Date, and
                     notwithstanding an indication of a Claim or Interest or otherwise
                     that such holder asserts, has, or intends to preserve any right of
                     setoff pursuant to applicable law or otherwise; and (5)
                     commencing or continuing in any manner any action or other
                     proceeding of any kind on account of or in connection with or
                     with respect to any Released Claims released or settled pursuant
                     to the Plan.

                 55. Upon entry of this Confirmation Order, all holders of Claims and
                     Interests and their respective current and former employees,
                     agents, officers, directors, principals, and direct and indirect

4
    The Plan defines “Released Claims” to mean “any Claims or Interests that have been released, discharged, or
    are subject to exculpation pursuant to this Plan.” See Plan, Art. I, § A.


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                  Affiliates shall be enjoined from taking any actions to interfere
                  with the implementation or Consummation of the Plan. Unless
                  otherwise set forth in this Confirmation Order, each holder of an
                  Allowed Claim or Allowed Interest, as applicable, by accepting,
                  or being eligible to accept, distributions under or Reinstatement
                  of such Claim or Interest, as applicable, pursuant to the Plan,
                  shall be deemed to have consented to the injunction provisions
                  set forth in Article VIII.F of the Plan.

(Bankr. Dkt. 684, Confirmation Order ¶¶ 54-55 (emphasis added).)

C.      Van Deelen objected to confirmation of McDermott’s Plan but did not object to or
        properly opt out of the Release.

        13.    Van Deelen does not even allege that he objected to or opted out of the Release.

On February 27, 2020, Van Deelen filed a motion (Dkt. 510) (the “Motion”) with this Court

alleging that McDermott had improperly sought chapter 11 relief. Specifically, Van Deelen alleged

that McDermott had proposed the Plan in bad faith because the Plan called for the cancellation of

existing shares and the re-equitization of the company “for the sole purpose of enriching

McDermott’s management and Board.” (Bankr. Dkt. 510, Motion at 6-15.) Based on these

allegations, Van Deelen requested that the Court deny McDermott’s Plan, but he did not--in the

Motion or any other filing--object to or otherwise mention the Release Provision.

        14.    The Court overruled and denied Van Deelen’s Motion on March 14, 2020. (See

Bankr. Dkt. 684, Confirmation Order ¶ 11.)

D.      Van Deelen then filed suit in state court asserting Released Claims explicitly subject
        to the Exculpation, Release, and Injunction Provision.

        15.    Three months after the Court confirmed McDermott’s Plan, on June 23, 2020, Van

Deelen filed suit against Defendants in Texas state court asserting claims for (1) conversion; (2)

common law fraud; (3) statutory fraud; (4) negligent misrepresentation; (5) breach of fiduciary

duty; and (6) conspiracy. See Complaint ¶¶ 65-112. The gravamen of Van Deelen’s Complaint is

the same as his Motion: he alleges that Defendants, as officers of McDermott, caused McDermott


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to undergo an unnecessary chapter 11 restructuring for their own benefit and to the detriment of

Van Deelen and other shareholders. Id. ¶¶ 13-60.

        16.    For the reasons set forth in more detail below, the Court should dismiss these claims

because they violate the Confirmation Order’s Exculpation, Release, and/or Injunction Provision

and because they fail to satisfy federal pleading standards.

                            III.          STANDARD OF REVIEW

        17.    To survive a motion to dismiss, a complaint “must contain sufficient factual matter,

accepted as true, to state a claim that is plausible on its face.” Ashcroft v. Iqbal, 556 U.S. 662, 678

(2009) (internal quotation marks omitted). “The plausibility standard is not akin to a probability

requirement, but it asks for more than a sheer possibility that a defendant has acted unlawfully.”

Id. (internal quotation marks omitted). Though the court must accept the plaintiff’s allegations as

true, “[t]hreadbare recitals of the elements of a cause of action, supported by mere conclusory

statements, do not suffice.” Id. at 678; Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 545 (2007)

(plaintiff required to provide more than “labels and conclusions, and a formulaic recitation of the

elements of a cause of action”). Instead, the complaint “must provide the plaintiff’s grounds for

entitlement to relief -- including factual allegations that when assumed to be true raise a right to

relief beyond the speculative level.” Trevino v. HSBC Mortgs. Servs., Inc. (In re Trevino), 535

B.R. 110, 126 (Bankr. S.D. Tex. 2015) (quoting Lormand v. U.S. Unwired, Inc., 565 F.3d 228, 232

(5th Cir. 2009) (internal quotation marks omitted)).

                                    IV.        ARGUMENT

A.      Because the Confirmation Order expressly bars Van Deelen’s claims for conversion,
        negligent misrepresentation, breach of fiduciary duty, and conspiracy, the Court
        should dismiss those claims.

        18.    In asserting claims for conversion, negligent misrepresentation, breach of fiduciary

duty, and conspiracy, Van Deelen violated the Confirmation Order’s Exculpation, Release, and

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Injunction Provision.     Van Deelen is using these claims to re-litigate his contention that

McDermott never should have filed for chapter 11 or engaged in the transactions at the heart of

the chapter 11 Plan for reorganization. But the Exculpation expressly releases any such claims

against the Defendants. Further, because Van Deelen did not object to the Release, his claims

other than fraud are likewise released by the Release. The Injunction Provision bars bringing any

such Released Claims.

              i.        The Exculpation bars all of Van Deelen’s claims other than for fraud.

       19.      The Exculpation “released and exculpated [the Exculpated Parties] from any [non-

fraud] Claims and Cause[s] of Action . . . related to any act or omission in connection with, relating

to, or arising out of, the Chapter 11 cases, . . . the filing of the Chapter 11 Cases, the pursuit of

Confirmation, [and] the administration and implementation of the Plan, including the issuance or

distribution of Securities pursuant to the plan[.]” (Bankr. Dkt. 684, Confirmation Order ¶ 52.)

       20.      All of Van Deelen’s claims other than for fraud fall squarely within the ambit of

this provision and should be dismissed. See Mesdag v. Nancy Sue Davis Trust (In re Davis

Offshore, L.P.), 644 F.3d 259, 263 (5th Cir. 2011) (holding that reorganization plan’s release and

exculpation clauses barred equity holder’s claims). As a threshold matter, Defendants are

“Exculpated Parties” for purposes of the Confirmation Order because they are current or former

officers of McDermott. (See Bankr. Dkt. 620, Plan, Art. I, § A.) Moreover, each of these claims is

based on or related to McDermott’s restructuring and administration of the Plan. This is no clearer

than in Van Deelen’s conversion claim, which repeatedly references McDermott’s decision to file

for relief under chapter 11:

                The conversion included, but was not limited to, unnecessarily
                writing down goodwill and intangible assets for no other purpose
                than destroying shareholder equity in advanced of a planned, but
                unannounced, bankruptcy filing; unnecessarily declaring Chapter 11
                bankruptcy for no other purpose than enriching defendant Dixon and
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               other company insiders; announcing that the company was going to
               cancel the stock of plaintiff and other shareholders in connection
               with the unnecessary Chapter 11 bankruptcy; and chilling plaintiff
               from exercising his rights as a shareholder to contact company
               managements and other personnel by asking the bankruptcy court to
               prevent plaintiff from doing so.

See Complaint ¶ 68.

       21.     Van Deelen’s negligent misrepresentation and breach of fiduciary duty claims

similarly relate to the chapter 11 restructuring because they turn on Defendants’ alleged failure to

disclose information regarding the restructuring. Specifically, with respect to his negligent

misrepresentation claim, Van Deelen argues that he “suffered damages in connection with his

purchase []of” McDermott stock because he would not have purchased the stock “if [he] had been

provided accurate and not misleading information by the defendants about . . . the defendants [sic]

plan to wrongly take the company into bankruptcy.” Id. ¶ 98. Van Deelen’s breach of fiduciary

duty claim likewise is rooted in his contention that the chapter 11 filing should not have taken

place in that he asserts that Defendants “owed and owe [him] a fiduciary duty . . . which includes

. . . not to fraudulently cause the company to file for bankruptcy protection . . . [and] to keep

plaintiff informed concerning any bankruptcy plans the company has[.]” Id. ¶ 64.

       22.     Finally, though Van Deelen’s conspiracy claim fails for lacking the specificity

required under the Federal Rules and not alleging any specific wrongful act the Defendants

allegedly conspired to commit, even giving this claim the benefit of the doubt, it must fail in any

event because it also necessarily relates to the chapter 11 restructuring and Defendants’ related

alleged acts or omissions. Though Van Deelen does not allege any facts specifically describing the

aim or scope of the conspiracy, and though his Complaint only includes “threadbare recitals” of

the underlying elements for conspiracy, Van Deelen does allege that:




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              Defendants “left [shareholders] in the dark about the Financing Case and very
               serious earnings, cash flow and loan covenant issues the company faced.” Id. ¶ 27;
               see also id. ¶¶ 15, 20, 23, 30-31, 48.

              Defendants failed to “report to shareholders the highly material fact that the
               Financing Plan represented a path to salvation for the company and its
               shareholders.” Id. ¶ 32; see also id. ¶ 33.

              Defendants “chose Chapter 11 and the subsequent losses, pain and suffering that
               would cause for its thousands of McDermott shareholders” because Defendants
               would “get rich.” Id. ¶ 35; see also id. ¶¶ 36, 58.

              Defendants “hid the fact that [McDermott] had made the decision to declare
               Chapter 11 bankruptcy from its shareholders.” Id. ¶ 37; see also id. ¶¶ 39-41, 43,
               45-46, 59.

              “Defendant Spence” resigned from McDermott, received “a severance payment of
               $866 thousand,” and signed a release, non-disparagement, and non-disclosure
               agreement with McDermott--facts from which “[i]t can be inferred” that
               “Defendant Spence may know something that McDermott is paying him not to
               discuss.” Id. ¶¶ 49-55.

These and other similar allegations concern Defendants’ participation in McDermott’s

restructuring efforts, and though not identified as such, are the only grounds on which Van Deelen

could have asserted his conspiracy claim.

       23.     Van Deelen’s claims for conversion, negligent misrepresentation, breach of

fiduciary duty, and conspiracy all directly “relate to” McDermott’s restructuring and the

“administration and implementation of the Plan,” and are therefore subject to the Exculpation. The

Court should dismiss these claims accordingly.

             ii.      The Release also bars all of Van Deelen’s claims other than for fraud.

       24.     The Release broadly releases and discharges the “Released Part[ies]” from claims,

other than for “actual fraud”, of anyone who did not object to the Release. (Bankr. Dkt. 684,

Confirmation Order ¶¶ 48-48, 51.)

       25.     For purposes of the Confirmation Order, Defendants are “Released Parties”

because they are current or former officers or employees of McDermott. (See Bankr. Dkt. 620,

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Plan, Art. I, § A.) Van Deelen does not allege anywhere in his Complaint that he objected to or

properly opt out of the Release. Therefore, he is a “Releasing Party.” See Cole v. Nabors

Corporate Servs., Inc. (In re CJ Holding Co.), 2019 U.S. Dist. LEXIS 21199, at *21-22 (S.D. Tex.

Feb. 8, 2019) (“Allowing the bankruptcy court to approve the Plan releases, including construing

Cole’s silence as consent, serves the bankruptcy law’s purpose of quick and efficient resolution of

claims to permit a debtor’s business to continue.”); In re Camp Arrowhead, Ltd., 451 B.R. 678,

701-02 (Bankr. W.D. Tex. 2011) (noting that “the Fifth Circuit does allow permanent injunctions

so long as there is consent,” and “[w]ithout an objection, [the bankruptcy court] was entitled to

rely on [the creditor’s] silence to infer consent”).

        26.     The Release, like the Exculpation, releases claims “based on or relat[ed] to . . . the

Chapter 11 Cases, the filing of the Chapter 11 Cases, . . . the Plan, . . . the pursuit of Confirmation,

. . . [and] the administration and implementation of the Plan, including the issuance or distribution

of Securities pursuant to the Plan.” (Bankr. Dkt. 684, Confirmation Order ¶¶ 48-49, 51.) But the

Release is not limited only to claims related to the chapter 11 filing and related transactions,

however. Rather, the Release more broadly covers claims “based on or relating to, or in any

manner arising from, in whole or in part:          (i) the Debtors (including the capital structure,

management, ownership, or operation thereof), the business or contractual arrangement between

the Debtors and any Releasing Party, any Securities issued by the Debtors and the ownership

thereof . . .” (Bankr. Dkt. 684, Confirmation Order ¶ 48(i).)

        27.     Van Deelen’s claims other than fraud on their face are “based on or relat[ed] to”

McDermott’s chapter 11 restructuring and administration of the Plan. But even if any aspect of

Van Deelen’s claims were not based on or related to McDermott’s chapter 11 restructuring and

administration of the Plan, there can be no doubt that each of these claims is based on or related to



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“the Debtors” more generally, the Debtors’ “business or contractual arrangement” with Van

Deelen or other Releasing Parties, or “Securities issued by the Debtors and the ownership thereof”.

Therefore, all of Van Deelen’s claims other than for actual fraud are “Released Claims” under the

Confirmation Order for which Van Deelen cannot recover.

               iii.          Van Deelen violated the Injunction Provision in bringing his claims.

        28.        The Injunction Provision--no less than the Exculpation and Release--provides a

basis to dismiss the claims other than fraud. For its part, the Injunction Provision provides that the

holders of any “Released Claims are permanently enjoined . . . from commencing or continuing in

any manner any action or other proceeding of any kind [against the Exculpated or Released Parties]

on account of or in connection with . . .[such] Released Claims.” (Bankr. Dkt. 684, Confirmation

Order ¶ 54.)

        29.           Van Deelen did not object to the Release or otherwise preserve his right to litigate

matters falling within the scope of the Release following the Plan’s effective date. Because Van

Deelen’s claims for conversion, negligent misrepresentation, breach of fiduciary duty, and

conspiracy fall within the scope of the Release, these claims are “Released Claims” that the

Injunction Provision bars Van Deelen from bringing.

B.      The Court also should dismiss Van Deelen’s claims because they fail to satisfy the
        basic pleading requirements of the Federal Rules.

                 i.          The conversion claim does not state a claim upon which relief may be
                             granted because it is based on share value Van Deelen lost pursuant to
                             a lawful chapter 11 plan.

        30.        Under Texas law, conversion has four elements: (1) the plaintiff owned or legally

possessed the property or was entitled to its possession; (2) the defendant unlawfully and without

authorization assumed and exercised dominion and control over the property to the exclusion of,

or inconsistent with, the plaintiff’s ownership rights; (3) the plaintiff demanded the property’s


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return; and (4) the defendant refused to return it. Devon Energy Corp. v. Westacott, No. H-09-

1689, 2011 WL 1157334, *8 (S.D. Tex. March 24, 2011).

       31.     First, Van Deelen asserts that Defendants converted company good will and

intangible assets and his right to “contact company managements and other personnel[.]” See

Complaint ¶ 68. But as a matter of law, these assets and rights cannot give rise to a conversion

claim. See, e.g., Quantlab Techs. Ltd (BVI) v. Godlevsky, 719 F. Supp. 2d 766, 778 (S.D. Tex.

2010) (“[C]ourts have held that conversion law does not apply to forms of intangible property

which do not generally merge with a document.”)

       32.     Second, Van Deelen asserts that Defendants converted his McDermott shares. But

he has failed to plead any facts relating to the second, third, or fourth elements that would satisfy

the federal plausibility standard.

       33.     With respect to the second element, Van Deelen does not identify or describe any

action the Defendants took that was “to the exclusion of” or “inconsistent with” his rights as a

shareholder. Instead, Van Deelen repeatedly argues that Defendants somehow violated these rights

by participating in McDermott’s restructuring efforts under chapter 11--a process in which Van

Deelen also had the right to participate, and did participate, as a shareholder. Defendants did not

“exclude” Van Deelen from the bankruptcy proceedings or try to prevent him from objecting to

such proceedings. Indeed, as previously discussed, Van Deelen filed a Motion with the Court

alleging (as he does here) that McDermott wrongfully filed for relief under chapter 11 and

requesting that the Court deny the Plan. This was entirely consistent with Van Deelen’s rights as

a shareholder. The mere fact that the Court overruled Van Deelen’s Motion, or that the chapter 11

proceedings adversely affected Van Deelen’s equity interests in McDermott, does not give rise to

a conversion claim against Defendants.



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       34.     Moreover, there was nothing unlawful about the fact that his equity interest was

extinguished as part of the confirmed Plan. By taking an equity interest in McDermott, Van Deelen

assumed both the risks and rewards associated with McDermott’s business. See, e.g., American

Broad. Sys. v. Nugent (In re Betacom of Phoenix, Inc.), 240 F.3d 823, 829 (9th Cir. 2001)

(“Shareholders expect to take more risk than creditors in return for the right to participate in firm

profits. The creditor only expects repayment of a fixed debt.”); KIT Digital, Inc. v. Invigor Group

Ltd. (In re KIT Digital, Inc.), 497 B.R. 170, 180 (Bankr. S.D.N.Y. 2013) (“Creditors and

shareholders both take risks if a company heads south, but only shareholders get the benefit of the

upside when a company succeeds.”). One such risk was that, as part of any necessary restructuring

or liquidation, his equity interests might be wiped out. See, e.g., In re Sabine Oil & Gas Corp.,

555 B.R. 180, 316-17 (Bankr. S.D.N.Y. 2016) (“Class 11 (Sabine Equity Interests)[] . . . [will]

receiv[e] no recovery and [is], therefore, deemed to reject the Plan.”); In re Simmons Bedding Co.,

No. 09-14-037 (MFW), 2010 WL 2906458, *3 (D. Del. Jan. 5, 2010) (“The Debtors also were not

required to solicit votes from the holders of Equity Interests . . . as these Classes receive no

recovery under the Plan[.]”); In re CSMG Techs., Inc., No. 14-31320-hdh, 2014 WL 1682861, *3

(Bankr. N.D. Tex. Apr. 29, 2014) (“[T]he Holders of the Equity Interests in Class 7 receive no

recovery under the Plan[.]”). If Van Deelen’s conversion claim could survive, nearly every

proceeding under chapter 11 would give rise to conversion claims against the debtor or its officers.

       35.     Finally, and even if his claim somehow could satisfy the second element, Van

Deelen does not plead any facts to support the third or fourth elements. Though courts have

acknowledged that “formal demand and refusal are not necessary when the circumstances . . .

authorize a finding . . . of a clear repudiation of the owner’s rights,” there was--for the reasons set

forth above--no such “clear repudiation” here. Permian Petroleum Co. v. Petroleos Mexicanos,



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934 F.2d 635, 651 (5th Cir. 1991) (emphasis added). Van Deelen was therefore obligated to plead

facts showing demand and refusal, which he failed to do. Accordingly, Van Deelen has failed to

satisfy the Federal Rule’s basic pleading requirements as to his conversion claim, and the Court

should dismiss this claim.

             ii.      Neither of the fraud claims meets the heightened pleading
                      requirements of Federal Rule 9(b) because they do not state with
                      particularity the circumstances giving rise to fraud.

       36.     Federal Rule 9(b) requires that the Complaint state “the who, what, when, and

where” of the alleged fraud. Williams v. WMX Techs., 112 F.3d 175, 178 (5th Cir. 1997). In other

words, “to plead fraud with particularity a plaintiff must include the ‘time, place and contents of

the false representations, as well as the identity of the person making the misrepresentations and

what [the defendant] obtained thereby.’” United States ex rel. Barrett v. Johnson Controls, Inc.,

No. 3:01-CV-1641-M, 2003 U.S. Dist. LEXIS 5973, at *32 (N.D. Tex. Apr. 9, 2003) (citing United

States ex rel. Russell v. Epic Healthcare Mgmt. Group, 193 F.3d 304, 308 (5th Cir.

1999)). Further, courts are required to “apply the rule with force, without apology.” Williams,

112 F.3d at 178.

       37.     Here, Van Deelen does not plead that Defendants personally made false statements

or show why such statements were false. Nor does he plead that Defendants “obtained” anything

from their own false statements. Instead, Van Deelen repeatedly excerpts various third-party

statements from letters, press releases, or reports, and then alleges, in conclusory fashion, that

Defendants “reviewed and approved” such statements or that third parties made the statements

“with the prior knowledge and at the direction of” Defendants. See Complaint ¶¶ 14 (reviewed and

approved), 17 (reviewed and approved), 21 (reviewed and approved), 26 (prior knowledge and

direction), 27 (prior knowledge and direction), 28 (prior knowledge and direction), 31 (reviewed

and approved), 32 (prior knowledge and direction), 34 (prior knowledge and direction), 35 (prior
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knowledge and direction), 37 (prior knowledge and direction), 38 (prior knowledge and direction),

40 (prior knowledge and direction), 41 (prior knowledge and direction), 45 (prior knowledge and

direction), 48 (prior knowledge and direction), 59 (prior knowledge and direction), 75 (prior

knowledge and approval), 76 (prior knowledge and approval), and 78 (prior knowledge and

approval).

       38.     This does not satisfy Van Deelen’s heightened pleading standard under Federal

Rule 9(b). It is not enough for Van Deelen to excerpt third-party press releases, allege that

Defendants “reviewed” or had “knowledge of” such statements, and then sue Defendants for fraud.

See Williams, 112 F.3d at 179 (“These vague pleadings illustrate the practical basis for the

requirement that a plaintiff point to specific statements made by the defendants. Many of the

newspaper excerpts attached to [plaintiffs’] complaint . . . [do not] specify[] who gave information

to the paper. These excerpts, standing alone, cannot satisfy the “who, what, when, where, and how”

required by Rule 9(b).”).

       39.     Van Deelen must, at the very least, show either that Defendants adopted the

statements or that Defendants represented the statements “were true or at least in accordance with

[their] view[s],” or that Defendants “used the [third party] as a conduit, making false and

misleading statements to the [third party] with the intent that the [third party] communicate those

statements to the market.” Southland Sec. Corp. v. INSpire Ins. Solutions, Inc., 365 F.3d 353, 373-

74 (5th Cir. 2004) (also holding that the pleading should “point to specific interactions between

the [defendant] and the [third party] which allegedly gave rise to the entanglement [between the

defendant’s and third party’s statements],” and state the dates on which these interactions

occurred).




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       40.      Because Van Deelen has failed to allege any such facts, neither of his fraud claims

satisfies the heightened pleading requirements of Federal Rule 9(b).

             iii.      The claims for negligent misrepresentation, breach of fiduciary duty,
                       and conspiracy fail to state claims upon which relief can be granted
                       because they do nothing more than generically recite their underlying
                       elements without identifying any specific ways the elements are
                       satisfied.

       41.      Van Deelen’s remaining claims fail to satisfy federal pleading standards for at least

two reasons.

       42.      First, with respect to Van Deelen’s breach of fiduciary duty and conspiracy claims,

Van Deelen merely recites the elements of these claims, making conclusory allegations in support

thereof. Indeed, his conspiracy claim reads like it was pulled from a form:




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See Complaint ¶¶ 106-112; see also, e.g., id. ¶¶ 100-105. Moreover, Van Deelen does not plead

facts showing the purpose of Defendants’ alleged conspiracy, the acts Defendants took in

furtherance of such conspiracy, or the injuries he suffered in connection with any alleged

conspiracy. This is not enough to survive dismissal under Federal Rule 12(b)(6). See Twombly,

550 U.S. at 545 (plaintiff required to provide more than “labels and conclusions, and a formulaic

recitation of the elements of a cause of action”).

        43.     Second, with respect to Van Deelen’s negligent misrepresentation claim,5 this

claim is subject to the more stringent pleading standards of Federal Rule 9(b) because the “fraud

averment[s] are so intertwined with the negligent misrepresentation claim that it is not possible to

describe a simple redaction that removes the inadequate fraud averment while leaving behind a

viable negligent misrepresentation claim.” Kougl v. Xspedius Mgmt. Co. of Dallas/Fort Worth,

L.L.C., No. Civ.A.3:04CV2518-D, 2005 WL 1421446, *21-22 (N.D. Tex. June 1, 2005) (“If

plaintiffs fail to distinguish their negligent misrepresentation claims from those based on fraud,

the court will not separate the two when applying its Rule 9(b) analysis.”); see also Williams, 112

F.3d at 177 (“[Defendant] contends that 9(b) also applies to the state law claims of common law

fraud and negligent misrepresentation. Because [plaintiffs] do not attempt to distinguish these

claims in their brief, and because the state law claims rely upon the same misrepresentations as the

federal claims, we do not distinguish between them here.”).

        44.     Here, as in Kougl and Williams, the negligent misrepresentation claim is based on

the very same factual allegations as are the fraud claims. Accordingly, and because these factual




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    This argument applies equally to Van Deelen’s conspiracy claim to the extent Van Deelen alleges a conspiracy
    to commit fraud.


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allegations do not satisfy the requirements of Federal Rule 9(b), this Court should dismiss Van

Deelen’s negligent misrepresentation claim.

                                  V.          CONCLUSION

       Van Deelen’s claims other than fraud are all explicitly foreclosed by the Confirmation

Order and fail to meet the basic requirements for notice pleading under the Federal Rules and his

fraud claims do not come anywhere close to meeting the heightened pleading standard mandated

by Rule 9(b). This Court should not allow Van Deelen to ignore this Court’s Confirmation Order

or allow his threadbare accusations of fraud to stand. This Court should dismiss all of his claims.



Respectfully submitted,


 July 25, 2020
 Houston, TX


 /s/ Matthew D. Cavenaugh
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on July 25, 2020, I caused a true and correct copy of the foregoing
Motion to Dismiss to be served via the Court’s ECF notification system to the parties listed below
at the email addresses listed.

Michael Van Deelen, 16215 Friar Circle, Spring, TX 77379, michaelvandeelen@gmail.com


                                                      /s/ Matthew D. Cavenaugh
                                                      Matthew D. Cavenaugh




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                              UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION
                                                                    §
    In re:                                                          §     Chapter 11
                                                                    §
    MCDERMOTT INTERNATIONAL, INC., et al.,6                         §     Case No. 20-30336 (DRJ)
                                                                    §
                                      Reorganized Debtors.          §     (Jointly Administered)
                                                                    §
                                                                    §
    MICHAEL VAN DEELEN                                              §
                                                                    §
                     Plaintiff,                                     §     Adv. Proc. No. 20-03309
                                                                    §
    v.                                                              §
                                                                    §
    DAVID DICKSON,                                                  §
    and STUART SPENCE,                                              §
    and SCOTT LAMB,                                                 §
    and 10 JOHN/JANE DOES                                           §
                                                                    §
                     Defendants.                                    §
                                                                    §

                   ORDER GRANTING DEFENDANTS’ MOTION TO DISMISS

             The Court, having considered the Motion to Dismiss Plaintiff’s Original Petition (the

“Motion”) in the above-captioned adversary proceeding (the “Adversary Proceeding”), as well as

the evidence presented, the arguments of counsel, if any, is of the opinion that the Motion should

be GRANTED. The Court:




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  A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
claims and noticing agent at https://cases.primeclerk.com/McDermott. The location of Debtor McDermott
International, Inc.’s principal place of business and the Debtors’ service address in these chapter 11 cases is 757 North
Eldridge Parkway, Houston, Texas 77079.


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        FINDS that all of the claims alleged in the Plaintiff’s Original Petition, other than claims

for fraud, are barred by the Exculpation, Release and Injunction Provisions of the McDermott’s

confirmed plan of reorganization;

        ORDERS that all of the claims alleged in the Plaintiff’s Original Petition are dismissed

with prejudice;

        ORDERS that the Parties shall each bear their respective attorneys’ fees and costs of court;

and

        ORDERS that the Clerk of Court to take all necessary steps to close this Adversary

Proceeding.


Signed:
                                                     ____________________________________
                                                     DAVID R. JONES
                                                     UNITED STATES BANKRUPTCY COURT




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                              UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION
    In re:                                                          §     Chapter 11
                                                                    §
    MCDERMOTT INTERNATIONAL, INC., et al.,1                         §     Case No. 20-30336 (DRJ)
                                                                    §
                    Reorganized Debtors.                            §     (Jointly Administered)
                                                                    §
                                                                    §
    MICHAEL VAN DEELEN                                              §
                                                                    §
                    Plaintiff,                                      §     Adv. Proc. No. 20-03309
                                                                    §
    v.                                                              §
                                                                    §
    DAVID DICKSON,                                                  §
    and STUART SPENCE,                                              §
    and SCOTT LAMB,                                                 §
    and 10 JOHN/JANE DOES                                           §
                                                                    §
                    Defendants.                                     §
                                                                    §

                DEFENDANTS’ RESPONSE IN OPPOSITION TO PLAINTIFF’S
                MOTION TO REMAND HIS STATE LAW CAUSE OF ACTION
                             AND MOTION TO RECUSE




1
          A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the
Debtors’ claims and noticing agent at https://cases.primeclerk.com/McDermott. The location of Debtor McDermott
International, Inc.’s principal place of business and the Debtors’ service address in these chapter 11 cases is 757 North
Eldridge Parkway, Houston, Texas 77079.



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         C.        Over Van Deelen’s objection, the Court confirmed McDermott’s value-
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         D.        Van Deelen then filed suit in state court asserting Released Claims based
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         B.        The Court also has subject matter jurisdiction because the Craig’s Stores
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         Defendants David Dickson, Stuart Spence, and Scott Lamb (collectively, “Defendants”)

hereby file this Response to Plaintiff’s Motion to Remand His State Law Cause of Action (“Motion

to Remand”) and Motion to Recuse Bankruptcy Judge David Jones (“Motion to Recuse”).

                             I.       PRELIMINARY STATEMENT

         1.     Mr. Van Deelen has put forth no legitimate basis for this Court to remand his case

or recuse itself from considering his claims. First, each of Van Deelen’s claims is based on actions

taken in conjunction with McDermott’s bankruptcy proceeding and related transactions, claims

that directly implicate and are largely foreclosed by this Court’s Confirmation Order. Van Deelen

actively participated in McDermott’s bankruptcy proceedings in which he objected to confirmation

of McDermott’s chapter 11 plan of reorganization on the unsupported theory that McDermott

never should have filed for chapter 11 and that its filing and the transactions leading up to and

included as part of the confirmed plan were somehow fraudulent or otherwise wrongful. Van

Deelen was made fully aware of the provisions included in the confirmed plan that released a wide

range of claims. But completely ignoring this Court’s Confirmation Order, he asserted claims in

this lawsuit against McDermott officers and employees based on alleged conduct related to the

chapter 11 proceedings and related transactions, conduct that was explicitly exculpated and

released in the confirmation order. There is no question that this Court has jurisdiction over such

claims that so directly flout the Court’s order.

         2.     Second, Van Deelen asks this Court to recuse itself from considering his claims

because during the chapter 11 proceedings, the Court curtailed Van Deelen’s vulgar and

disrespectful actions, which included making a false statement under oath to the Court. A litigant

cannot use his own improper behavior as a basis to obtain a new forum. Here, the Court’s

appropriate response to Van Deelen’s conduct, both in Court on the record and through public

pleadings, is no basis for recusal.

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                                   II.    FACTUAL BACKGROUND

A.       McDermott’s only viable option was to file for relief under chapter 11.

         3.       McDermott was founded nearly a century ago in east Texas. Since that time, and

through strategic acquisitions and business combinations, McDermott has become a premier

upstream and downstream engineering procurement, construction, and installation company. In

this capacity, McDermott has focused on delivering fixed and floating production facilities,

pipelines, installations, and subsea systems which allow for the safe production and transportation

of hydrocarbons. McDermott currently operates in 54 countries, has over 42,000 employees and

independent contractors, and maintains a diverse fleet of specialty marine construction vessels and

fabrication facilities.

         4.       Notwithstanding this growth and success, McDermott was facing a severe liquidity

problem in September 2019. Much of McDermott’s cash was trapped within its joint venture

operations, and McDermott had inherited from a previous combination certain legacy onshore

projects that resulted in large, unanticipated losses. The confluence of these and other factors

created an acute liquidity crisis that McDermott could no longer manage. McDermott would have

to restructure.

         5.       In an effort to facilitate this restructuring and avoid liquidation, McDermott

obtained on an emergency basis a liquidity infusion through a superpriority financing facility.

McDermott received the first tranche of this superpriority financing in October 2019, and used the

additional runway to reassess its operations and financial condition. Specifically, over the next

several months, McDermott engaged financial and legal advisors, shared a significant amount of

information with its prepetition lenders, negotiated extensively with stakeholders, and considered

all possible alternatives. Ultimately, McDermott determined that a pre-packaged balance sheet

restructuring was the best way to maximize value for its stakeholders.

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         6.     To that end, on January 21, 2020, McDermott filed a voluntary petition for relief

(Bankr. Dkt. 1) (the “Petition”) under chapter 11 of the Bankruptcy Code in the United States

Bankruptcy Court for the Southern District of Texas, Houston Division (the “Court”). On January

22, 2020, McDermott filed a chapter 11 plan of reorganization, which it subsequently amended or

supplemented several times during the course of the bankruptcy proceedings (Bankr. Dkt. 121,

520, 620, 622, 647, 651) (collectively, the “Plan”). The Plan reflected substantial levels of support

among McDermott’s lenders--a difficult feat given the scale and complexity of McDermott’s

operations, the number of stakeholder constituencies and their divergent interests, and the urgent

nature of McDermott’s capital needs.

B.       Van Deelen objected to McDermott’s Plan, advancing many of the same allegations
         as his current claims.

         7.     On February 27, 2020, Van Deelen filed a motion (Dkt. 510) (the “Motion”) with

this Court alleging that McDermott had improperly sought chapter 11 relief. Specifically, Van

Deelen alleged that McDermott had proposed the Plan in bad faith because the Plan called for the

cancellation of existing shares and the re-equitization of the company “for the sole purpose of

enriching McDermott’s management and Board.” (Bankr. Dkt. 510, Motion at 6-15.) Based on

these allegations, Van Deelen requested that the Court deny McDermott’s Plan.

         8.     The Court overruled and denied Van Deelen’s Motion on March 12, 2020. (See

Bankr. Dkt. 665, Confirmation Order ¶ 11, later amended at Bankr. Dkt. 684.)

C.       Over Van Deelen’s objection, the Court confirmed McDermott’s value-maximizing
         Plan, which included release, exculpation, and injunction provisions.

         9.     On March 14, 2020, the Court entered its Amended Order Approving the Debtors’

Disclosure Statement and Confirming the Second Amended Joint Prepackaged Chapter 11 Plan

of Reorganization (Technical Modifications) of McDermott International, Inc. and Its Debtor

Affiliates (Bankr. Dkt. 684) (the “Confirmation Order”).

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         10.       The Confirmation Order approving the Plan contains three provisions relevant to

this dispute: an exculpation provision (“Exculpation”); a release provision (“Release”); and an

injunction provision (“Injunction Provision”).

                 i.            The Exculpation broadly released claims related to the bankruptcy
                               proceedings and related prepetition transactions.

         11.       The Exculpation released and exculpated the “Exculpated Part[ies]”2 from claims

related to, among other things, McDermott’s chapter 11 proceedings and administration and

implementation of the Plan:

                   52. Except as otherwise specifically provided in the Plan or this
                       Confirmation Order, no Exculpated Party shall have or incur
                       liability for, and each Exculpated Party shall be released and
                       exculpated from any Claims and Cause of Action for any claim
                       related to any act or omission in connection with, relating to, or
                       arising out of, the Chapter 11 Cases, the formulation,
                       preparation, dissemination, negotiation, filing, or termination of
                       the Restructuring Support Agreement and related prepetition
                       transactions (including the Superpriority Credit Agreement, the
                       Credit Agreement, the Senior Notes Indenture or Senior Notes,
                       the 2021 LC Agreement, and the Lloyds Letter of Credit
                       Agreement), the Disclosure Statement, the Plan, the DIP Credit
                       Facility, the Exit Facility Documents, the New Warrants
                       Agreements, the Plan Supplement, the Rights Offering, or any
                       Restructuring Transaction, contract, instrument, release or other
                       agreement or document (including any legal opinion requested
                       by any Entity regarding any transaction, contract, instrument,
                       document or other agreement contemplated by the Plan or the
                       reliance by any Released Party on the Plan or this Confirmation
                       Order in lieu of such legal opinion), including any Definitive

2
         The Plan defines “Exculpated Parties” to mean:

                      collectively, and in each case in its capacity as such: (a) the Debtors; (b) any
                      official committees appointed in the Chapter 11 Cases and each of their respective
                      members; (c) the Consenting Stakeholders and any affiliated Hedge Banks; (d)
                      each Agent and the Senior Notes Trustee, and (e) with respect to each of the
                      foregoing, such Entity and its current and former Affiliates, and such Entity’s and
                      its current and former Affiliates’ current and former equity holders, subsidiaries,
                      officers, directors, managers, principals, members, employees, agents, advisory
                      board members, financial advisors, partners, attorneys, accountants, investment
                      bankers, consultants, representatives, and other professionals.

See Plan, Art. I, § A.

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                      Document, created or entered into before or during the Chapter
                      11 Cases, any preference, fraudulent transfer, or other avoidance
                      claim arising pursuant to chapter 5 of the Bankruptcy Code or
                      other applicable law, the filing of the Chapter 11 Cases, the
                      pursuit of Confirmation, the pursuit of Consummation, the
                      administration and implementation of the Plan, including the
                      issuance or distribution of Securities pursuant to the Plan, or the
                      distribution of property under the Plan or any other related
                      agreement, or upon any other related act or omission,
                      transaction, agreement, event, or other occurrence taking place
                      on or before the Effective Date, except for claims related to any
                      act or omission that is determined in a Final Order by a court of
                      competent jurisdiction to have constituted actual fraud, willful
                      misconduct, or gross negligence, but in all respects such Entities
                      shall be entitled to reasonably rely upon the advice of counsel
                      with respect to their duties and responsibilities pursuant to the
                      Plan.

                  53. The Exculpated Parties and other parties set forth above have,
                      and upon confirmation of the Plan shall be deemed to have,
                      participated in good faith and in compliance with the applicable
                      laws with regard to the solicitation of votes and distribution of
                      consideration pursuant to the Plan and, therefore, are not, and on
                      account of such distributions shall not be, liable at any time for
                      the violation of any applicable law, rule, or regulation governing
                      the solicitation of acceptances or rejections of the Plan or such
                      distributions made pursuant to the Plan.

(Bankr. Dkt. 684, Confirmation Order ¶¶ 52-53 (emphases added)).

                ii.       Unless a party specifically objected to the Release or properly opted
                          out, the Release broadly released all claims other than fraud related to
                          the Debtors and their business.

         12.      The Release, for its part, broadly released and discharged claims other than for

fraud against the “Released Part[ies].”3 By its own terms, the Release discharged claims related to


3
    McDermott’s Plan defines “Released Parties” to mean:

                  collectively, and in each case in its capacity as such: (a) each Debtor; (b) each
                  Reorganized Debtor; (c) each Company Party; (d) each DIP Lender and each DIP
                  Letter of Credit Issuer; (e) each Agent; (f) the Senior Notes Trustee; (g) each
                  Consenting Stakeholder; (h) each Hedge Bank; (i) each Cash Management Bank;
                  (j) each lender under the Superpriority Credit Agreement, Credit Agreement, the
                  2021 LC Agreement, and the Lloyds Letter of Credit Agreement; (k) each holder
                  of an Obligation (as defined in the Superpriority Credit Agreement) under the
                  Superpriority Credit Agreement; (l) each holder of an Obligation (as defined in

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McDermott’s prepetition business transactions or chapter 11 proceedings unless a party

specifically objected to or opted out of the Release:

                   48. Except as otherwise expressly set forth in the Plan or this
                       Confirmation Order, on and after the Effective Date, in
                       exchange for good and valuable consideration, the adequacy of
                       which is hereby confirmed, each Released Party is, and is
                       deemed hereby to be, fully, conclusively, absolutely,
                       unconditionally, irrevocably and forever, released and
                       discharged by each Releasing Party, in each case on behalf of
                       themselves and their respective successors, assigns, and
                       representatives, and any and all other Entities who may purport
                       to assert any Cause of Action, directly or derivatively, by,
                       through, for, or because of the foregoing Entities, from any and
                       all Claims and Causes of Action, whether known or unknown,
                       foreseen or unforeseen, matured or unmatured, existing or
                       hereafter arising, contingent or non-contingent, in law, equity,
                       contract, tort, or otherwise, including any derivative claims
                       asserted on behalf of the Debtors, that such Entity would have
                       been legally entitled to assert in their own right (whether
                       individually or collectively) or on behalf of the holder of any
                       Claim against, or Interest in, a Debtor or other Entity, or that any
                       holder of any Claim against, or Interest in, a Debtor or other
                       Entity could have asserted on behalf of the Debtors, based on or
                       relating to, or in any manner arising from, in whole or in part:

                    (i)          the Debtors (including the capital structure,
                                 management, ownership, or operation thereof), the
                                 business or contractual arrangement between the
                                 Debtors and any Releasing Party, any Securities issued
                                 by the Debtors and the ownership thereof, the assertion
                                 or enforcement of rights and remedies against the
                                 Debtors, the Debtors’ in- or out-of-court restructuring
                                 efforts, any Avoidance Actions (but excluding
                                 Avoidance Actions brought as counterclaims or defenses


                   the Credit Agreement) under the Credit Agreement; (m) each Issuer (as defined
                   in the Superpriority Credit Agreement) under the Superpriority Credit Agreement;
                   (n) each Issuer (as defined in the Credit Agreement) under the Credit Agreement;
                   (o) the Term Loan Ad Hoc Group, the Liquidity Lender Steering Committee, and
                   the Senior Notes Ad Hoc Group; (p) Illuminate Buyer LLC; (q) each current and
                   former Affiliate of each Entity in clause (a) through (p); and (r) each Related Party
                   of each Entity in clause (a) through (p); provided that any holder of a Claim or
                   Interest that opts out of the releases shall not be a “Released Party.”

See Plan, Art. I, § A.


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                          to Claims asserted against the Debtors), intercompany
                          transactions between or among a Company Party and
                          another Company Party, the Superpriority Credit
                          Agreement, the Credit Agreement, the Hedge
                          Agreements (as defined in the Hedging Order), the 2021
                          LC Agreement, the Lloyds Letter of Credit Agreement,
                          Senior Notes Indenture, the Senior Notes, the Chapter 11
                          Cases, the formulation, preparation, dissemination,
                          negotiation, or filing of the Restructuring Support
                          Agreement, the Disclosure Statement, the DIP Credit
                          Agreement, the Exit Facility Documents, or the Plan
                          (including, for the avoidance of doubt, the Plan
                          Supplement);

                (ii)      any Restructuring Transaction, contract, instrument,
                          release, or other agreement or document (including any
                          legal opinion requested by any Entity regarding any
                          transaction, contract, instrument, document or other
                          agreement contemplated by the Plan or the reliance by
                          any Released Party on the Plan or this Confirmation
                          Order in lieu of such legal opinion) created or entered
                          into in connection with the Restructuring Support
                          Agreement, the Rights Offering, the Disclosure
                          Statement, the DIP Credit Agreement, the New Warrants
                          Agreements, the Exit Facility Documents, the Plan, or
                          the Plan Supplement, before or during the Chapter 11
                          Cases;

                (iii)     the Chapter 11 Cases, the filing of the Chapter 11
                          Cases, the Disclosure Statement, or the Plan, the
                          solicitation of votes with respect to the Plan, the pursuit
                          of Confirmation, the pursuit of Consummation, the
                          administration and implementation of the Plan,
                          including the issuance or distribution of Securities
                          pursuant to the Plan, the Rights Offering, or the
                          distribution of property under the Plan or any other
                          related agreement; or

                (iv)      any related act or omission, transaction, agreement,
                          event, or other occurrence related or relating to any of
                          the foregoing taking place on or before the Effective
                          Date, including all Avoidance Actions or other relief
                          obtained by the Debtors in the Chapter 11 Cases.

                49. Notwithstanding anything to the contrary in the foregoing, the
                    releases set forth above do not release (i) any party of any
                    obligations related to customary banking products, banking

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                   services or other financial accommodations (except as may be
                   expressly amended or modified by the Plan and the Exit Facility
                   Documents, or any other financing document under and as
                   defined therein), (ii) any post-Effective Date obligations of any
                   party or Entity under the Plan, this Confirmation Order, any
                   Restructuring Transaction, or any document, instrument, any
                   Definitive Document, or any agreement (including those set
                   forth in the Plan Supplement) executed to implement the Plan,
                   including the Exit Facility Documents, the New Warrants
                   Agreements, or any Claim or obligation arising under the Plan,
                   (iii) the rights of holders of Allowed Claims to receive
                   distributions under the Plan, or (iv) current and former
                   directors, officers, managers, or employees of the Debtors from
                   any Claim or Cause of Action related to an act or omission that
                   is determined in a Final Order by a court of competent
                   jurisdiction to have constituted actual fraud.

                50. Entry of this Confirmation Order shall constitute the Bankruptcy
                    Court’s approval, pursuant to Bankruptcy Rule 9019, of the
                    foregoing Third-Party Release, which includes by reference
                    each of the related provisions and definitions contained herein,
                    and, further, shall constitute the Bankruptcy Court’s finding that
                    the foregoing Third-Party Release is: (a) consensual; (b)
                    essential to the Confirmation of the Plan; (c) given in exchange
                    for a substantial contribution and for the good and valuable
                    consideration provided by the Released Parties that is important
                    to the success of the Plan; (d) a good faith settlement and
                    compromise of the Claims released by the foregoing Third-Party
                    Release; (e) in the best interests of the Debtors and their Estates;
                    (f) fair, equitable, and reasonable; (g) given and made after due
                    notice and opportunity for hearing; and (h) a bar to any of the
                    Releasing Parties asserting any claim or Cause of Action
                    released pursuant to the foregoing Third-Party Release.

                51. For the avoidance of doubt, any Person who timely Filed an
                    objection to the foregoing Third-Party Release, regardless of
                    whether such objection was later withdrawn, shall not be
                    deemed a “Released Party” or a “Releasing Party.”

(Bankr. Dkt. 684, Confirmation Order ¶¶ 48-51 (emphases added)).




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                iii.      The Injunction Provision prohibits any parties from commencing or
                          continuing any action based on Released Claims.

         13.       Finally, the Injunction Provision permanently enjoined holders of “Released

Claims”4 from commencing or continuing any action against the “Exculpated[] or []Released

Parties” in connection with such claims:

                   54. Except as otherwise expressly provided in the Plan or this
                       Confirmation Order or for obligations or distributions issued or
                       required to be paid pursuant to the Plan or this Confirmation
                       Order, all Entities who have held, hold, or may hold the
                       Released Claims are permanently enjoined, from and after the
                       Effective Date, from taking any of the following actions
                       against, as applicable, the Debtors, the Reorganized Debtors,
                       the Exculpated Parties, or the Released Parties: (1)
                       commencing or continuing in any manner any action or other
                       proceeding of any kind on account of or in connection with or
                       with respect to any Released Claims; (2) enforcing, attaching,
                       collecting, or recovering by any manner or means any judgment,
                       award, decree, or order against such Entities on account of or in
                       connection with or with respect to any Released Claims; (3)
                       creating, perfecting, or enforcing any lien or encumbrance of
                       any kind against such Entities or the property of such Entities on
                       account of or in connection with or with respect to any Released
                       Claims; (4) asserting any right of setoff, subrogation, or
                       recoupment of any kind against any obligation due from such
                       Entities or against the property or the Estates of such Entities on
                       account of or in connection with or with respect to any Released
                       Claims unless such holder has filed a motion requesting the right
                       to perform such setoff on or before the Effective Date, and
                       notwithstanding an indication of a Claim or Interest or otherwise
                       that such holder asserts, has, or intends to preserve any right of
                       setoff pursuant to applicable law or otherwise; and (5)
                       commencing or continuing in any manner any action or other
                       proceeding of any kind on account of or in connection with or
                       with respect to any Released Claims released or settled pursuant
                       to the Plan.

                   55. Upon entry of this Confirmation Order, all holders of Claims and
                       Interests and their respective current and former employees,
                       agents, officers, directors, principals, and direct and indirect

4
    The Plan defines “Released Claims” to mean “any Claims or Interests that have been released, discharged, or
    are subject to exculpation pursuant to this Plan.” See Plan, Art. I, § A.


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                   Affiliates shall be enjoined from taking any actions to interfere
                   with the implementation or Consummation of the Plan. Unless
                   otherwise set forth in this Confirmation Order, each holder of an
                   Allowed Claim or Allowed Interest, as applicable, by accepting,
                   or being eligible to accept, distributions under or Reinstatement
                   of such Claim or Interest, as applicable, pursuant to the Plan,
                   shall be deemed to have consented to the injunction provisions
                   set forth in Article VIII.F of the Plan.

(Bankr. Dkt. 684, Confirmation Order ¶¶ 54-55 (emphasis added).)

D.       After the Confirmation Order was entered, Van Deelen filed suit in state court
         asserting Released Claims based on actions taken in association with McDermott’s
         bankruptcy proceedings and related transactions.

         14.    Three months after the Court confirmed McDermott’s Plan, on June 23, 2020, Van

Deelen filed suit against Defendants in Texas state court asserting claims for (1) conversion; (2)

common law fraud; (3) statutory fraud; (4) negligent misrepresentation; (5) breach of fiduciary

duty; and (6) conspiracy. See Complaint ¶¶ 65-112. The gravamen of Van Deelen’s Complaint is

the same as his Motion: he alleges that Defendants, as officers of McDermott, caused McDermott

to undergo an unnecessary chapter 11 restructuring for their own benefit and to the detriment of

Van Deelen and other shareholders. Id. ¶¶ 13-60.

         15.    These claims undeniably are based on actions that McDermott officers or

employees took in association with McDermott’s bankruptcy proceedings and related transactions.

                                  III.    LEGAL STANDARD

A.       Subject matter jurisdiction.

         16.    Bankruptcy courts derive their subject matter jurisdiction from 28 U.S.C. §§ 1334

and 157. See In re U.S. Brass Corp., 301 F.3d 296, 303-05 (5th Cir. 2002). Together, and “[b]y

way of district-court referral,” these sections provide bankruptcy courts with the power to hear (1)

cases under title 11; (2) core proceedings “arising under” title 11; (3) core proceedings “arising in”




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a case under title 11; and (4) non-core proceedings “related to” a case under title 11. See 28 U.S.C.

§§ 1334(b), 157(a)-(c)(1).

         17.    The fourth category -- “related to” proceedings -- is the broadest, and encompasses

any proceeding for which “the outcome . . . could conceivably have any effect . . . on the estate

being administered in bankruptcy.” In re U.S. Brass Corp., 301 F.3d at 304 (emphasis in original).

Moreover, and because “the second, third, and fourth categories . . . operate conjunctively to define

the scope of jurisdiction,” bankruptcy courts often just need “to determine whether a matter is . . .

‘related to’ the bankruptcy.” Id.

         18.    Still, the distinction between these categories becomes more important after the

bankruptcy court has confirmed the debtor’s plan of reorganization. The Fifth Circuit has held that,

following confirmation, and as far as non-core, “related to” proceedings are concerned,

“bankruptcy jurisdiction[] ceases to exist, other than for matters pertaining to the implementation

or execution of the plan[,]” if: (1) the claims primarily arise from post-confirmation relations

between the parties; (2) no claims or antagonisms were pending between the parties on the date of

plan confirmation; and (3) no facts or law deriving from the bankruptcy are necessary to the claims.

Newby v. Enron Corp. (In re Enron Corp. Sec.), 535 F.3d 325, 335 (5th Cir. 2008) (quoting In re

Craig’s Stores of Texas, Inc., 266 F.3d 388, 390 (5th Cir. 2001)). But “the Fifth Circuit has

emphasized that . . . all three factors [need] not weigh heavily in the bankruptcy court’s favor” for

there to be jurisdiction. In re MSB Energy, Inc., 438 B.R. 571, 586 (Bankr. S.D. Tex. 2010); In re

Enron Corp. Sec., 535 F.3d at 335-36.

         19.    The Fifth Circuit has not similarly limited post-confirmation bankruptcy

jurisdiction over “core” (i.e., “arising under” or “arising in”) proceedings. See, e.g., In re Talsma,

509 B.R. 535 (Bankr. N.D. Tex. 2014) (“Craig’s Stores involved claims that invoked only “related



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to” jurisdiction. . . . [C]ourts have treated core proceedings differently post-confirmation than the

“related to” proceedings within the scope of Craig’s Stores.”); Faulkner v. Eagle View Capital

Mgt. (In re Heritage Org., L.L.C.), 454 B.R. 353, 364-65 (Bankr. N.D. Tex. 2011) (concluding

that Craig’s Stores did not apply to an “arising under” proceeding brought pursuant to 11 U.S.C.

550 post-confirmation).

         20.    In this context, “core proceedings” are those that “invoke[] a substantive right

provided by title 11” or “could arise only in the context of a bankruptcy case.” In re U.S. Brass

Corp., 301 F.3d at 304, and include proceedings which would require interpretation of bankruptcy

court orders. For example, “bankruptcy courts retain significant jurisdiction after a discharge order

is issued and a case is closed over matters concerning the interpretation and enforcement of

bankruptcy court orders . . . Such matters fall within the Court’s ‘arising in’ and arising under’

jurisdiction.” Cano v. GMAC Mortg. Corp. (In re Cano), 410 B.R. 506, 548-49 (Bankr. S.D. Tex.

2009); see also In re ABC Dentistry, P.A., No. H-16-34221-11, 2019 WL 6894775, at *6 (S.D.

Tex. Dec. 17, 2019) (because the removed action would require the bankruptcy court to interpret

rights associated with its order dividing settlement proceeds, “the Bankruptcy Court did not err in

determining that it had ‘arising in or under jurisdiction’ over the removed action”); see also

Travelers Indem. Co. v. Bailey, 129 S. Ct. 2195, 2205 (2009) (a bankruptcy court “plainly ha[s]

jurisdiction to interpret and enforce its own prior orders”).

B.       Mandatory Abstention.

         21.    The party seeking mandatory abstention must show that: (1) the claim has no

independent basis for federal jurisdiction, other than section 1334(b); (2) the claim is a non-core

proceeding, i.e., it is related or in a case under title 11; (3) an action has been commenced in state




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court; and (4) the action could be adjudicated timely in state court. In re TXNB Internal Case, 483

F.3d 292, 300 (5th Cir.), cert. denied, 552 U.S. 1022, 128 S. Ct. 613 (2007).

         22.    Specifically, the party seeking mandatory abstention must prove the existence of

each element by a preponderance of the evidence. In re Lorax Corp., 295 B.R. 83, 90 (Bankr. N.D.

Tex. 2003). A party is not entitled to mandatory abstention if it fails to prove any one of the

statutory requirements. Id.; see also In re Montalvo, 559 B.R. 825, 842 (Bankr. S.D. Tex. 2016)

(the bankruptcy court refused to abstain because the fourth factor was not demonstrated).

C.       Permissive Abstention.

         23.    28 U.S.C. § 1334(c)(1) provides that a bankruptcy court may permissively abstain

“from hearing a proceeding arising under title 11 or arising in or related to a case under title 11.”

28 U.S.C. § 1334(c)(1).

         24.    In determining whether to “permissively abstain,” a court may consider a number

of factors, including: (1) the effect or lack thereof on the efficient administration of the estate if

the court remands or abstains; (2) the extent to which state law issues predominate over bankruptcy

issues; (3) the difficult or unsettled nature of applicable law; (4) the presence of a related

proceeding commenced in state court or other nonbankruptcy proceeding; (5) the jurisdictional

basis, if any, other than section 1334; (6) the degree of relatedness or remoteness from a proceeding

to the main bankruptcy case; (7) the substance rather than the form of an asserted core proceeding;

(8) the feasibility of severing state law claims from core bankruptcy matters to allow judgments to

be entered in state court with enforcement left to bankruptcy court; (9) the burden on the

bankruptcy court’s docket; (10) the likelihood that the commencement of the proceeding in

bankruptcy court involves forum shopping by one of the parties; (11) the existence of a right to a

jury trial; (12) the presence in the proceeding of nondebtor parties; (13) comity; and (14) the

possibility of prejudice to other parties in the action. See In re SBMC Healthcare, LLC, 519 B.R.

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172, 190 (Bankr. S.D. Tex. 2014), aff’d, Civil Action No. H-16-2947, 2017 WL 2062992 (S.D.

Tex. May 11, 2017).

D.       Recusal.

         25.    28 U.S.C. § 455 provides that a party may request a judge recuse himself if “his

impartiality might reasonably be questioned,” id. § 455(a), or “he has a personal bias or prejudice

concerning a party,” id. § 455(b)(1).

         26.    In interpreting this statute, the Fifth Circuit has held that “the standard for bias is

not subjective,” and that “it is with reference to the well-informed, thoughtful and objective

observer, rather than the hypersensitive, cynical, and suspicious person that the objective standard

is currently established.” Andrade v. Chojnacki, 338 F.3d 448, 454-455 (5th Cir. 2003). The Fifth

Circuit has also held that the relevant context for purposes of 28 U.S.C. § 455 is “the entire course

of judicial proceedings, rather than isolated incidents,” id. at 455, and that the movant bears the

burden of proving bias or partiality by clear and convincing evidence. Kinnear-Weed Corp. v.

Humble Oil & Ref. Co., 441 F.2d 631, 634 (5th Cir. 1971).

         27.    Finally, the Supreme Court has applied the “extrajudicial source rule” to disputes

concerning the interpretation of § 455. This rule “divides events occurring or opinions expressed

in the course of judicial proceedings from those that take place outside of the litigation context and

holds that the former rarely require recusal,” id.:

                First, judicial rulings alone almost never constitute a valid basis
                for a bias or partiality motion. In and of themselves (i.e., apart from
                surrounding comments or accompany opinion), they cannot
                possibly show reliance on an extrajudicial source; and can only in
                the rarest circumstances evidence the degree of favoritism or
                antagonism required (as discussed below) when no extrajudicial
                source is involved. Almost invariably, they are proper grounds for
                appeal, not recusal. Second, opinions formed by the judge on the
                basis of facts introduced or events occurring in the course of the
                current proceedings, or of prior proceedings, do not constitute a
                basis for a bias or partiality motion unless they display a deep-

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                 seated favoritism or antagonism that would make fair judgment
                 impossible. Thus, judicial remarks during the course of a trial that
                 are disapproving of, or even hostile to, counsel, the parties, or their
                 cases, ordinarily do not support a bias or partiality challenge. They
                 may do so if they reveal an opinion that derives from an extrajudicial
                 source; and they will do so if they reveal such a high degree of
                 favoritism or antagonism as to make fair judgment impossible. . . .
                 Not establishing bias or partiality, however, are expressions of
                 impatience, dissatisfaction, annoyance, and even anger, that are
                 within the bounds of what imperfect men and women, even after
                 having been confirmed as federal judgments, sometimes display. A
                 judge’s ordinary efforts at courtroom administration--even a stern
                 and short-tempered judge’s ordinary efforts at courtroom
                 administration--remain immune.

Liteky v. United States, 510 U.S. 540, 555 (1994) (emphases added).

                                        IV.     ARGUMENT

A.         The Court has subject matter jurisdiction because this action is a core proceeding
           that requires the Court to interpret and enforce its Confirmation Order.

           28.   Following confirmation of the debtor’s reorganization plan, the bankruptcy court

retains jurisdiction over core proceedings. This includes proceedings that would require the court

to interpret or enforce its orders. See, e.g., In re Cano, 410 B.R. at 548-49; In re ABC Dentistry,

P.A., 2019 WL 6894775 at *6; see also Travelers Indem. Co., 129 S. Ct. at 2205.

           29.   In this case, the Court will have to interpret and enforce its Confirmation Order --

specifically, the Exculpation and Injunction Provision. See, e.g., In Matter of Galaz, 841 F.3d 316

(5th Cir. 2016) (holding that bankruptcy court had post-confirmation jurisdiction over removed

state court action seeking to recover on pre-confirmation claims in violation of debtor’s discharge

rights).

           30.   As previously discussed, the Confirmation Order contains an Exculpation that

“released and exculpated [the Exculpated Parties] from any [non-fraud] Claims and Cause[s] of

Action . . . related to any act or omission in connection with, relating to, or arising out of, the

Chapter 11 cases, . . . the filing of the Chapter 11 cases, the pursuit of Confirmation, [and] the

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administration and implementation of the Plan, including the issuance or distribution of Securities

pursuant to the plan[.]” (Bankr. Dkt. 684, Confirmation Order ¶ 52.). It also contains an Injunction

Provision that “permanently enjoin[s]” holders of “Released Claims” from “commencing or

continuing . . . any action [against the Exculpated Parties] on account of . . . [such] Released

Claims.” (Bankr. Dkt. 684, Confirmation Order ¶ 54.).

         31.    The Exculpation and Injunction Provision apply here because, as a threshold matter,

Defendants are current or former officers and/or employees of McDermott and are therefore

“Exculpated Parties” for purposes of the Confirmation Order. (Bankr. Dkt. 620, Plan, Art. I, § A).

Moreover, Van Deelen’s conversion, negligent misrepresentation, breach of fiduciary duty, and

conspiracy claims are “related to” actions Defendants allegedly took in connection with

McDermott’s restructuring and administration of the Plan. This is no clearer than in Van Deelen’s

conversion claim, which repeatedly references McDermott’s decision to file for relief under

chapter 11:

                The conversion included, but was not limited to, unnecessarily
                writing down goodwill and intangible assets for no other purpose
                than destroying shareholder equity in advanced of a planned, but
                unannounced, bankruptcy filing; unnecessarily declaring Chapter 11
                bankruptcy for no other purpose than enriching defendant Dixon and
                other company insiders; announcing that the company was going to
                cancel the stock of plaintiff and other shareholders in connection
                with the unnecessary Chapter 11 bankruptcy; and chilling plaintiff
                from exercising his rights as a shareholder to contact company
                managements and other personnel by asking the bankruptcy court to
                prevent plaintiff from doing so.

See Complaint ¶ 68

         32.    Van Deelen’s negligent misrepresentation and breach of fiduciary duty claims

similarly relate to the chapter 11 restructuring because they turn on Defendants’ alleged failure to

disclose information regarding the restructuring. Specifically, with respect to his negligent

misrepresentation claim, Van Deelen argues that he “suffered damages in connection with his

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purchase []of” McDermott stock because he would not have purchased the stock “if [he] had been

provided accurate and not misleading information by the defendants about . . . the defendants [sic]

plan to wrongly take the company into bankruptcy.” Id. ¶ 98. Van Deelen’s breach of fiduciary

duty claim likewise is rooted in his contention that the chapter 11 filing should not have taken

place in that he asserts that Defendants “owed and owe [him] a fiduciary duty . . . which includes

. . . not to fraudulently cause the company to file for bankruptcy protection . . . [and] to keep

plaintiff informed concerning any bankruptcy plans the company has[.]” Id. ¶ 64.

         33.    Finally, though Van Deelen does not allege any facts specifically describing the

aim or scope of the conspiracy, Van Deelen does allege that:

               Defendants “left [shareholders] in the dark about the Financing Case and very
                serious earnings, cash flow and loan covenant issues the company faced.” Id. ¶ 27;
                see also id. ¶¶ 15, 20, 23, 30-31, 48.

               Defendants failed to “report to shareholders the highly material fact that the
                Financing Plan represented a path to salvation for the company and its
                shareholders.” Id. ¶ 32; see also id. ¶ 33.

               Defendants “chose Chapter 11 and the subsequent losses, pain and suffering that
                would cause for its thousands of McDermott shareholders” because Defendants
                would “get rich.” Id. ¶ 35; see also id. ¶¶ 36, 58.

               Defendants “hid the fact that [McDermott] had made the decision to declare
                Chapter 11 bankruptcy from its shareholders.” Id. ¶ 37; see also id. ¶¶ 39-41, 43,
                45-46, 59.

               “Defendant Spence” resigned from McDermott, received “a severance payment of
                $866 thousand,” and signed a release, non-disparagement, and non-disclosure
                agreement with McDermott--facts from which “[i]t can be inferred” that
                “Defendant Spence may know something that McDermott is paying him not to
                discuss.” Id. ¶¶ 49-55.




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These and other similar allegations concern Defendants’ participation in McDermott’s

restructuring efforts, and though not identified as such, are the only grounds on which Van Deelen

could have asserted his conspiracy claim.

         34.    As such, Van Deelen’s claims for conversion, negligent misrepresentation, breach

of fiduciary duty, and conspiracy all directly “relate to” McDermott’s restructuring and the

“administration and implementation of the Plan,” and will require that the Court interpret and

enforce the Exculpation and Injunction Provision. This is therefore a core proceeding over which

the Court has subject matter jurisdiction. See In Matter of Galaz, 841 F.3d at 322 (“Galaz’s suit in

state court is arguably a violation of Katona’s discharge rights, directly implicating the bankruptcy

court’s ‘arising under’ jurisdiction.”); id. (“Even though Katona’s bankruptcy case was closed, the

bankruptcy court retains jurisdiction to consider violations of the discharge order; the order of

discharge necessarily implicates the implementation or execution of the plan.”); In re Talsma, 509

B.R. at 550 (“[D]etermining whether a provision of a Plan or Plan Document has been breached

necessarily requires interpreting that provision.”).

B.       The Court also has subject matter jurisdiction because the Craig’s Stores factors
         weigh in favor of such jurisdiction and because this action relates to the
         implementation or execution of the Plan.

         35.    Even if this action were a non-core, “related to” proceeding, the Court would still

have jurisdiction. In determining whether post-confirmation “related to” jurisdiction exists, courts

first examine the Craig’s Stores factors, which are whether: (1) the claims primarily arise from

pre-confirmation or post-confirmation relations between the parties; (2) any claims or antagonisms

were pending between the parties on the date of plan confirmation; and (3) any facts or law

deriving from the bankruptcy are necessary to the claims. In re Enron Corp. Sec., 535 F.3d at 335;




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In re MSB Energy, Inc., 438 B.R. 571 (applying factors and finding that post-conformation “related

to” bankruptcy jurisdiction existed).

         36.    In this case, Van Deelen’s conversion, negligent misrepresentation, breach of

fiduciary duty, and conspiracy claims arise from pre-confirmation relations between the parties.

As previously discussed, Van Deelen based these claims on actions that Defendants allegedly took

and misrepresentations Defendants allegedly made in connection with and in the months leading

up to McDermott’s petition for relief under chapter 11. See, e.g., Complaint ¶¶ 27, 32, 35, 37. The

first Craig’s Stores factor therefore weighs in favor of the bankruptcy court’s jurisdiction. See,

e.g., In re Blast Energy Servs., Inc., 396 B.R. 676, 684 (Bankr. S.D. Tex. 2008) (“[A]lthough the

dispute arose post-confirmation, the claims against Hallwood . . . arose pre-confirmation. Thus,

the claims at issue primarily deal with pre-confirmation relations between the parties[.]”); In re

MSB Energy, Inc., 438 B.R. at 586 (holding that the first factor “weighs heavily in favor of

bankruptcy court jurisdiction” because “the subject of the Adversary Proceeding” occurred before

the confirmation date).

         37.    With regard to the second factor, there were clear “antagonisms” pending between

the parties on the date of confirmation. At that time, Van Deelen had already filed his Motion

objecting to McDermott’s plan of reorganization, and had accused the company and Defendants

of acting in bad faith “for the sole purpose of enriching McDermott’s management and Board.”

(Bankr. Dkt. 510, Motion at 6-15.). Moreover, during the confirmation hearing itself, Van Deelen

made certain threatening and vulgar remarks to counsel for the Debtors, such that the Debtors

sought emergency relief from this Court to prohibit Van Deelen from further direct contact with

the Debtors, their current or former officers, directors and employees, and their counsel. (Bankr.

Dkt. 694 ¶¶ 7, 16.). This is more than enough to satisfy the second factor. See, e.g., In re MSB



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Energy, Inc., 438 B.R. at 586 (second factors “weighs heavily in favor” of bankruptcy court

jurisdiction because the plaintiffs had filed a motion to lift the automatic stay and objected the

reorganization plan prior to the confirmation hearing).

         38.    Finally, the third factor is also satisfied because the resolution of this action turns,

at least in part, on the Confirmation Order’s Exculpation and Injunction Provision. But see id. at

586-87 (“At this point, pursuant to the analysis presented in Enron, the Court retains its jurisdiction

even if the third factor fails.”). As previously discussed, Van Deelen’s non-fraud claims fall

squarely within the ambit of these provisions, and will require that the Court interpret and enforce

these provisions as the case proceeds. The Confirmation Order is therefore “necessary to the

claims,” such that the third factor weighs in favor of bankruptcy court jurisdiction. Id. at 589 (“The

Complaint represents a formal lawsuit reflecting the pre-confirmation conflict between the parties,

the resolution of which assuredly hinges on an evaluation of facts and law derived from the

underlying Chapter 11 case, as well as the language presented in the Plan and Confirmation Order.

Under all of these circumstances, this third factor also weighs heavily in favor of this Court having

jurisdiction over the Adversary Proceeding.”).

         39.    Furthermore, and even if the Craig’s Stores factors were not satisfied here (though

they unequivocally are), the Court would still have jurisdiction. The absence of such factors does

not strip bankruptcy courts of all “related to” jurisdiction -- it just limits such jurisdiction to actions

that would affect “the implementation or execution of the plan.” In re Enron Corp. Securities, 535

F.3d at 335. In this case, as previously discussed, Van Deelen’s action would affect the “execution

of the [P]lan.” Specifically, it would affect the Debtors’ ability to enforce the Plan’s exculpation

and injunction provisions, as incorporated in the Confirmation Order. This is enough to establish




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the Court’s jurisdiction. In Matter of Galaz, 841 F.3d at 322 (“[T]he order of discharge necessarily

implicates the implementation or execution of the plan.”).

         40.    For these reasons, the Court should deny Van Deelen’s Motion to Remand.

C.       Mandatory abstention does not apply here because Van Deelen’s claims arise in the
         bankruptcy proceedings and cannot be timely adjudicated in state court.

         41.    As the party seeking mandatory abstention, Van Deelen had the burden to show, by

a preponderance of the evidence, that: (1) his action has no independent basis for federal

jurisdiction, other than section 1334(b); (2) his action is a non-core proceeding, i.e., it is “related

to” a case under title 11; (3) he commenced his action in state court; and (4) his action could be

adjudicated timely in state court. In re TXNB Internal Case, 483 F.3d at 300; In re Lorax Corp.,

295 B.R. at 90.

         42.    Van Deelen did not satisfy his burden to show that his action is non-core or could

be adjudicated timely in state court. As discussed above, this action is a “core proceeding” because

it requires that the Court interpret and enforce its Confirmation Order and the Exculpation and

Injunction Provision provided therein. See, e.g., In Matter of Galaz, 841 F.3d at 322 (“Galaz’s suit

in state court is arguably a violation of Katona’s discharge rights, directly implicating the

bankruptcy court’s ‘arising under’ jurisdiction.”); In re Cano, 410 B.R. at 548-49 (“[B]ankruptcy

courts retain significant jurisdiction after a discharge order is issued and a case is closed over

matters concerning the interpretation and enforcement of bankruptcy court orders . . . Such matters

fall within the Court’s ‘arising in’ and arising under’ jurisdiction.”); In re ABC Dentistry, P.A.,

2019 WL 6894775 at *6 (“the Bankruptcy Court did not err in determining that it had ‘arising in

or under jurisdiction’ over the removed action” because it would require the court to interpret

rights associated with the court’s order dividing settlement proceeds).




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         43.    Nor could this action be adjudicated timely in state court. Factors relevant to this

prong include “(a) the extent to which the suit has already been prosecuted in state court, (b) the

expectation of when the state court trial will commence, and (c) evidence in contravention that the

state court could adjudicate the case timely.” In re Hallwood Energy, L.P., No. 09-31253-H4-11,

2009 WL 2601294, at *8 (Bankr. S.D. Tex. Aug. 24, 2009).

         44.    Here, Van Deelen has presented no evidence of prosecution, nor could he -- Van

Deelen has not prosecuted this action beyond filing his original petition in state court less than two

months ago. He has not served or otherwise engaged in any discovery, he has not filed any motions

or set such motions for hearing, and he has not sought or obtained any orders from the state court.

See, e.g., In re Doctors Hosp. 1997, L.P., 351 B.R. 813, 846 n.29 (Bankr. S.D. Tex. 2006) (“[T]he

record reflects that during the 41 days that the suit was pending in [state] court, virtually nothing

occurred. No hearings were held, no motions were filed, no discovery was conducted, and no

orders were entered on the docket. Thus, unlike this Court, the Harris County District Court has

no background at all about the nature of this lawsuit or the substantive issues to be adjudicated.”).

         45.    Neither was this case set for trial. See, e.g., In re Petroleum Prod. & Servs., Inc.,

561 B.R. 662, 666 (Bankr. S.D. Tex. 2016) (courts in this circuit view a docket-control order

setting dates for trial as evidence “sufficient to show that the state court will be familiar with the

case and prosecute it efficiently”); see also In re Mugica, 362 B.R. 782, 793 (Bankr. S.D. Tex.

2007) (mandatory abstention was required when the plaintiffs demonstrated a history of

prosecution in state court, including a trial setting).

         46.    Further, this Court can take judicial notice that due to the Covid-19 situation, the

Texas Supreme Court has repeatedly issued orders prohibiting state courts from conducting jury

trials, which even if not further extended may not resume before October 1, 2020. (Texas Supreme



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Court Twenty-Second Emergency Order Regarding the Covid-19 State of Disaster, Misc. Dkt. 20-

9095 https://www.txcourts.gov/media/1449564/209095.pdf.) Further, the delay of jury trials has

led to a backlog that assure no trial would be set in this case for some time, unlike in this Court

that has continued to operate albeit pursuant to emergency procedures.

         47.    In the absence of any evidence that he has prosecuted his action or that trial is to

commence on a given date, the fourth prong of the mandatory abstention analysis weighs against

abstention, and the Court should deny Van Deelen’s request. See In re Lorax Corp., 295 B.R. at

90 (party not entitled to mandatory abstention if it fails to prove any one of the statutory

requirements); In re Montalvo, 559 B.R. 825, 842 (Bankr. S.D. Tex. 2016) (the bankruptcy court

refused to abstain because the fourth factor was not demonstrated).

D.       The Court should deny Van Deelen’s request for permissive abstention and his
         recusal because Van Deelen cannot show prejudice or that fair judgment is
         impossible.

         48.    Van Deelen has based his requests for permissive abstention and recusal on the

same arguments: that the Court “shredded” his Constitutional rights by “refusing to hear Plaintiff’s

motions in the McDermott International bankruptcy case”; “by falsely accusing Plaintiff of

improper acts during the pendency of the bankruptcy case”; “by telling the attorneys for the

Defendants herein that they ‘were the smartest people in the country’ while accusing Plaintiff in

open court of ‘knowing nothing’”; and “by unconstitutionally issuing a permanent injunction

against the Plaintiff without affording a hearing or trial.” (Bankr. Dkt. 4 at 3, 15).

         49.    These arguments do not demonstrate any prejudice or antagonism, much less what

would be required for permissive abstention or recusal. See, e.g., In re SBMC Healthcare, LLC,

519 B.R. at 190 (identifying prejudice as one factor courts can consider when determining

permissive abstention); Liteky, 510 U.S. at 555 (holding that movant for recusal would need to

show “a deep-seated . . . antagonism that would make fair judgment impossible”).

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         50.    As a threshold matter, Van Deelen fails to provide any evidence in support of his

arguments--much less the “clear and convincing” evidence he would need for his recusal motion.

See Kinnear-Weed Corp., 441 F.2d at 634. Van Deelen fails to explain the context in which the

Court’s alleged actions or statements arose. Such context is important because “[t]he judge who

presides [over the proceedings] may, upon completion of the evidence, be exceedingly ill disposed

towards [a party], who has been shown to be a thoroughly reprehensible person. But the judge is

not thereby recusable for bias or prejudice, since his knowledge and the opinion it produced were

properly and necessarily acquired in the course of the proceedings, and are indeed sometimes . . .

necessary to the completion of the judge’s task.” Liteky, 510 U.S. at 550-51.

         51.    In this case, for example, Van Deelen repeatedly acted in an unprofessional manner

toward the Court and Debtors’ counsel. As previously discussed, Van Deelen made certain

threatening and vulgar remarks to Debtors’ counsel during the confirmation hearing, prompting

the Debtors to seek emergency relief from this Court prohibiting Van Deelen from further direct

contact with the Debtors, their current or former officers, directors and employees, and their

counsel. Bankr. Dkt. 694 ¶¶ 7, 16. Van Deelen also made vulgar remarks toward the Court during

the confirmation hearing and later appeared unannounced and uninvited at one of the Defendants’

homes. Id. ¶¶ 7-8. Most significantly, Van Deelen denied under oath that any such comments

were made, even though they were overheard by court staff and audible via microphone. (Bankr.

Dkt. 719 at 1.) As this Court observed, “the Court was willing to overlook the insult” but it could

not “overlook a false statement.” (Id.)

         52.    Thus, any “critical or disapproving” remarks arising from this context are to be

expected, not the sort that could not give rise to recusal. See In re Wilborn, 401 B.R. 848, (Bankr.

S.D. Tex. 2009) (“A judge’s comments that form the basis of a recusal motion should not be



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viewed in isolation, but rather must be viewed in context.”); LoCascio v. United States, 473 F.3d

493, 497 (2d Cir. 2007) (judge’s comments during a scheduling hearing, when read in context,

“revealed neither ‘an opinion that derives from an extrajudicial source’ nor ‘such a high degree of

favoritism or antagonism as to make fair judgment impossible’”): United States v. Pearson, 203

F.3d 1234, 1277 (10th Cir. 2000) (holding that recusal based on the judge’s comments relating to

a party’s pleadings was not warranted “after reviewing the judge’s comments in context”); In re

Martinez-Catala, 129 F.3d 213, 221 (1st Cir. 1997) (judge’s remark that the plaintiffs were

“political sweet potatoes” did not warrant recusal when viewed in context).

         53.    Finally, Van Deelen fails to show how the Court’s alleged actions represent

anything more than “critical or disapproving” remarks, “expressions of impatience, dissatisfaction,

annoyance, [or] anger,” or “ordinary efforts at courtroom administration.” Liteky, 510 U.S. at 555-

56. In short, Van Deelen fails to show the prejudice or antagonism necessary to support his requests

for permissive abstention or recusal. See, e.g., Smith v. Houston EEOC, No. 4:20-CV-1664, 2020

WL 3542433, at *5 (S.D. Tex. June 30, 2020) (unsupported allegations that the court “spent an

eternity degrading and attac[k]ing people [and] stating on the record that [the Court had no regard

for anything the Plaintiff had to say” did not set forth legally recognizable basis for recusal); Silva

v. Spring Branch Independent School District, No. H-16-0545, 2016 WL 7441709, at *2 (S.D.

Tex. Dec. 22, 2016) (unsupported allegations that magistrate judge “repeatedly yelled” at pro se

Plaintiff and refused to let her argue any of the facts in her motions did not support recusal);

Haskett v. Orange Energy Corporation, 161 F. Supp. 3d 471, 474 (S.D. Tex. 2015) (no bias or

impartiality where movant alleged that the court “permitted the defendants . . . to engage in an

extensive campaign of ad hominem personal attacks having no relevance to the merits of the cases

whatsoever, but which appear to have palpably prejudiced [the Court] against Plaintiff”).



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                                      V.     CONCLUSION

         Given that Van Deelen alleges that actions taken in the bankruptcy proceedings and related

transactions give rise to his claims, this Court has subject matter jurisdiction over this action and

should not abstain. Moreover, recusal is not warranted in the context of a litigant who repeatedly

failed to demonstrate respect for the Court or its fellow officers and ultimately made a false

statement to the Court under oath. Van Deelen cannot use his own poor behavior as a basis for

obtaining a different forum.




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Houston, Texas
Dated: August 13, 2020                             Respectfully submitted,

 /s/ Matthew D. Cavenaugh                          /s/ Anna G. Rotman
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                                     Counsel to the Defendants




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on August 13, 2020, I caused a true and correct copy of the foregoing
document to be served via the Court’s ECF notification system to the parties listed below at the
email addresses listed.

         Michael Van Deelen,
         16215 Friar Circle
         Spring, TX 77379
         michaelvandeelen@gmail.com


                                                      /s/ Matthew D. Cavenaugh
                                                      Matthew D. Cavenaugh




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                                UNITED STATES BANKRUPTCY COURT
                                  SOUTHERN DISTRICT OF TEXAS
                                        HOUSTON DIVISION
    In re:                                                          §     Chapter 11
                                                                    §
    MCDERMOTT INTERNATIONAL, INC., et al.,1                         §     Case No. 20-30336 (DRJ)
                                                                    §
                      Reorganized Debtors.                          §     (Jointly Administered)
                                                                    §
                                                                    §
    MICHAEL VAN DEELEN                                              §
                                                                    §
                      Plaintiff,                                    §     Adv. Proc. No. 20-03309
                                                                    §
    v.                                                              §
                                                                    §
    DAVID DICKSON,                                                  §
    and STUART SPENCE,                                              §
    and SCOTT LAMB,                                                 §
    and 10 JOHN/JANE DOES                                           §
                                                                    §
                      Defendants.                                   §
                                                                    §

                           DEFENDANTS’ EMERGENCY MOTION TO SEAL

             Emergency relief has been requested.
             If you object to the relief requested or you believe that emergency consideration is not
             warranted, you must either appear at the hearing or file a written response prior to the
             hearing. Otherwise, the Court may treat the pleading as unopposed and grant the relief
             requested.
             Relief is requested not later than March 10, 2021.

             The above-captioned defendants (the “Defendants” or “McDermott”)2 state the following

in support of this motion (this “Motion”):


1
  A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
claims and noticing agent at https://cases.primeclerk.com/McDermott. The location of Debtor McDermott
International, Inc.’s principal place of business and the Debtors’ service address in these chapter 11 cases is 757 North
Eldridge Parkway, Houston, Texas 77079.
2
         A detailed description of the Debtors and their businesses, and the facts and circumstances supporting the
         Debtors’ chapter 11 cases, are set forth in detail in the Declaration of Michael Lou, Chief
         Financial Officer of Oasis Petroleum, Inc., in Support of Debtors’ Chapter 11 Petitions (the “First Day
         Declaration”), which is filed in connection herewith.


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                                        Relief Requested

        1.       The Defendants seek entry of an order, substantially in the form attached

hereto (the “Order”): (a) authorizing the Defendants to file under seal the Van Deelen

Communications (as described herein), and (b) directing that the Van Deelen Communications

shall remain under seal and confidential and not be made available to anyone, without an order of

the Court including in response to any Freedom of Information Act requests.

                                     Jurisdiction and Venue

        2.       The United States Bankruptcy Court for the Southern District of Texas

(the “Court”) has jurisdiction over this matter pursuant to 28 U.S.C. § 1334. This is a core

proceeding pursuant to 28 U.S.C. § 157(b). The Defendants confirm their consent, pursuant to

rule 7008 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), to the entry of

a final order by the Court.

        3.       Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

        4.       The bases for the relief requested herein are sections 105(a) and 107(b) of the

Bankruptcy Code, Bankruptcy Rule 9018, and rules 9037-1 and 9013-1 of the Bankruptcy Local

Rules for the Southern District of Texas (the “Bankruptcy Local Rules”).

                                Background and Basis for Relief

        5.       In recent months counsel for McDermott has received several communications

from Mr. Van Deelen. These communications have been increasingly antagonistic. McDermott

seeks authority to file these communications and any responses thereto under seal (the “Van

Deelen Communications”).

        6.       The Van Deelen Communications contain defamatory statements and should be

sealed pursuant to 11 U.S.C. § 107(b)(2).



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        7.       Section 105(a) of the Bankruptcy Code codifies the inherent equitable powers of

the bankruptcy court and empowers the bankruptcy court to “issue any order, process, or judgment

that is necessary or appropriate to carry out the provisions of [the Bankruptcy Code].”

        8.       Bankruptcy Rule 9018 defines the procedures by which a party may move for relief

under section 107(b) of the Bankruptcy Code. Bankruptcy Rule 9018 provides, in relevant part,

that on motion “the court may make any order which justice requires . . . to protect any entity

against scandalous or defamatory matter contained in any paper filed in a case under the Code.”

Additionally, Bankruptcy Local Rule 9037-1 provides, in relevant part, that “[a] motion, reply or

other document may initially be filed under seal if the filing party simultaneously files a motion

requesting that the document be maintained under seal.”

        9.       Good cause exists to authorize the Defendants to file the Van Deelen

Communications under seal. Filing the Van Deelen Communications under seal allows the Court

to be made aware of the content of the Van Deelen Communications while protecting the parties.

Critically, Mr. Van Deelen already has possession of the Van Deelen Communications and will

not be prejudiced by the relief requested.

                                    Emergency Consideration

        10.      The Defendants request emergency consideration of this Motion as the sealed

documents are being filed contemporaneously herewith and a hearing is presently scheduled in

this matter for this Wednesday, March 10, 2021 at 9:00 a.m.




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Houston, Texas
Dated: March 8, 2020

Respectfully submitted,

 /s/ Matthew D. Cavenaugh
 JACKSON WALKER LLP
 Matthew D. Cavenaugh (TX Bar No. 24062656)
 1401 McKinney Street, Suite 1900
 Houston, TX 77010
 Facsimile: (713) 752-4221
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                                CERTIFICATE OF SERVICE

       I hereby certify that on March 8, 2021, I caused a true and correct copy of the foregoing
document to be served via the Court’s ECF notification system to the parties listed below at the
email addresses listed.

        Michael Van Deelen,
        16215 Friar Circle
        Spring, TX 77379
        michaelvandeelen@gmail.com


                                                     /s/ Matthew D. Cavenaugh
                                                     Matthew D. Cavenaugh




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                               UNITED STATES BANKRUPTCY COURT
                                 SOUTHERN DISTRICT OF TEXAS
                                       HOUSTON DIVISION
    In re:                                                          §     Chapter 11
                                                                    §
    MCDERMOTT INTERNATIONAL, INC., et al.,3                         §     Case No. 20-30336 (DRJ)
                                                                    §
                     Reorganized Debtors.                           §     (Jointly Administered)
                                                                    §
                                                                    §
    MICHAEL VAN DEELEN                                              §
                                                                    §
                     Plaintiff,                                     §     Adv. Proc. No. 20-03309
                                                                    §
    v.                                                              §
                                                                    §
    DAVID DICKSON,                                                  §
    and STUART SPENCE,                                              §
    and SCOTT LAMB,                                                 §
    and 10 JOHN/JANE DOES                                           §
                                                                    §
                     Defendants.                                    §
                                                                    §

             ORDER GRANTING DEFENDANTS’ EMERGENCY MOTION TO SEAL

             Upon the motion (the “Motion”)4 of the above-captioned Defendants (collectively, the

“Defendants” or “McDermott”) for entry of an order (this “Order”), authorizing them to file certain

the Van Deelen Communications under seal, all as more fully set forth in the Motion; and this

Court having jurisdiction over this matter pursuant to 28 U.S.C. §1334; and this Court having

found that this is a core proceeding pursuant to 28 U.S.C. §157(b)(2); and this Court having found

that it may enter a final order consistent with Article III of the United States Constitution; and this



3
  A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
claims and noticing agent at https://cases.primeclerk.com/McDermott. The location of Debtor McDermott
International, Inc.’s principal place of business and the Debtors’ service address in these chapter 11 cases is 757 North
Eldridge Parkway, Houston, Texas 77079.
4
     Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.


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Court having found that venue of this proceeding and the Motion in this district is proper pursuant

to 28 U.S.C. §§ 1408 and 1409; and this Court having found that the Defendants’ notice of the

Motion and opportunity for a hearing on the Motion were appropriate and no other notice need be

provided; and this Court having reviewed the Motion and having heard the statements in support

of the relief requested therein at a hearing before this Court (the “Hearing”); and this Court having

determined that the legal and factual bases set forth in the Motion establish just cause for the relief

granted herein; and upon all of the proceedings had before this Court; and after due deliberation

and sufficient cause appearing therefor, it is HEREBY ORDERED THAT:

        1.       The Defendants are authorized to file the Van Deelen Communications under seal.

        2.       Except upon further order of the Court after notice to the Defendants, the Van

Deelen Communications shall remain under seal, and shall not be made available to anyone

without order of the Court including in response to any Freedom of Information Act requests.

        3.       Notice of the Motion as provided therein shall be deemed good and sufficient notice

of such Motion and the requirements of Bankruptcy Rule 6004(a) and the Local Rules are satisfied

by such notice.

        4.       Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this Order

are immediately effective and enforceable upon its entry.

        5.       The Defendants are authorized to take all actions necessary to effectuate the relief

granted in this Order in accordance with the Motion.

        6.       This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Order.

 Dated: ___________, 2020
                                                       DAVID R. JONES
                                                       UNITED STATES BANKRUPTCY JUDGE



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                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION                                                ENTERED
                                                                                               03/09/2021
IN RE:                                           §
MCDERMOTT INTERNATIONAL, INC.,                   §       CASE NO: 20-30336
et al,                                           §
       Debtors.                                  §       CHAPTER 11
                                                 §
MICHAEL VAN DEELEN,                              §
     Plaintiff,                                  §
                                                 §
VS.                                              §       ADVERSARY NO. 20-3309
                                                 §
DAVID DICKSON, et al,                            §
      Defendants.                                §

                      ORDER REASSIGNING MOTION TO RECUSE
        Chief Judge Jones contacted the undersigned judge as the most senior bankruptcy judge in
this District and requested that the undersigned determine which judge will conduct the hearing on
the motion to recuse filed in this adversary proceeding. The Court Orders:
       1.      The motion to recuse (ECF No. 8) will be heard by Judge Isgur.

       2.      The document filed at ECF No. 39 is sealed, pending the Court’s determination of
               whether there is credible, admissible evidence in support of the allegations made in
               ECF No. 39.

       3.      The hearing on the motion to recuse that is scheduled for 9:00 a.m. on March 10,
               2021 will occur as scheduled. Parties should utilize Judge Jones’ dial in and video
               connection for the hearing.
        SIGNED 03/09/2021


                                                     ___________________________________
                                                                   Marvin Isgur
                                                          United States Bankruptcy Judge




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                  IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION                                                ENTERED
                                                                                             03/10/2021
IN RE:                                         §
MCDERMOTT INTERNATIONAL, INC.,                 §       CASE NO: 20-30336
et al,                                         §
       Debtors.                                §       CHAPTER 11
                                               §
MICHAEL VAN DEELEN,                            §
     Plaintiff,                                §
                                               §
VS.                                            §       ADVERSARY NO. 20-3309
                                               §
DAVID DICKSON, et al,                          §
      Defendants.                              §

                       ORDER DENYING MOTION TO RECUSE


      For the reasons set forth on the record, the motion to recuse Chief Judge Jones is denied.
       SIGNED 03/10/2021


                                                   ___________________________________
                                                                 Marvin Isgur
                                                        United States Bankruptcy Judge




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                              UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION
                                                                    §
    In re:                                                          §     Chapter 11
                                                                    §
    MCDERMOTT INTERNATIONAL, INC., et al., 1                        §     Case No. 20-30336 (DRJ)
                                                                    §
                                      Reorganized Debtors.          §     (Jointly Administered)
                                                                    §
                                                                    §
    MICHAEL VAN DEELEN                                              §
                                                                    §
                     Plaintiff,                                     §     Adv. Proc. No. 20-03309
                                                                    §
    v.                                                              §
                                                                    §
    DAVID DICKSON,                                                  §
    and STUART SPENCE,                                              §
    and SCOTT LAMB,                                                 §
    and 10 JOHN/JANE DOES                                           §
                                                                    §
                     Defendants.                                    §
                                                                    §

                               DEFENDANTS’ MOTION TO DISMISS
                             PLAINTIFF’S FIRST AMENDED PETITION

             This motion seeks an order that may adversely affect you. If you oppose the
             motion, you should immediately contact the moving party to resolve the
             dispute. If you and the moving party cannot agree, you must file a response
             and send a copy to the moving party. You must file and serve your response
             within 21 days of the date this was served on you. Your response must state
             why the motion should not be granted. If you do not file a timely response, the
             relief may be granted without further notice to you. If you oppose the motion
             and have not reached an agreement, you must attend the hearing. Unless the
             parties agree otherwise, the court may consider evidence at the hearing and
             may decide the motion at the hearing.

             Represented parties should act through their attorneys.

1
  A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
claims and noticing agent at https://cases.primeclerk.com/McDermott. The location of Debtor McDermott
International, Inc.’s principal place of business and the Debtors’ service address in these chapter 11 cases is 757 North
Eldridge Parkway, Houston, Texas 77079.
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       Defendants David Dickson, Stuart Spence, and Scott Lamb (collectively, “Defendants”)

hereby file this motion to dismiss (the “Motion”) Plaintiff Michael Van Deelen’s (“Van Deelen”)

First Amended Petition (the “Amended Petition”) pursuant to Rule 12(b)(6) of the Federal Rules

of Civil Procedure (the “Federal Rules”) and Rule 7012 of the Federal Rules of Bankruptcy

Procedure (which incorporates by reference Federal Rule 12).        In support of the Motion,

Defendants respectfully state as follows:

                          I.        PRELIMINARY STATEMENT

       1.      In his original petition, Van Deelen brought claims against Defendants for

conversion, breach of fiduciary duty, conspiracy, negligent misrepresentation, and statutory and

common law fraud based on actions Defendants allegedly took in connection with McDermott’s

bankruptcy. See Dkt. 1, Ex. 1. Defendants removed the case to this Court and then moved to

dismiss these claims because they were subject to certain exculpation, release, and injunction

provisions of the Court’s Confirmation Order and the claims did not satisfy federal pleading

standards. Dkt. 5 ¶¶ 18-44. After receiving instruction from the Court at the March 10, 2021

hearing, Van Deelen filed the instant Amended Petition. Dkt. 50.

       2.      The Amended Petition suffers from the same shortcomings as Van Deelen’s

original petition, however. Though Van Deelen appropriately chose to abandon most of his

original claims that were barred by the Confirmation Order, the Amended Petition’s remaining

claims—negligent misrepresentation and common law fraud—are still subject to dismissal for the

same reasons set forth in Defendants’ original motion to dismiss. These claims are foreclosed

explicitly by the Confirmation Order and suffer from pleading defects that Van Deelen has

demonstrated cannot be corrected.

       3.      Van Deelen actively participated in McDermott’s bankruptcy proceedings and

objected to confirmation of McDermott’s chapter 11 plan of reorganization on the unsupported

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theory that McDermott never should have filed for chapter 11 and that its filing and the transactions

leading up to and included as part of the plan were somehow fraudulent or otherwise wrongful.

Despite having the opportunity, he presented no evidence in support of his theory and

McDermott’s plan was confirmed over his objection. Van Deelen was made fully aware that the

confirmed plan would include the exculpation and injunction provision and would thus prohibit

parties from bringing a wide range of claims.         But in complete disregard of the Court’s

Confirmation Order, Van Deelen then brought this lawsuit against McDermott officers based on

alleged conduct related to the chapter 11 proceedings and related transactions, conduct explicitly

exculpated in the Confirmation Order.

        4.      Because Van Deelen has (again) made no effort to articulate how his claims could

proceed in the face of Confirmation Order’s exculpation and injunction provisions, and because

Van Deelen has demonstrated that he cannot provide even basic information necessary to plead

fraud allegations, Van Deelen’s claims should be dismissed with prejudice.

                           II.        FACTUAL BACKGROUND

A.      McDermott’s only viable option was to file for relief under chapter 11.

        5.      McDermott was founded nearly a century ago in east Texas. Since that time, and

through strategic acquisitions and business combinations, McDermott has become a premier

upstream and downstream engineering procurement, construction, and installation company. In

this capacity, McDermott has focused on delivering fixed and floating production facilities,

pipelines, installations, and subsea systems that allow for the safe production and transportation of

hydrocarbons. McDermott currently operates in 54 countries, has over 42,000 employees and

independent contractors, and maintains a diverse fleet of specialty marine construction vessels and

fabrication facilities.



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       6.      Notwithstanding this growth and success, McDermott was facing a severe liquidity

problem in September 2019. Much of McDermott’s cash was trapped within its joint venture

operations and McDermott had inherited from a previous combination certain legacy onshore

projects that resulted in large, unanticipated losses. The confluence of these and other factors

created an acute liquidity crisis that McDermott could no longer manage. McDermott had to

restructure.

       7.      In an effort to facilitate this restructuring and avoid liquidation, McDermott

obtained on an emergency basis a liquidity infusion through a superpriority financing facility.

McDermott received the first tranche of this superpriority financing in October 2019, and used the

additional runway to reassess its operations and financial condition. Over the next several months,

McDermott engaged financial and legal advisors, shared a significant amount of information with

its prepetition lenders, negotiated extensively with stakeholders, and considered all possible

alternatives. Ultimately, McDermott determined that a pre-packaged balance sheet restructuring

was the best way to maximize value for its stakeholders.

       8.      To that end, on January 22, 2020, McDermott filed a voluntary petition for relief

(Bankr. Dkt. 5) (the “Petition”) under chapter 11 of the Bankruptcy Code in the United States

Bankruptcy Court for the Southern District of Texas, Houston Division (the “Court”). McDermott

amended or supplemented the Petition and the plan of reorganization several times during the

course of the bankruptcy proceedings (Bankr. Dkt. 121, 520, 620, 622, 647, 651) (collectively, the

“Plan”). The Plan reflected substantial levels of support among McDermott’s lenders--a difficult

feat given the scale and complexity of McDermott’s operations, the number of stakeholder

constituencies and their divergent interests, and the urgent nature of McDermott’s capital needs.




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B.       The Court confirmed McDermott’s value-maximizing Plan, which included
         exculpation and injunction provisions.

         9.        On March 14, 2020, the Court entered its Amended Order Approving the Debtors’

Disclosure Statement and Confirming the Second Amended Joint Prepackaged Chapter 11 Plan

of Reorganization (Technical Modifications) of McDermott International, Inc. and Its Debtor

Affiliates (Bankr. Dkt. 684) (the “Confirmation Order”).

         10.       The Confirmation Order approving the Plan contains two provisions relevant to this

dispute: an exculpation provision (“Exculpation”) and an injunction provision (“Injunction

Provision”).

                 i.            The Exculpation broadly released claims related to the bankruptcy
                               proceedings and related prepetition transactions.

         11.       The Exculpation released and exculpated the “Exculpated Part[ies]” 2 from claims

related to, among other things, McDermott’s chapter 11 proceedings and administration and

implementation of the Plan:

                   52. Except as otherwise specifically provided in the Plan or this
                       Confirmation Order, no Exculpated Party shall have or incur
                       liability for, and each Exculpated Party shall be released and
                       exculpated from any Claims and Cause of Action for any claim
                       related to any act or omission in connection with, relating to, or
                       arising out of, the Chapter 11 Cases, the formulation,
                       preparation, dissemination, negotiation, filing, or termination of
                       the Restructuring Support Agreement and related prepetition
                       transactions (including the Superpriority Credit Agreement, the

2
         The Plan defines “Exculpated Parties” to mean:

                      collectively, and in each case in its capacity as such: (a) the Debtors; (b) any
                      official committees appointed in the Chapter 11 Cases and each of their respective
                      members; (c) the Consenting Stakeholders and any affiliated Hedge Banks; (d)
                      each Agent and the Senior Notes Trustee, and (e) with respect to each of the
                      foregoing, such Entity and its current and former Affiliates, and such Entity’s and
                      its current and former Affiliates’ current and former equity holders, subsidiaries,
                      officers, directors, managers, principals, members, employees, agents, advisory
                      board members, financial advisors, partners, attorneys, accountants, investment
                      bankers, consultants, representatives, and other professionals.

See Plan, Art. I, § A.

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                 Credit Agreement, the Senior Notes Indenture or Senior Notes,
                 the 2021 LC Agreement, and the Lloyds Letter of Credit
                 Agreement), the Disclosure Statement, the Plan, the DIP Credit
                 Facility, the Exit Facility Documents, the New Warrants
                 Agreements, the Plan Supplement, the Rights Offering, or any
                 Restructuring Transaction, contract, instrument, release or other
                 agreement or document (including any legal opinion requested
                 by any Entity regarding any transaction, contract, instrument,
                 document or other agreement contemplated by the Plan or the
                 reliance by any Released Party on the Plan or this Confirmation
                 Order in lieu of such legal opinion), including any Definitive
                 Document, created or entered into before or during the Chapter
                 11 Cases, any preference, fraudulent transfer, or other avoidance
                 claim arising pursuant to chapter 5 of the Bankruptcy Code or
                 other applicable law, the filing of the Chapter 11 Cases, the
                 pursuit of Confirmation, the pursuit of Consummation, the
                 administration and implementation of the Plan, including the
                 issuance or distribution of Securities pursuant to the Plan, or the
                 distribution of property under the Plan or any other related
                 agreement, or upon any other related act or omission,
                 transaction, agreement, event, or other occurrence taking place
                 on or before the Effective Date, except for claims related to any
                 act or omission that is determined in a Final Order by a court of
                 competent jurisdiction to have constituted actual fraud, willful
                 misconduct, or gross negligence, but in all respects such Entities
                 shall be entitled to reasonably rely upon the advice of counsel
                 with respect to their duties and responsibilities pursuant to the
                 Plan.

              53. The Exculpated Parties and other parties set forth above have,
                  and upon confirmation of the Plan shall be deemed to have,
                  participated in good faith and in compliance with the applicable
                  laws with regard to the solicitation of votes and distribution of
                  consideration pursuant to the Plan and, therefore, are not, and on
                  account of such distributions shall not be, liable at any time for
                  the violation of any applicable law, rule, or regulation governing
                  the solicitation of acceptances or rejections of the Plan or such
                  distributions made pursuant to the Plan.

(Bankr. Dkt. 684, Confirmation Order ¶¶ 52-53 (emphases added)).




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              ii.         The Injunction Provision prohibits any parties from commencing or
                          continuing any action based on Released Claims.

        12.      The Injunction Provision, for its part, permanently enjoined holders of “Released

Claims” 3 from commencing or continuing any action against the “Exculpated[] or []Released

Parties” in connection with such claims:

                 54. Except as otherwise expressly provided in the Plan or this
                     Confirmation Order or for obligations or distributions issued or
                     required to be paid pursuant to the Plan or this Confirmation
                     Order, all Entities who have held, hold, or may hold the
                     Released Claims are permanently enjoined, from and after the
                     Effective Date, from taking any of the following actions
                     against, as applicable, the Debtors, the Reorganized Debtors,
                     the Exculpated Parties, or the Released Parties: (1)
                     commencing or continuing in any manner any action or other
                     proceeding of any kind on account of or in connection with or
                     with respect to any Released Claims; (2) enforcing, attaching,
                     collecting, or recovering by any manner or means any judgment,
                     award, decree, or order against such Entities on account of or in
                     connection with or with respect to any Released Claims; (3)
                     creating, perfecting, or enforcing any lien or encumbrance of
                     any kind against such Entities or the property of such Entities on
                     account of or in connection with or with respect to any Released
                     Claims; (4) asserting any right of setoff, subrogation, or
                     recoupment of any kind against any obligation due from such
                     Entities or against the property or the Estates of such Entities on
                     account of or in connection with or with respect to any Released
                     Claims unless such holder has filed a motion requesting the right
                     to perform such setoff on or before the Effective Date, and
                     notwithstanding an indication of a Claim or Interest or otherwise
                     that such holder asserts, has, or intends to preserve any right of
                     setoff pursuant to applicable law or otherwise; and (5)
                     commencing or continuing in any manner any action or other
                     proceeding of any kind on account of or in connection with or
                     with respect to any Released Claims released or settled pursuant
                     to the Plan.

                 55. Upon entry of this Confirmation Order, all holders of Claims and
                     Interests and their respective current and former employees,
                     agents, officers, directors, principals, and direct and indirect

3
    The Plan defines “Released Claims” to mean “any Claims or Interests that have been released, discharged, or are
    subject to exculpation pursuant to this Plan.” See Plan, Art. I, § A.


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                   Affiliates shall be enjoined from taking any actions to interfere
                   with the implementation or Consummation of the Plan. Unless
                   otherwise set forth in this Confirmation Order, each holder of an
                   Allowed Claim or Allowed Interest, as applicable, by accepting,
                   or being eligible to accept, distributions under or Reinstatement
                   of such Claim or Interest, as applicable, pursuant to the Plan,
                   shall be deemed to have consented to the injunction provisions
                   set forth in Article VIII.F of the Plan.

(Bankr. Dkt. 684, Confirmation Order ¶¶ 54-55 (emphasis added).)

C.      The Court confirmed McDermott’s Plan over Van Deelen’s objection and Van Deelen
        then filed suit in state court asserting Released Claims explicitly subject to the
        Exculpation and Injunction Provision.

        13.    On February 27, 2020, Van Deelen filed a motion (Bankr. Dkt. 510) with this Court

alleging that McDermott had improperly sought chapter 11 relief. Specifically, Van Deelen

alleged that McDermott had proposed the Plan in bad faith because the Plan called for the

cancellation of existing shares and the re-equitization of the company “for the sole purpose of

enriching McDermott’s management and Board.” (Bankr. Dkt. 510 at 6-15.) Based on these

allegations, Van Deelen requested that the Court deny McDermott’s Plan.

        14.    The Court overruled and denied Van Deelen’s Motion on March 14, 2020. (See

Bankr. Dkt. 684, Confirmation Order ¶ 11.)

        15.    Just three months after the Court confirmed McDermott’s Plan, on June 23, 2020,

Van Deelen filed suit against Defendants in Texas state court asserting claims for (1) conversion;

(2) common law fraud; (3) statutory fraud; (4) negligent misrepresentation; (5) breach of fiduciary

duty; and (6) conspiracy. See Dkt. 1, Ex. 1 ¶¶ 65-112. Defendants removed the case to this Court

and moved to dismiss these claims on the grounds that the claims were subject to certain

exculpation, release, and injunction provisions of the Court’s Confirmation Order and did not

satisfy federal pleading standards. See Dkt. 5 ¶¶ 18-44. Van Deelen moved to remand the case to




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state court. Dkt. 4. Following the Court’s instructions at a hearing on the motion to remand, Van

Deelen filed the instant Amended Petition on April 8, 2021.

       16.     While Van Deelen dropped some of his claims barred by the Exculpation and

Injunction Provisions and added some additional allegations in an effort to demonstrate that his

claims are direct rather than indirect, the gravamen of Van Deelen’s Amended Petition is the same

as his original petition—and his original objection to McDermott’s Plan:              he alleges that

Defendants, as officers of McDermott, caused McDermott to undergo an unnecessary chapter 11

restructuring for their own benefit and to the detriment of Van Deelen and other shareholders. Dkt.

50 ¶¶ 10-83.

                            III.        STANDARD OF REVIEW

       17.     To survive a motion to dismiss, a complaint “must contain sufficient factual matter,

accepted as true, to state a claim that is plausible on its face.” Ashcroft v. Iqbal, 556 U.S. 662, 678

(2009) (internal quotation marks omitted). “The plausibility standard is not akin to a probability

requirement, but it asks for more than a sheer possibility that a defendant has acted unlawfully.”

Id. (internal quotation marks omitted). Though the court must accept the plaintiff’s allegations as

true, “[t]hreadbare recitals of the elements of a cause of action, supported by mere conclusory

statements, do not suffice.” Id. at 678; Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 545 (2007)

(plaintiff required to provide more than “labels and conclusions, and a formulaic recitation of the

elements of a cause of action”). Instead, the complaint “must provide the plaintiff’s grounds for

entitlement to relief -- including factual allegations that when assumed to be true raise a right to

relief beyond the speculative level.” Trevino v. HSBC Mortgs. Servs., Inc. (In re Trevino), 535




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B.R. 110, 126 (Bankr. S.D. Tex. 2015) (quoting Lormand v. U.S. Unwired, Inc., 565 F.3d 228, 232

(5th Cir. 2009) (internal quotation marks omitted)).

        18.        Finally, where a plaintiff has failed through amendment to cure deficiencies in his

complaint, the court may dismiss such complaint without allowing leave to amend. See, e.g.,

Hernandez v. Metropolitan Life Ins. Co., No. 5:19-CV-37-DAE, 2019 WL 11555188, at *4 (W.D.

Tex. June 25, 2019) (dismissing deficient claim with prejudice because plaintiff “ha[d] already

been given a chance to amend her complaint to address these deficiencies”).

                                      IV.        ARGUMENT

A.      Because the Confirmation Order expressly bars Van Deelen’s claim for negligent
        misrepresentation, the Court should dismiss that claim.

        19.        Just as the claims Van Deelen dropped were barred by the Confirmation Order’s

Exculpation and Injunction Provision, so too is his claim for negligent misrepresentation. Van

Deelen is using this claim to re-litigate his contention that McDermott never should have filed for

chapter 11 or engaged in the transactions at the heart of the chapter 11 Plan for reorganization.

But the Exculpation expressly releases any such claims against the Defendants and the Injunction

Provision bars Van Deelen from bringing such Released Claims. There is no carve-out that would

allow this claim to proceed against the Defendants.

              i.          The Exculpation bars Van Deelen’s negligent misrepresentation claim.

        20.    The Exculpation “released and exculpated [the Exculpated Parties] from any [non-

fraud] Claims and Cause[s] of Action . . . related to any act or omission in connection with, relating

to, or arising out of, the Chapter 11 cases, . . . the filing of the Chapter 11 Cases, the pursuit of

Confirmation, [and] the administration and implementation of the Plan, including the issuance or

distribution of Securities pursuant to the plan[.]” (Bankr. Dkt. 684, Confirmation Order ¶ 52.)




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       21.      Van Deelen’s negligent misrepresentation claim falls squarely within the ambit of

this provision and should be dismissed. See Mesdag v. Nancy Sue Davis Trust (In re Davis

Offshore, L.P.), 644 F.3d 259, 263 (5th Cir. 2011) (holding that reorganization plan’s release and

exculpation clauses barred equity holder’s claims). As a threshold matter, Defendants are

“Exculpated Parties” for purposes of the Confirmation Order because they are current or former

officers of McDermott. (See Bankr. Dkt. 620, Plan, Art. I, § A.) Moreover, Van Deelen’s negligent

misrepresentation claim is based on or related to McDermott’s restructuring and administration of

the Plan. Van Deelen specifically alleges in Count II of his Amended Petition that he “was directly

harmed by the actions of the defendants” because he “would not have purchased or retained

McDermott International stock if [he] had been provided accurate and not misleading information

by the defendants about . . . the defendants’ plan to take the company into bankruptcy.” See Dkt.

50 ¶¶ 108-09.

       22.      If this were not clear enough (it is), the “Factual Allegations” section of the

Amended Petition leaves no room for mistake that Van Deelen’s claims are based on or related to

McDermott’s restructuring and administration of the Plan:

       •        To prevent [McDermott’s share price from falling], the defendants agreed on a
                scheme (“the scheme”) to artificially inflate McDermott’s share price by not
                disclosing . . . the company’s impending bankruptcy to plaintiff and the investing
                public. Id. ¶ 16.

       •        The defendants . . . did not disclose [a study that McDermott undertook to determine
                whether it should declare bankruptcy] . . . to the plaintiff or the investing public. Id.
                ¶ 27.

       •        [D]efendant Dickson, acting in concert with the other defendants . . . omitted
                material information that McDermott faced . . . potential bankruptcy problems. Id.
                ¶ 31.

       •        Nowhere in their statement did the defendants alert plaintiff or the investing public
                to the fact that McDermott had already begun a material analysis (the “Financing
                Case”) designed to consider a change in a change in the capital structure of the
                company, including bankruptcy, as discussed herein. Id. ¶ 32.
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   •     Had the defendants disclosed the material information that . . . [the company] had
         undertaken a study (the Financing Case) to stave off bankruptcy [and] that
         bankruptcy was a very real possibility in the near term . . . plaintiff would not have
         purchased or held the stock. Id. ¶ 33.

   •     The defendants . . . failed to inform plaintiff or the investing public in mid-
         September, 2019, that the decision had been made to declare bankruptcy. Id. ¶ 34.

   •     The defendants . . . made no mention in their press release of the highly material
         fact that the company had already decided to declare bankruptcy. . . . The
         defendants . . . dismissed the prospect of a bankruptcy filing as “rumor or
         speculation” in subsequent communications with plaintiff and the investing public
         even though they were aware that the company had already decided to file for
         Chapter 11. Id. ¶ 36.

   •     [Defendants’] press release made no mention of the highly material fact that the
         company had already decided to declare bankruptcy. Id. ¶ 37.

   •     The statements were merely part of the defendants’ scheme to artificially inflate the
         price of McDermott common stock while providing the company time to develop
         and execute on a prepackaged Chapter 11 restructuring plan which it was already
         working on. Id. ¶ 40.

   •     Nowhere in [McDermott’s] press release was the possibility of bankruptcy even
         raised, even though the company had decided in mid-September to declare
         bankniptcy [sic]. Id. ¶ 45.

   •     Nowhere in the press release, written by the defendants . . . w[as] the highly material
         fact[] that McDermott had already decided to declare bankruptcy . . . Id. ¶ 47.

   •     The November 4, 2019, 10-Q for the first time described a Chapter 11 filing as a
         risk McDermott might face. . . [A]s described above, the defendants, McDermott,
         and their advisors had already begun preparing a Chapter 11 bankruptcy plan
         starting in late September, 2019. Id. ¶ 54 (emphasis in original).

   •     The December 2, 2019, press release, however, was materially false and misleading
         when made because . . . the sale of Lummus would be consummated only as part
         of a Chapter 11 process. Id. ¶ 63.

   •     Had the defendants disclosed the material information that . . . the company was
         actively pursuing and finalizing a bankruptcy filing . . . plaintiff would not have
         purchased or held the stock. Id. ¶ 64.

   •     Prior to the January 21, 2020, announcement, defendants . . . had made no
         announcements to plaintiff or the investing public that the company was even
         considering bankruptcy or that it had decided to declare bankruptcy in mid-
         September, 2019. Id. ¶ 67.

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       23.         The transactions leading up to and the filing for chapter 11 do not merely supply

background that might add color to Van Deelen’s claims but rather constitute the meat of his

allegations on which his claims depend. As such, and because Van Deelen’s claim for negligent

misrepresentation directly “relate[s] to” McDermott’s restructuring and the “administration and

implementation of the Plan,” it is therefore subject to the Exculpation of the Confirmation Order.

       24.         The Exculpation does include a carve-out, however, such that it does not apply to

“claims related to any act or omission that is determined in a Final Order by a court of competent

jurisdiction to have constituted actual fraud.” Bankr. Dkt. 684, Confirmation Order ¶ 52. But Van

Deelen’s negligent misrepresentation claim does not fall within this exemption. Indeed, fraud and

negligent misrepresentation are distinct claims, and fraud is not an element of a negligent

misrepresentation claim. See, e.g., Soto v. Lloyds, No. 5:15-CV-86, 2016 WL 6883174, at *2 (S.D.

Tex. Aug. 19, 2016); Am. Realty Tr., Inc. v. Travelers Cas. & Sur. Co. of Am., 362 F. Supp. 2d

744, 751 (N.D. Tex. 2005).

       25.     Because Van Deelen’s negligent misrepresentation claim is subject to the

Exculpation and Injunction Provisions and not exempted by the carve-out for actual fraud, the

Court should dismiss this claim.

             ii.          Van Deelen violated the Injunction Provision in bringing his claims.

       26.     The Injunction Provision—no less than the Exculpation—provides a basis to

dismiss Van Deelen’s negligent misrepresentation claim. For its part, the Injunction Provision

provides that the holders of any “Released Claims are permanently enjoined . . . from commencing

or continuing in any manner any action or other proceeding of any kind [against the Exculpated or

Released Parties] on account of or in connection with . . .[such] Released Claims.” (Bankr. Dkt.

684, Confirmation Order ¶ 54.)



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        27.          Because Van Deelen’s negligent misrepresentation claim falls within the scope of

the Confirmation’s Exculpation, as set forth in more detail above, this claim is a “Released Claim”

that the Injunction Provision bars Van Deelen from bringing. The negligent misrepresentation

claim should be dismissed.

B.      The Court also should dismiss Van Deelen’s claims because they fail to satisfy the
        heightened pleading requirements of Federal Rule 9(b).

              iii.         Van Deelen’s common law fraud claim fails to satisfy Federal Rule 9(b)
                           because it does not state with particularity the circumstances giving rise
                           to alleged fraud.

        28.      Federal Rule 9(b) requires that the Amended Petition state “the who, what, when,

and where” of the alleged fraud. Williams v. WMX Techs., 112 F.3d 175, 178 (5th Cir. 1997). In

other words, “to plead fraud with particularity a plaintiff must include the ‘time, place and contents

of the false representations, as well as the identity of the person making the misrepresentations and

what [the defendant] obtained thereby.’” United States ex rel. Barrett v. Johnson Controls, Inc.,

No. 3:01-CV-1641-M, 2003 U.S. Dist. LEXIS 5973, at *32 (N.D. Tex. Apr. 9, 2003) (citing United

States ex rel. Russell v. Epic Healthcare Mgmt. Group, 193 F.3d 304, 308 (5th Cir.

1999)). Further, courts are required to “apply the rule with force, without apology.” Williams,

112 F.3d at 178.

        29.      Despite having the opportunity to amend his allegations to address his pleading

defects, Van Deelen again has failed to satisfy his burden of pleading common law fraud for at

least two reasons.

        30.      First, Van Deelen does not identify with sufficient particularity the “false

representations” that Defendants individually made to him or show why such statements were

false. Instead, Van Deelen repeatedly excerpts various letters, press releases, or reports, and then

alleges, in conclusory fashion, that “Defendants”—as an undifferentiated whole—made or


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reviewed or approved statements in the excerpted material. See Dkt. No. 50 ¶¶ 18 (Defendants

published a letter), 20 (Defendants reviewed and approved first quarter report), 23 (Defendants

reviewed and approved reports, slides, and presentations), 30 (Defendants issued a statement), 33

(Defendants made their July 29, 2019 statement), 35 (Defendants issued a press release), 37

(Defendants issued a press release), 62 (Defendants wrote and issued a press release), 67

(Defendants produced and published press releases).

       31.     This does not satisfy Van Deelen’s burden under Federal Rule 9(b). As a threshold

matter, it is not enough for Van Deelen to excerpt third-party statements, allege that Defendants

collectively reviewed or approved such statements, and then sue Defendants for fraud. See

Williams, 112 F.3d at 179 (“These vague pleadings illustrate the practical basis for the requirement

that a plaintiff point to specific statements made by the defendants. Many of the newspaper

excerpts attached to [plaintiffs’] complaint . . . [do not] specify[] who gave information to the

paper. These excerpts, standing alone, cannot satisfy the “who, what, when, where, and how”

required by Rule 9(b).”).

       32.     Van Deelen must, at the very least, show either that Defendants adopted the

statements or that Defendants represented the statements “were true or at least in accordance with

[their] view[s],” or that Defendants “used the [third party] as a conduit, making false and

misleading statements to the [third party] with the intent that the [third party] communicate those

statements to the market.” Southland Sec. Corp. v. INSpire Ins. Solutions, Inc., 365 F.3d 353, 373-

74 (5th Cir. 2004) (also holding that the pleading should “point to specific interactions between

the [defendant] and the [third party] which allegedly gave rise to the entanglement [between the

defendant’s and third party’s statements],” and state the dates on which these interactions

occurred). Van Deelen has failed to allege any such facts.



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       33.     Van Deelen has also failed to plead, with respect to the statements that

“Defendants” allegedly authored themselves, which Defendant(s) individually made the

statements. Instead, Van Deelen repeatedly refers to Defendants as a collective whole and fails to

distinguish among them—exactly the kind of “group pleading” that courts in the Fifth Circuit have

found not to satisfy the heightened pleading requirements of Federal Rule 9(b). See, e.g.,

Southland, 365 F.3d at 365 (“Consistent with our rejection of the ‘group pleading’ doctrine, we

do not construe allegations contained in the Complaint against the ‘defendants’ as a group as

properly imputable to any particular individual defendant unless the connection between the

individual defendant and the allegedly fraudulent statement is specifically pleaded.”); Luppino v.

York, No. SA-16-CV-00409-RCL, 2017 WL 8161008, at *3 (W.D. Tex. Nov. 27, 2017) (“[H]is

failure to state with particularity in what fraudulent conduct each particular defendant engaged (i.e.

what representations each made in his individual capacity, what knowledge each had of the falsity

of any representations, etc.) was fatal to his claim for fraud.”); Ingalls v. Edgewater Private Equity

Fund III, L.P., No. H-05-1392, 2005 WL 2647962, at *5 (S.D. Tex. Oct. 17, 2005) (“Group

pleading fails to satisfy the requirement of the who, what, where, why, and when of the fraud to

be specified.”) (quoting Glaser v. Enzo Biochem, Inc., 303 F. Supp. 2d 724, 734 (E.D. Va. 2003)

(internal citation omitted)); Coates v. Heartland Wireless Comms., Inc., 26 F. Supp. 2d 910, 915

(N.D. Tex. 1998) (“[A] plaintiff must ‘plead with sufficient particularity attribution of the alleged

misrepresentations and omissions to each defendant; the plaintiff is obligated to ‘distinguish

among those they sue and enlighten each defendant as to his or her part in the alleged fraud.’”).

       34.     In his voluminous complaint, Van Deelen only points to a couple of specific

statements by a particular Defendant. But Van Deelen does not even identify what was allegedly

fraudulent about these particular statements, which are general in nature, and Van Deelen does not



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allege that these statements reasonably induced reliance, nor could he plausibly allege as much.

See Dkt. 50 ¶ 45 (citing statement allegedly made by David Dickson that “This new credit

agreement is a continued signal from our lenders that they support McDermott, our underlying

business growth strategy and ability to achieve a long-term balance sheet solution. The Agreement

provides near-term liquidity for the Company to manage working capital and provide performance

guarantees on expected new awards. We remain focused on serving our customers’ needs,

supporting our dedicated employees and maintaining our valued relationships with our

subcontractors, suppliers and other business counterparties, all as part of our efforts to enhance our

position as a premier, fully integrated provided to technology, engineering and construction

solutions to the energy industry.”).

        35.      Second, and as it concerns Defendants’ alleged omissions, Van Deelen fails to

plead facts showing that any Defendant had a duty to disclose the allegedly omitted information

to Van Deelen. See Bradford v. Vento, 48 S.W.3d 749, 755 (Tex. 2001) (“As a general rule, a

failure to disclose information does not constitute fraud unless there is a duty to disclose the

information.”); id. (“Whether such a duty exists is a question of law.”).

        36.      Rather than plead such facts, Van Deelen alleges a number of purportedly material

omissions 4 and conclusorily argues that Defendants owed him a duty because they (1) “had a

special fiduciary relationship with [Van Deelen]”; (2) voluntarily disclosed partial information to

Van Deelen but knowingly failed to disclose the whole truth; (3) made representations to Van

Deelen but knowingly failed to disclose new information that made the earlier representations


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    Dkt. No. 50 ¶¶ 26 (Defendants did not disclose investigation), 27 (Defendants did not disclose “Financing Case”),
    32 (same), 34 (Defendants failed to inform public that McDermott had decided to declare bankruptcy), 36 (same),
    47 (Defendants failed to give new guidance), 49 (Defendants did not report October 22, 2019 agreement to
    investors), 51 (Defendants did not announce that third quarter results were going to deviate from projections), 53
    (Defendants did not disclose SEC investigation), 67 (Defendants did not announce that McDermott was
    considering bankruptcy).


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misleading or untrue; and (4) made partial disclosures to Van Deelen which conveyed a false

impression. Id. ¶ 70. None of these arguments has any merit and as a matter of law such allegations

cannot give rise to a duty to disclose additional information.

       37.     As a threshold matter, Van Deelen does not and cannot plead facts to show that

Defendants had a formal fiduciary relationship with him. See Ins. of N. Am. v. Morris, 981 S.W.2d

667, 674 (Tex. 1998) (a fiduciary duty can arise “as a matter of law in certain formal relationships,

including attorney-client, partnership, and trustee relationships”) (citations omitted). Indeed, the

Texas Supreme Court has expressly declined to “impos[e] on directors and officers a [formal]

fiduciary duty to individual shareholders”. Ritchie v. Rupe, 443 S.W.3d 856, 890 & n.62 (Tex.

2014). Moreover, and in reaching this decision, the court cited Mark J. Loewenstein & William

K.S. Wang, The Corporation as Insider Trader, 30 Del. J. Corp. L. 45, 42 (2005) for the

proposition that:

       The very idea that a corporation has a fiduciary duty to individual shareholders is
       troubling. The corporation can act only through its board of directors, officers,
       employees, and other agents. These actors are obligated to act in the best interests
       of the corporation, which may not coincide with the best interests of an individual
       shareholder transacting business with the corporation. There is no reason to impose
       a fiduciary obligation on these actors to act in the best interest of an individual
       shareholder when that shareholder proposes a course of conduct not in the best
       interests of the corporation.

Id. (emphasis added). The same reasoning applies with equal force here: Defendants were

obligated to act in the best interests of McDermott, and owed only McDermott—not individual

shareholders like Van Deleen—a formal fiduciary duty. Van Deelen’s conclusory argument to the

contrary must therefore fail. Twombly, 550 U.S. at 545 (plaintiff required to provide more than

“labels and conclusions, and a formulaic recitation of the elements of a cause of action”).

       38.     As must any argument concerning informal fiduciary duties. Informal fiduciary

duties arise where the “parties have dealt with each other in such a manner for a long period of


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time that one party is justified in expecting the other to act in its best interest.” Morris, 981 S.W.2d

at 674; see also Meyer v. Cathey, 167 S.W.3d 327, 331 (Tex. 2005) (an informal relationship

giving rise to a duty may also be formed from “a moral, social, domestic or purely personal

relationship of trust and confidence”). Van Deelen has pleaded no facts to show that he had any

such relationship of trust with Defendants.

         39.     Nor has Van Deelen pleaded facts to show that Defendants individually made

specific “representations” or “partial disclosures” to him, as set forth in more detail above. In the

absence of any such facts, Van Deelen cannot show that Defendants owed him a duty of disclosure.

See Mercedes-Benz USA, LLC v. Carduco, Inc., 583 S.W.3d 553, 562-63 (Tex. 2019) (defendants

made no affirmative disclosure or representation that could have triggered a legal duty to disclose

more).

         40.     For these reasons, Van Deelen has failed to plead his common law fraud claim with

sufficient particularity, and his claim should be dismissed accordingly.

               iv.      Van Deelen’s claim for negligent misrepresentation also fails to satisfy
                        Federal Rule 9(b) because it does not set forth Defendants’
                        representations or duty to Van Deelen with sufficient particularity.

         41.     Van Deelen’s negligent misrepresentation claim also fails to satisfy the heightened

pleading standard of Federal Rule 9(b). This claim is subject to the more stringent pleading

standards of Federal Rule 9(b) because the “fraud averment[s] are so intertwined with the negligent

misrepresentation claim that it is not possible to describe a simple redaction that removes the

inadequate fraud averment while leaving behind a viable negligent misrepresentation claim.”

Kougl v. Xspedius Mgmt. Co. of Dallas/Fort Worth, L.L.C., No. Civ.A.3:04CV2518-D, 2005 WL

1421446, *21-22 (N.D. Tex. June 1, 2005) (“If plaintiffs fail to distinguish their negligent

misrepresentation claims from those based on fraud, the court will not separate the two when

applying its Rule 9(b) analysis.”); see also Williams, 112 F.3d at 177 (“[Defendant] contends that
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9(b) also applies to the state law claims of common law fraud and negligent misrepresentation.

Because [plaintiffs] do not attempt to distinguish these claims in their brief, and because the state

law claims rely upon the same misrepresentations as the federal claims, we do not distinguish

between them here.”).

       42.     Here, as in Kougl and Williams, Van Deelen’s negligent misrepresentation claim is

based on the same factual allegations as his fraud claim. As such, and because Van Deelen must,

in pleading negligent misrepresentation, identify the false representations each Defendant made,

and the source of any duty to disclose (to the extent his claim is based on material omissions), Van

Deelen’s negligent misrepresentation claim must fail for the same reasons set forth above. Van

Deelen’s Amended Petition does not attempt to attribute allegedly false statements to Defendants

individually, and fails to plead facts showing that the Defendants had any duty of disclosure to

Van Deelen. Accordingly, and because these allegations do not satisfy the requirements of Federal

Rule 9(b), this Court should dismiss Van Deelen’s negligent misrepresentation claim.

                                   V.        CONCLUSION

       While Van Deelen appropriately dropped several claims explicitly foreclosed by the

Confirmation Order’s Exculpation and Injunction Provisions, he likewise should have dropped his

negligent misrepresentation claim, which must be dismissed for the same reason. In addition, his

fraud and negligent misrepresentation claims, which rely on the same factual allegations, do not

come anywhere close to meeting the heightened pleading standard mandated by Rule 9(b). For

these reasons, the Court should dismiss Van Deelen’s Amended Petition with prejudice.




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Houston, Texas
Dated: May 3, 2021                                  Respectfully submitted,



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                                 CERTIFICATE OF SERVICE

        I hereby certify that on May 3, 2021, I caused a true and correct copy of the foregoing
Motion to Dismiss to be served via the Court’s ECF notification system to the parties listed below
at the email addresses listed.

Michael Van Deelen, 16215 Friar Circle, Spring, TX 77379, michaelvandeelen@gmail.com


                                                       /s/ Matthew D. Cavenaugh
                                                       Matthew D. Cavenaugh




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                                  UNITED STATES BANKRUPTCY COURT
                                    SOUTHERN DISTRICT OF TEXAS
                                          HOUSTON DIVISION
    In re:                                                              §     Chapter 11
                                                                        §
    MCDERMOTT INTERNATIONAL, INC., et al.,1                             §     Case No. 20-30336 (DRJ)
                                                                        §
                        Reorganized Debtors.                            §     (Jointly Administered)
                                                                        §
                                                                        §
    MICHAEL VAN DEELEN                                                  §
                                                                        §
                        Plaintiff,                                      §     Adv. Proc. No. 20-03309
                                                                        §
    v.                                                                  §
                                                                        §
    DAVID DICKSON,                                                      §
    and STUART SPENCE,                                                  §
    and SCOTT LAMB,                                                     §
    and 10 JOHN/JANE DOES                                               §
                                                                        §
                        Defendants.                                     §
                                                                        §

                   REPLY IN SUPPORT OF DEFENDANTS’ MOTION TO DISMISS
                           PLAINTIFF’S FIRST AMENDED PETITION




1
         A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
         claims and noticing agent at https://cases.primeclerk.com/McDermott. The location of Debtor McDermott
         International, Inc.’s principal place of business and the Debtors’ service address in these chapter 11 cases is 757
         North Eldridge Parkway, Houston, Texas 77079.
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        Defendants David Dickson, Stuart Spence, and Scott Lamb (collectively, “Defendants”)

hereby file this Reply in Support of their Motion to Dismiss Plaintiff’s First Amended Petition,

and in support thereof, would respectfully show the Court as follows:

                           I.         PRELIMINARY STATEMENT

        After having amended his complaint, Van Deelen continues to base his negligent

misrepresentation claim on conduct related to the Debtors’ bankruptcy and restructuring that is

subject to the Exculpation in the Confirmation Order, and his generalized fraud allegations still do

not allege the specifics that would be necessary to survive a motion to dismiss. In his Response to

Defendants’ Motion to Dismiss (the “Response”), Van Deelen does not even attempt to grapple

with Defendants’ argument that the Exculpation encompasses his negligent misrepresentation

claim, or that his claims fail to satisfy the heightened pleading standard under Rule 9(b), though.

Instead, Van Deelen argues that the Court lacks subject matter jurisdiction because his claims do

not “relate to” McDermott’s bankruptcy proceedings; that he opted out of the Exculpation; that the

Court should abstain from hearing the Defendants’ Motion to Dismiss; and that Rule 9(b) does not

apply to state law claims. For the reasons set forth below, these arguments are meritless, and the

Court should dismiss Van Deleen’s First Amended Complaint with prejudice.

                                II.       LEGAL STANDARD

A.      Subject Matter Jurisdiction

        1.     Bankruptcy courts derive their subject matter jurisdiction from 28 U.S.C. §§ 1334

and 157. See In re U.S. Brass Corp., 301 F.3d 296, 303-05 (5th Cir. 2002). Together, and “[b]y

way of district-court referral,” these sections provide bankruptcy courts with the power to hear (1)

cases under title 11; (2) core proceedings “arising under” title 11; (3) core proceedings “arising in”
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a case under title 11; and (4) non-core proceedings “related to” a case under title 11. See 28 U.S.C.

§§ 1334(b), 157(a)-(c)(1).

       2.      The fourth category—“related to” proceedings—is the broadest, and encompasses

any proceeding for which “the outcome . . . could conceivably have an effect . . . on the estate

being administered in bankruptcy.” In re U.S. Brass Corp., 301 F.3d at 304 (emphasis in original).

Moreover, and because “the second, third, and fourth categories . . . operate conjunctively to define

the scope of jurisdiction,” bankruptcy courts often just need “to determine whether a matter is . . .

‘related to’ the bankruptcy.” Id.

       3.      Still, the distinction between these categories becomes more important after the

bankruptcy court has confirmed the debtor’s plan of reorganization. The Fifth Circuit has held that,

following confirmation, and as far as non-core, “related to” proceedings are concerned,

“bankruptcy jurisdiction[] ceases to exist, other than for matters pertaining to the implementation

or execution of the plan[,]” if: (1) the claims primarily arise from post-confirmation relations

between the parties; (2) no claims or antagonisms were pending between the parties on the date of

plan confirmation; and (3) no facts or law deriving from the bankruptcy are necessary to the claims.

Newby v. Enron Corp. (In re Enron Corp. Securities), 535 F.3d 325, 335 (5th Cir. 2008) (quoting

In re Craig’s Stores of Texas, Inc., 266 F.3d 388, 390 (5th Cir. 2001)). But “the Fifth Circuit has

emphasized that . . . all three factors [need] not weight heavily in the bankruptcy court’s favor”

for there to be jurisdiction. In re MSB Energy, Inc., 438 B.R. 571, 586 (Bankr. S.D. Tex. 2010); In

re Enron Corp. Securities, 535 F.3d at 335-36.

       4.      The Fifth Circuit has not similarly limited post-confirmation bankruptcy

jurisdiction over “core” (i.e., “arising under” or “arising in”) proceedings. See, e.g., In re Talsma,

509 B.R. 535 (Bankr. N.D. Tex. 2014) (“Craig’s Stores involved claims that invoked only “related




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to” jurisdiction. . . . [C]ourts have treated core proceedings differently post-confirmation than the

“related to” proceedings within the scope of Craig’s Stores.”); Faulkner v. Eagle View Capital

Mgt. (In re Heritage Org., L.L.C.), 454 B.R. 353, 364-65 (Bankr. N.D. Tex. 2011) (concluding

that Craig’s Stores did not apply to an “arising under” proceeding brought pursuant to 11 U.S.C.

550 post-confirmation).

        5.     In this context, “core proceedings” are those that “invoke[] a substantive right

provided by title 11” or “could arise only in the context of a bankruptcy case,” In re U.S. Brass

Corp., 301 F.3d at 304, and include proceedings which would require interpretation of bankruptcy

court orders. For example, “bankruptcy courts retain significant jurisdiction after a discharge order

is issued and a case is closed over matters concerning the interpretation and enforcement of

bankruptcy court orders . . . Such matters fall within the Court’s ‘arising in’ and arising under’

jurisdiction.” Cano v. GMAC Mortg. Corp. (In re Cano), 410 B.R. 506, 548-49 (Bankr. S.D. Tex.

2009); see also In re ABC Dentistry, P.A., No. H-16-34221-11, 2019 WL 6894775, at *6 (S.D.

Tex. Dec. 17, 2019) (because the removed action would require the bankruptcy court to interpret

rights associated with its order dividing settlement proceeds, “the Bankruptcy Court did not err in

determining that it had ‘arising in or under jurisdiction’ over the removed action”); see also

Travelers Indemnity Co. v. Bailey, 129 S. Ct. 2195, 2205 (2009) (a bankruptcy court “plainly ha[s]

jurisdiction to interpret and enforce its own prior orders”).

B.      Mandatory Abstention

        6.     The party seeking mandatory abstention must show that: (1) the claim has no

independent basis for federal jurisdiction, other than section 1334(b); (2) the claim is a non-core

proceeding, i.e., it is related or in a case under title 11; (3) an action has been commenced in state

court; and (4) the action could be adjudicated timely in state court. In re TXNB Internal Case, 483

F.3d 292, 300 (5th Cir.), cert. denied, 552 U.S. 1022, 128 S. Ct. 613 (2007).


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        7.     Specifically, the party seeking mandatory abstention must prove the existence of

each element by a preponderance of the evidence. In re Lorax Corp., 295 B.R. 83, 90 (Bankr. N.D.

Tex. 2003). A party is not entitled to mandatory abstention if it fails to prove any one of the

statutory requirements. Id.; see also In re Montalvo, 559 B.R. 825, 842 (Bankr. S.D. Tex. 2016)

(the bankruptcy court refused to abstain because the fourth factor was not demonstrated)

                                   III.        ARGUMENT

A.      The Court has subject matter jurisdiction because Plaintiff’s First Amended
        Complaint violates the Court’s Confirmation Order.

        8.     In his Response, Van Deelen first argues that the Court lacks subject matter

jurisdiction to hear Defendants’ Motion to Dismiss because he does not plead claims “relating to”

McDermott’s chapter 11 proceedings. (Dkt. 52 at 5-6.) This argument fails for at least three

reasons.

        9.     First, the Court has jurisdiction because this is a core proceeding. Bankruptcy

courts retain jurisdiction over core proceedings, including any proceeding that would require the

court to interpret or enforce its orders, even following confirmation. See, e.g., In re Cano, 410 B.R.

at 548-49; In re ABC Dentistry, P.A., 2019 WL 6894775 at *6; see also Travelers Indemnity Co.,

129 S. Ct. at 2205. In this case, the Court will have to interpret and enforce its Confirmation

Order—specifically, the Exculpation. See, e.g., In Matter of Galaz, 841 F.3d 316 (5th Cir. 2016)

(holding that bankruptcy court had post-confirmation jurisdiction over removed state court action

seeking to recover on pre-confirmation claims in violation of debtor’s discharge rights).

        10.    As set forth in Defendants’ Motion to Dismiss, the Confirmation Order contains an

Exculpation that “released and exculpated [the Exculpated Parties] from any [non-fraud] Claims

and Cause[s] of Action . . . related to any act or omission in connection with, relating to, or arising

out of, the Chapter 11 cases, . . . the filing of the Chapter 11 Cases, the pursuit of Confirmation,



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[and] the administration and implementation of the Plan, including the issuance or distribution of

Securities pursuant to the plan[.]” (Bankr. Dkt. 684, Confirmation Order ¶ 52.)

       11.        The Exculpation applies here because, as a threshold matter, Defendants are current

or former officers and/or employees of McDermott and therefore “Exculpated Parties” for

purposes of the Confirmation Order. (Bankr. Dkt. 620, Plan, Art. I, § A.) Moreover, Van Deelen’s

negligent misrepresentation claim is “related to” actions Defendants allegedly took in connection

with McDermott’s restructuring and administration of the Plan. Indeed, Van Deelen specifically

alleges in Count II of his Amended Petition that he “was directly harmed by the actions of the

defendants” because he “would not have purchased or retained McDermott International stock if

[he] had been provided accurate and not misleading information by the defendants about . . . the

defendants’ plan to take the company into bankruptcy.” See Dkt. 50 ¶¶ 108-09; see also id. ¶¶ 16,

27, 31-34, 36-37, 40, 45, 47, 54, 63-64, 67 (factual allegations relating to McDermott’s

restructuring).

       12.        Because Van Deelen’s negligent misrepresentation claim directly “relate[s] to”

McDermott’s restructuring and the “administration and implementation of the Plan,” and will

require that the Court interpret and enforce the Exculpation, this is a core proceeding over which

the Court has subject matter jurisdiction. See In Matter of Galaz, 841 F.3d at 322 (“Galaz’s suit in

state court is arguably a violation of Katona’s discharge rights, directly implicating the bankruptcy

court’s ‘arising under’ jurisdiction.”); id. (“Even though Katona’s bankruptcy case was closed, the

bankruptcy court retains jurisdiction to consider violations of the discharge order; the order of

discharge necessarily implicates the implementation or execution of the plan.”); In re Talsma, 509

B.R. at 550 (“[D]etermining whether a provision of a Plan or Plan Document has been breached

necessarily requires interpreting that provision.”).




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       13.     Second, even if this weren’t a core proceeding (it is), the Court would still have

jurisdiction. In determining whether post-confirmation “related to” jurisdiction exists, courts first

examine the Craig’s Stores factors, which are whether: (1) the claims primarily arise from pre-

confirmation or post-confirmation relations between the parties; (2) any claims or antagonisms

were pending between the parties on the date of plan confirmation; and (3) any facts or law

deriving from the bankruptcy are necessary to the claims. In re Enron Corp. Securities, 535 F.3d

at 335; In re MSB Energy, Inc., 438 B.R. at 571 (applying factors and finding that post-

confirmation “related to” bankruptcy jurisdiction existed).

       14.     In this case, Van Deelen’s negligent misrepresentation claim arises from pre-

confirmation relations between the parties. Indeed, Van Deelen based these claims on actions that

Defendants allegedly took and misrepresentations Defendants allegedly made in connection with

and in the months leading up to McDermott’s petition for relief under chapter 11. See, e.g., Dkt.

50 ¶¶ 16, 27, 31-34, 36-37, 40, 45, 47, 54, 63-64, 67. The first Craig’s Stores factor therefore

weighs in favor of the bankruptcy court’s jurisdiction. See, e.g., In re Blast Energy Servs., Inc.,

396 B.R. 676, 684 (Bankr. S.D. Tex. 2008) (“[A]lthough the dispute arose post-confirmation, the

claims against Hallwood . . . arose pre-confirmation. Thus, the claims at issue primarily deal with

pre-confirmation relations between the parties[.]”); In re MSB Energy, Inc., 438 B.R. at 586

(holding that the first factor “weighs heavily in favor of bankruptcy court jurisdiction” because

“the subject of the Adversary Proceeding” occurred before the confirmation date).

       15.     With regard to the second factor, there were clear “antagonisms” pending between

the parties on the date of confirmation. At that time, Van Deelen had already filed a motion

objecting to McDermott’s plan of reorganization, and had accused the company and Defendants

of acting in bad faith “for the sole purpose of enriching McDermott’s management and Board.”




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(Bankr. Dkt. 510, Motion at 6-15.). Moreover, during the confirmation hearing itself, Van Deelen

made certain threatening and vulgar remarks to counsel for the Debtors, such that the Debtors

sought emergency relief from this Court to prohibit Van Deelen from further direct contact with

the Debtors, their current or former officers, directors and employees, and their counsel. (Bankr.

Dkt. 694 ¶¶ 7, 16.). This is more than enough to satisfy the second factor. See, e.g., In re MSB

Energy, Inc., 438 B.R. at 586 (second factors “weighs heavily in favor” of bankruptcy court

jurisdiction because the plaintiffs had filed a motion to lift the automatic stay and objected the

reorganization plan prior to the confirmation hearing).

       16.     Finally, the third factor is also satisfied because the resolution of this action turns,

at least in part, on the Confirmation Order’s Exculpation. But see id. at 586-87 (“At this point,

pursuant to the analysis presented in Enron, the Court retains its jurisdiction even if the third factor

fails.”). As previously discussed, Van Deelen’s negligent misrepresentation claim falls squarely

within the ambit of this provision, and will require that the Court interpret and enforce the

provision as the case proceeds. The Confirmation Order is therefore “necessary to the claims,”

such that the third factor weighs in favor of bankruptcy court jurisdiction. Id. at 589 (“The

Complaint represents a formal lawsuit reflecting the pre-confirmation conflict between the parties,

the resolution of which assuredly hinges on an evaluation of facts and law derived from the

underlying Chapter 11 case, as well as the language presented in the Plan and Confirmation Order.

Under all of these circumstances, this third factor also weighs heavily in favor of this Court having

jurisdiction over the Adversary Proceeding.”).

       17.     Third, and even if the Craig’s Stores factors were not satisfied here (though they

unequivocally are), the Court would still have jurisdiction. The absence of such factors does not

strip bankruptcy courts of all “related to” jurisdiction—it just limits such jurisdiction to actions




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that would affect “the implementation or execution of the plan.” In re Enron Corp. Securities, 535

F.3d at 335. In this case, Van Deelen’s action would affect the “execution of the [P]lan.”

Specifically, it would affect the Debtors’ ability to enforce the Plan’s Exculpation, as incorporated

in the Confirmation Order. This is enough to establish the Court’s jurisdiction. In Matter of Galaz,

841 F.3d at 322 (“[T]he order of discharge necessarily implicates the implementation or execution

of the plan.”).

B.      The Exculpation bars certain claims regardless of whether the party bringing those
        claims opted out of the Release.

        18.       Perhaps realizing that the Exculpation does encompass his non-fraud claim, and

that the Court has jurisdiction to enforce the Exculpation, Van Deelen next argues that he opted

out of the Exculpation. See Dkt. 52 at 6-7. That is not the case.

        19.       Prior to confirmation, McDermott provided Van Deelen and other claimants who

were not otherwise entitled to vote on the Plan with an optional “Release Opt Out Form” (the

“Form”). Importantly, the Form only permitted Van Deelen to opt out of the Plan’s “Third-Party

Release,” not the Exculpation. See Dkt. 52-1 at 8-10. Specifically, the Form advised Van Deelen

that:

        Holders of Claims and Interests are deemed to grant the Third-Party Release set
        forth in the Notice unless a holder affirmatively opts out or files an objection to the
        Third-Party Release with the Bankruptcy Court on or before the Plan Voting
        Deadline.

        If you believe you are a holder of a Claim or Interest with respect to McDermott
        International, Inc. or its affiliates and choose to opt out of the Third-Party Release
        set forth in Article VIII.D of the Plan, please complete, sign, and date this Opt Out
        Form and return it promptly via first class mail (or in the enclosed reply envelope
        provided), overnight courier, via the Solicitation Agent’s online E-Ballot Portal, or
        hand delivery to Prime Clerk LLC (the “Solicitation Agent”) at the address set forth
        below.

Id. at 7 (emphasis removed).




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        20.    The Form then outlined the Plan’s “Third-Party Release” provisions, and provided

Van Deelen with the option to opt out of these—and only these—provisions:




Id. at 8-10.

        21.    The Form did not encompass or even address the Exculpation which is entirely

separate from the Release. Moreover, it is important that conduct that is not fraudulent that is

performed in furtherance of a bankruptcy and restructuring be exculpated. Otherwise, disgruntled

constituents always could second-guess and re-litigate a bankruptcy case.

C.      Mandatory abstention is inappropriate because this is a core proceeding and Van
        Deelen has not satisfied his burden of showing that this action could be adjudicated
        timely in state court.

        22.    Van Deelen did not satisfy his burden to show that his action is non-core or could

be adjudicated timely in state court. As discussed above, this action is a “core proceeding” because

it requires that the Court interpret and enforce its Confirmation Order and the Exculpation provided

therein. See, e.g., See In Matter of Galaz, 841 F.3d at 322 (“Galaz’s suit in state court is arguably

a violation of Katona’s discharge rights, directly implicating the bankruptcy court’s ‘arising under’

jurisdiction.”); In re Cano, 410 B.R. at 548-49 (“[B]ankruptcy courts retain significant jurisdiction

after a discharge order is issued and a case is closed over matters concerning the interpretation and

enforcement of bankruptcy court orders . . . Such matters fall within the Court’s ‘arising in’ and

arising under’ jurisdiction.”); In re ABC Dentistry, P.A., 2019 WL 6894775 at *6 (“the Bankruptcy

Court did not err in determining that it had ‘arising in or under jurisdiction’ over the removed

action” because it would require the court to interpret rights associated with the court’s order

dividing settlement proceeds).



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        23.     Nor could this action be adjudicated timely in state court. Factors relevant to this

prong include “(a) the extent to which the suit has already been prosecuted in state court, (b) the

expectation of when the state court trial will commence, and (c) evidence in contravention that the

state court could timely adjudicate the case timely.” In re Hallwood Energy, L.P., No. 09-31253-

H4-11, 2009 WL 2601294, at *8 (Bankr. S.D. Tex. Aug. 24, 2009).

        24.     Here, Van Deelen has presented no evidence of prosecution, nor could he—Van

Deelen has not prosecuted this action beyond filing his original petition in state court last year. He

has not served or otherwise engaged in any discovery, he has not filed any motions or set such

motions for hearing, and he has not sought or obtained any orders from the state court. See, e.g.,

In re Doctors Hosp. 1997, L.P., 351 B.R. 813, 846 n.29 (S.D. Tex. 2006) (“[T]he record reflects

that during the 41 days that the suit was pending in [state] court, virtually nothing occurred. No

hearings were held, no motions were filed, no discovery was conducted, and no orders were entered

on the docket. Thus, unlike this Court, the Harris County District Court has no background at all

about the nature of this lawsuit or the substantive issues to be adjudicated.”).

        25.     Neither was this case set for trial. See, e.g., In re Petroleum Prod. & Servs., Inc.,

561 B.R. 662, 666 (Bankr. S.D. Tex. 2016) (courts in this circuit view a docket-control order

setting dates for trial as evidence “sufficient to show that the state court will be familiar with the

case and prosecute it efficiently”); see also In re Mugica, 362 B.R. 782, 793 (Bankr. S.D. Tex.

2007) (mandatory abstention was required when the plaintiffs demonstrated a history of

prosecution in state court, including a trial setting).

        26.     In the absence of any evidence that he has prosecuted his action or that trial is to

commence on a given date, the fourth prong of the mandatory abstention analysis weighs against

abstention, and the Court should deny Van Deelen’s request. See In re Lorax Corp., 295 B.R. at




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90 (party not entitled to mandatory abstention if it fails to prove any one of the statutory

requirements); In re Montalvo, 559 B.R. 825, 842 (Bankr. S.D. Tex. 2016) (the bankruptcy court

refused to abstain because the fourth factor was not demonstrated).

D.      Van Deelen’s claims fail to satisfy the heightened pleading standards under Rule 9(b).

        27.    Finally, Van Deelen argues that because he did not plead federal claims, he was not

required to satisfy the heightened pleading standards under Rule 9(b). See Dkt. 52 at 16. But

whether Rule 9(b) applies to a given claim simply turns on the forum in which such claim is

pending and the nature of the allegations supporting the claim. Where, as here, a party is litigating

his claims in federal court, and where the claims “alleg[e] fraud or mistake,” the heightened

pleading standards of Rule 9(b) apply. See Fed. R. Civ. P. 9(b); see also, e.g., Shandong Yinguang

Chemical Indus. Joint Stock Co., Ltd. v. Potter, 607 F.3d 1029, 1033 (5th Cir. 2010) (dismissing

Texas common law fraud claim under Rule 9(b)).

        28.    Van Deelen did not satisfy those standards here. Indeed, as set forth in Defendants’

Motion to Dismiss, Van Deelen fails to identify with sufficient particularity the “false

representations” that Defendants individually made to him, and he fails to plead any facts showing,

with respect to Defendants’ alleged omissions, that Defendants had a duty to disclose the allegedly

omitted information. Van Deelen has accordingly failed to plead his claims with the requisite

particularity, and the Court should dismiss his First Amended Complaint with prejudice.

                                  IV.        CONCLUSION

        Given that Van Deelen alleges that actions taken in the bankruptcy proceedings and related

transactions give rise to his claims, this Court has subject matter jurisdiction over this action and

should not abstain. Moreover, and because Van Deelen has failed to satisfy the heightened




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pleading standards applicable to his fraud and negligent misrepresentation claims under Rule 9(b),

the Court should dismiss Van Deelen’s First Amended Complaint.




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Houston, Texas
Dated: June 3, 2021                                Respectfully submitted,

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                                     Counsel to the Defendants




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                                CERTIFICATE OF SERVICE

       I hereby certify that on June 3, 2021, I caused a true and correct copy of the foregoing
document to be served via the Court’s ECF notification system to the parties listed below at the
email addresses listed.

       Michael Van Deelen
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       Spring, TX 77379
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                                                     /s/ Matthew D. Cavenaugh
                                                     Matthew D. Cavenaugh
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